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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION

In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                   1
      Debtors.
________________________________/                                (Jointly Administered)

   FIFTH APPLICATION OF AKERMAN LLP, COUNSEL FOR THE OFFICIAL
 COMMITTEE OF EQUITY SECURITY HOLDERS OF PREMIER EXHIBITIONS,
    INC., FOR INTERIM ALLOWANCE OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED DURING
PERIOD FROM JANUARY 1, 2018 THROUGH AND INCLUDING OCTOBER 31, 2018

         NOTICE OF OPPORTUNITY TO OBJECT AND REQUEST FOR HEARING

         Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this
         paper without further notice or hearing unless a party in interest files a response
         within twenty-one (21) days from the date set forth on the attached proof of service,
         plus an additional three days for service if any party was served by U.S. Mail.

         If you object to the relief requested in this paper, you must file a response with the
         Clerk of the Court at 300 North Hogan Street, Suite 3-150, Jacksonville, FL 32202
         and serve a copy on the movant’s attorney, Jacob A. Brown, Esq., Akerman LLP, 50
         North Laura Street, Suite 3100, Jacksonville, FL 32202, and any other appropriate
         persons within the time allowed. If you file and serve a response within the time
         permitted, the Court will either schedule and notify you of a hearing or consider the
         response and grant or deny the relief requested without a hearing.

         If you do not file a response within the time permitted, the Court will consider that
         you do not oppose the relief requested in the paper, will proceed to consider the
         paper without further notice or hearing, and may grant the relief requested.




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.


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        Name of Applicant:                            Akerman LLP

        Services Provided to:                         Official Committee of Equity Security Holders of Premier
                                                      Exhibitions, Inc.

        Date of Retention:                            August 31, 2016

        Period for this Application:                  January 1, 2018 – October 31, 2018

        Amount of Compensation Sought:                $283,361.50

        Amount of Expense Reimbursement: $16,958.05

        Amount of Original Retainer:                  $0                           Current Balance: $0

        Blended Hourly Rate this Application: $352.87                              Cumulative: $352.27

        This is a(n):        X          interim                    final application.

        Disclose the following for each prior application:

                                           Requested                            Approved                    Paid2             Holdback
Filed        Period          Fees        Hrs.     Rate        Exps.         Fees        Exps.         Fees         Exps.
12/16/16     8/31/16-     $92,944.50    278.00 $334.33      $1,744.55    $92,944.50   $1,744.55    $92,944.50    $1,744.55    $0
Doc. 384     11/30/16
6/2/2017     12/1/2016-   $169,027.00   478.30    $353.39   $2,304.55    $169,027.00   $2,304.55   $169,027.00   $2,304.55    $0
Doc. 609     4/30/2017
10/25/2017   5/1/2017-    $86,191.50    244.10    $353.09   $2,133.84    $86,191.50    $2,133.84   $86,191.50    $2,133.84    $0
Doc. 798     8/31/2017
2/16/2018    9/1/2017-    $84,131.00    228.10    $368.83   $5,736.21    Pending       Pending     $67,304.80    $5,736.21    $16,826.20
Doc. 948     12/31/2017
Total                     $432,294.00   1228.5    $352.41   $11,919.15   $348,163.00   $6,182.94   $415,467.80   $11,919.15   $16,826.20




        2
         Internally, Akerman has applied payments received to the oldest invoice first. As of the filing of this Application,
        Akerman has received payments totaling $47,148.35 toward the Fifth Interim Fee Statements. The most recent
        payments were received in June 2018.


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                         Fifth Interim Fee Application of Akerman LLP
    Counsel to the Official Committee of Equity Security Holders of Premier Exhibitions, Inc.
                               (January 1, 2018 – October 31, 2018)

                                    Position; Experience;
                                                                                              Total
             Name                      Concentration               Hourly        Total
                                                                                           Compensation
                                                                    Rate         Hours
Brian P. Miller                Partner; admitted in 1993;          $565.00         28.10      $15,876.50
                               Securities Litigation
William F. Sullivan,           Partner; admitted in 1994; Tax      $565.00         12.50       $7,062.50
Jr.
L. Frank Cordero               Partner; admitted in 1990;          $565.00           1.0           $565.00
                               Federal Tax
Margaret D. Matthews           Partner; admitted in 1982;          $565.00          5.70       $3,220.50
                               Litigation
Esther L. Moreno               Partner; admitted in 1998;          $540.00         15.50       $8,370.00
                               Corporate
Jeffrey G. Gilmore             Partner; admitted in DC in          $540.00          1.20           $648.00
                               1985; Construction
Cindy A. Laquidara             Partner; admitted in 1984;          $535.00          7.60       $4,066.00
                               Litigation
Eyal Berger                    Partner; admitted in 2005;          $500.00           .90           $450.00
                               Bankruptcy & Reorganization
Steven R. Wirth                Partner; admitted in 1999;          $440.00         10.90       $4,796.00
                               Bankruptcy & Reorganization
Jacob A. Brown                 Partner; admitted in 1999;          $400.00        354.00     $141,600.00
                               Bankruptcy & Reorganization
                               and Litigation
John L. Dicks, II              Associate; admitted in 2011;        $390.00         12.10       $4,719.00
                               Bankruptcy & Reorganization
John M. Neary                  Associate; admitted in the          $350.00         36.90      $12,915.00
                               District of Columbia in 2014;
                               Litigation
Jonathan D. Lamet              Associate; admitted in 2013;        $350.00         45.00      $15,750.00
                               Litigation
Katherine C. Fackler           Partner; admitted in 2009;          $285.00        141.50      $40,327.50
                               Bankruptcy & Reorganization
Jennifer S. Bernal             Paralegal                           $270.00          2.40         $648.00
Jennifer S. Meehan             Certified Paralegal                 $175.00        127.70      $22,347.50
TOTAL                                                             $352.873        803.00     $283,361.50




3
    The blended rate excluding paraprofessionals is $386.93.


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                         UNITED STATES BANKRUPTCY COURT
                            MIDDLE DISTRICT OF FLORIDA
                              JACKSONVILLE DIVISION

In re:
                                                     Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                     Chapter 11
      Debtors.
________________________________/                    (Jointly Administered)

   FIFTH APPLICATION OF AKERMAN LLP, COUNSEL FOR THE OFFICIAL
 COMMITTEE OF EQUITY SECURITY HOLDERS OF PREMIER EXHIBITIONS,
    INC., FOR INTERIM ALLOWANCE OF COMPENSATION FOR SERVICES
 RENDERED AND FOR REIMBURSEMENT OF EXPENSES INCURRED DURING
PERIOD FROM JANUARY 1, 2018 THROUGH AND INCLUDING OCTOBER 31, 2018

         Akerman LLP ("Akerman"), counsel to the Official Committee of Equity Security

Holders (the "Equity Committee") of Premier Exhibitions, Inc. ("Premier"), Chapter 11 Debtor in

Case No. 3:16-bk-02232-PMG and the parent company of RMS Titanic, Inc. ("RMST"), the

Chapter 11 Debtor in Case No. 3:16-bk-02230-PMG, submits its application (the "Application"),

pursuant to Sections 330 and 331 of Title 11 of the United States Code (as amended, the

"Bankruptcy Code"), Rule 2016 of the Federal Rules of Bankruptcy Procedure (the "Bankruptcy

Rules"), and the United States Trustee Guidelines for Reviewing Applications for Compensation

and Reimbursement of Expenses Filed Under Section 330 of the Bankruptcy Code effective

January 30, 1996 (the "U.S. Trustee Guidelines"), and the Order Granting Motion to Establish

Procedures to Permit Monthly Payment of Interim Fee Applications of Chapter 11 Professionals

(the "Interim Compensation Order") (Doc. 141), for the allowance of interim compensation for

professional services rendered from January 1, 2018, through and including October 31, 2018

(the "Fifth Interim Compensation Period"), and for reimbursement of expenses incurred in

connection with such services, and in support thereof respectfully represents as follows:




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                                   I.       INTRODUCTION

 A.      Background

         1.      On June 14, 2016 (the "Petition Date"), each of the Debtors filed a voluntary

petition in this Court for relief under Chapter 11 of the Bankruptcy Code. The Debtors continue

to manage and operate their business as debtors in possession under Bankruptcy Code sections

1107 and 1108.

         2.      On August 24, 2016, the United States Trustee appointed the Equity Committee

and designated the following members to serve: (i) Jonathan Heller; (ii) Lawndale Capital

Management, LLC ("Lawndale") c/o Andrew Shapiro; (iii) Ian Jacobs; (iv) ACK Investments,

LLC c/o Thomas J. Kraus; and (v) Frank Gerber.

         3.      At its organizational meeting, the Equity Committee elected Andrew Shapiro as

Chairman of the Equity Committee.

         4.      On August 31, 2016, the Equity Committee selected Akerman and Landau

Gottfried & Berger LLP ("LGB") as counsel to represent it during the pendency of the Debtors'

Chapter 11 jointly-administered cases.

         5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

1334. The statutory predicates for the relief sought herein are Section 1103(a) and (b) of the

Bankruptcy Code and Bankruptcy Rules 2014 and 5002.

B.       Retention of Akerman and Billing History

         6.      On September 15, 2016, the Equity Committee filed the Application of

Committee of Equity Security Holders of Premier Exhibitions, Inc. for Order Authorizing

Retention and Employment of Akerman LLP as Counsel, Nunc Pro Tunc to August 31, 2016

(Doc. 194) (the "Retention Application").




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         7.      On October 13, 2016, the Court entered the Order Authorizing Retention and

Employment of Akerman LLP as Counsel to Committee of Equity Security Holders of Premier

Exhibitions, Inc., Nunc Pro Tunc to August 31, 2016 (Doc. 274).

         8.       On December 16, 2016, Akerman filed its First Application (the "First

Application") for the allowance of compensation for professional services rendered and

reimbursement of expenses incurred during the period from August 31, 2016 through and

including November 30, 2016 (Doc. 384).

         9.      On February 10, 2017, Akerman filed its Supplement (Doc. 462) to the First

Application.

         10.     Akerman attended and participated in the hearing on February 23, 2017, on the (i)

First Interim Application for Allowance and Payment of Compensation and Reimbursement of

Expenses of Landau Gottfried & Berger LLP as Counsel to the Official Committee of Equity

Security Holders of RMS Titanic, Inc. for Services Rendered from August 31, 2016 through

November 30, 2016 and Reimbursement for Certain Fees Advanced Prior to Retention by the

Equity Committee (Doc. 383), and (ii) First Application (Doc. 384).

         11.     On February 28, 2017, the Court entered its Order Allowing Compensation and

Reimbursement of Expenses of Akerman LLP (Doc. 495).

         12.     On June 2, 2017, Akerman filed its Second Application (the "Second

Application") for the allowance of compensation for professional services rendered and

reimbursement of expenses incurred during the period from December 1, 2016 through and

including April 30, 2017 (Doc. 609).

         13.     On July 18, 2017, the Court entered its Order Allowing Compensation and

Reimbursement of Expenses of Akerman LLP (Doc. 658).




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         14.     On September 25, 2017, Akerman filed its Third Application for the allowance of

compensation for professional services rendered and reimbursement of expenses incurred during

the period from May 1, 2017 through and including August 31, 2017 (Doc. 759).

         15.     On October 25, 2017, Akerman filed its Amended Third Application (the "Third

Application") for the allowance of compensation for professional services rendered and

reimbursement of expenses incurred during the period from May 1, 2017 through and including

August 31, 2017 (Doc. 798).

         16.     On November 7, 2017, the Court entered its Order Allowing Compensation and

Reimbursement of Expenses of Akerman LLP (Doc. 802).

         17.     On February 16, 2018, Akerman filed its Fourth Application (the "Fourth

Application") for the allowance of compensation for professional services rendered and

reimbursement of expenses incurred during the period from September 1, 2017 through and

including December 31, 2017 (Doc. 948). The Fourth Application is pending.

         18.     This Application is Akerman's fifth interim application for approval and

allowance of compensation and reimbursement of expenses.                Akerman makes this interim

application pursuant to Sections 330 and 331 of the Bankruptcy Code. No prior application has

been made to this or any other court for the relief requested herein.

         19.     On July 15, 2016, the Debtors filed a Motion to Establish Procedures to Permit

Monthly Payment of Interim Fee Applications of Chapter 11 Professionals (Doc. 89), and on

August 17, 2016, the Bankruptcy Court entered the Interim Compensation Order, which provides

that professionals retained with authority of the Court may request monthly compensation of

80% of their fees and 100% of their expenses.




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         20.     In accordance with the Interim Compensation Order, Akerman submitted monthly

fee statements to the U.S. Trustee, seeking interim compensation and reimbursement of

expenses. During the Fifth Interim Compensation Period, Akerman submitted the following fee

statements:

         (a)     On February 15, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its seventeenth fee statement for the period from January
                 1, 2018, through and including January 31, 2018 (the "Seventeenth Fee
                 Statement"). The Seventeenth Fee Statement sought an allowance of
                 $33,059.00 as compensation for services rendered and the reimbursement
                 of $1,728.27 in expenses;

         (b)     On March 14, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its eighteenth fee statement for the period from February
                 1, 2018, through February 28, 2018 (the "Eighteenth Fee Statement").
                 The Eighteenth Fee Statement sought an allowance of $42,189.50 as
                 compensation for services rendered and the reimbursement of $5,609.48
                 in expenses;

         (c)     On April 13, 2018, pursuant to the Interim Compensation Order, Akerman
                 served its nineteenth fee statement for the period from March 1, 2018,
                 through March 31, 2018 (the "Nineteenth Fee Statement"). The
                 Nineteenth Fee Statement sought an allowance of $16,363.00 as
                 compensation for services rendered and the reimbursement of $357.00 in
                 expenses;

         (d)     On May 15, 2018, pursuant to the Interim Compensation Order, Akerman
                 served its twentieth fee statement for the period from April 1, 2018,
                 through April 30, 2018 (the "Twentieth Fee Statement"). The Twentieth
                 Fee Statement sought an allowance of $20,962.00 as compensation for
                 services rendered and the reimbursement of $36.61 in expenses;

         (e)     On June 15, 2018, pursuant to the Interim Compensation Order, Akerman
                 served its twenty-first fee statement for the period from May 1, 2018,
                 through May 31, 2018 (the "Twenty-First Fee Statement"). The Twenty-
                 First Fee Statement sought an allowance of $48,161.00 as compensation
                 for services rendered and the reimbursement of $1,500.08 in expenses;

         (f)     On July 16, 2018, pursuant to the Interim Compensation Order, Akerman
                 served its twenty-second fee statement for the period from June 1, 2018,
                 through June 30, 2018 (the "Twenty-Second Fee Statement"). The
                 Twenty-Second Fee Statement sought an allowance of $31,724.50 as




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                 compensation for services rendered and the reimbursement of $1,764.84
                 in expenses;

         (g)     On August 15, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its twenty-third fee statement for the period from July 1,
                 2018, through July 31, 2018 (the "Twenty-Third Fee Statement"). The
                 Twenty-Third Fee Statement sought an allowance of $23,863.00 as
                 compensation for services rendered and the reimbursement of $3,374.81
                 in expenses;

         (h)     On September 14, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its twenty-fourth fee statement for the period from
                 August 1, 2018, through August 31, 2018 (the "Twenty-Fourth Fee
                 Statement"). The Twenty-Fourth Fee Statement sought an allowance of
                 $48,314.00 as compensation for services rendered and the reimbursement
                 of $1,607.30 in expenses;

         (i)     On October 15, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its twenty-fifth fee statement for the period from
                 September 1, 2018, through September 30, 2018 (the "Twenty-Fifth Fee
                 Statement"). The Twenty-Fifth Fee Statement sought an allowance of
                 $8,826.50 as compensation for services rendered and the reimbursement
                 of $753.37 in expenses; and

         (j)     On November 15, 2018, pursuant to the Interim Compensation Order,
                 Akerman served its twenty-sixth fee statement for the period from
                 October 1, 2018, through October 31, 2018 (the "Twenty-Sixth Fee
                 Statement" and together with the Seventeenth Fee Statement, Eighteenth
                 Fee Statement, Nineteenth Fee Statement, Twentieth Fee Statement,
                 Twenty-First Fee Statement, Twenty-Second Fee Statement, Twenty-
                 Third Fee Statement, Twenty-Fourth Fee Statement, and Twenty-Fifth Fee
                 Statement collectively, the "Fifth Interim Fee Statements"). The Twenty-
                 Sixth Fee Statement sought an allowance of $9,626.00 as compensation
                 for services rendered and the reimbursement of $226.29 in expenses.

         21.     As of the filing of this Application, Akerman has received $47,148.35 toward the

Fifth Interim Fee Statements.

         22.     Akerman has not entered into any agreement, express or implied, with any other

party for the purpose of fixing or sharing fees or other compensation to be paid for professional

services rendered in these jointly-administered cases.




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         23.      No promises have been received by Akerman or any member thereof as to

compensation in connection with these jointly-administered cases other than in accordance with

the provisions of the Bankruptcy Code.

                                       II.     CASE STATUS

         24.      On December 14, 2017, the Debtors filed the Joint Plan Under Chapter 11 of the

Bankruptcy Code (the "Plan") (Doc. 859).           Pursuant to the Plan, the Debtors anticipate

liquidating all of their assets. The Debtors did not file a disclosure statement with the Plan. On

January 25, 2018, the Court entered its Order Granting Debtors' Motion to Extend the Time For

Filing Disclosure Statement to Accompany Debtors' Joint Plan (the "Extension Order") (Doc.

939). Under the Extension Order, the Debtors have until February 14, 2018, to file a disclosure

statement to accompany their Joint Plan or the Joint Plan shall be withdrawn prior to that date.

         25.      On February 13, 2018, the Debtors filed a Notice of Withdrawal of Debtors' Joint

Plan Under Chapter 11 of the Bankruptcy Code (Doc. 944).

         26.      On June 1, 2018, the Equity Committee filed a Disclosure Statement (Doc. 1044)

(the "Equity Committee's Disclosure Statement") and Chapter 11 Plan of Reorganization (Doc.

1045).

         27.      On June 15, 2018, the Debtors filed a Debtors’ Motion for an Order (A)

Approving Asset Purchase Agreement; (B) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances and Interests; (C) Authorizing the Assumption and

Assignment of Certain Executory Contracts and Leases in Connection Therewith; (D) Approving

Settlement with The PacBridge Parties; and (E) Granting Related Relief (Doc. 1055) (the "Sale

Motion").




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         28.      On June 29, 2018, the Official Committee of Unsecured Creditors (the "Creditors'

Committee") filed a Disclosure Statement (Doc. 1084) and Joint Chapter 11 Plan of

Reorganization (Doc. 1085).

         29.      On July 11, 2018, Euclid Investments LP / Euclid Claims Recovery LLC filed an

Objection (Doc. 1109) to the Sale Motion.

         30.      On July 18, 2018, the Debtors filed an Objection (Doc. 1119) and the U.S.

Department of Commerce filed an Objection (Doc. 1120) to the Equity Committee's Disclosure

Statement.

         31.      On July 18, 2018, the Debtors filed an Objection (Doc. 1121) to the Creditors'

Committee Disclosure Statement.

         32.      On July 18, 2018, Lange Feng, PacBridge Capital Partners (HK) Ltd., Jihe Zhang,

Haiping Zou, Stockholder High Nature Holdings Limited (collectively, the "Investors") filed a

Joinder (Doc. 1123) to the Debtors' Objection to the Equity Committee's Disclosure Statement

and a Joinder (Doc. 1124) to the Debtor's Objection to the Creditors' Committee's Disclosure

Statement.

         33.      On July 18, 2018, the Ad Hoc Equity Group filed a Joinder (Doc. 1126) to the

Debtors' Objection to the Creditors' Committee's Disclosure Statement and a Joinder (Doc. 1127)

to the Debtors' Objection to the Equity Committee's Disclosure Statement.

         34.      On August 24, 2018, the Creditors' Committee filed a Limited Objection (Doc.

1168) to the Sale Motion.

         35.      On August 27, 2018, the Equity Committee filed a Response in Opposition (Doc.

1170) to the Sale Motion.




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         36.      On September 11, 2018, the Court entered the Order on Hearing to Consider

Debtor's Sale Motion and Disclosure Statements filed by The Equity Committee and The

Unsecured Creditors' Committee (Doc. 1199).

         37.      On September 13, 2018, the Court entered the Order (a) Approving Competitive

Bidding and Sale Procedures; (b) Approving Form and Manner of Notices; (c) Approving Form

of Asset Purchase Agreement; (d) Approving Break-Up Fee and Expense Reimbursement; (e)

Scheduling Auction and Hearing to Consider Final Approval of Sale, Including Rejection or

Assumption and Assignment of Related Executory Contracts and Unexpired Leases and

Settlement with the PacBridge Parties; (f) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests; and (g) Granting Related Relief (Doc.

1201).

         38.      On September 19, 2018, the Debtors filed a Notice of Sale and Auction Hearing

(Doc. 1204).

         39.      On October 3, 2018, the Equity Committee filed a Motion to Establish Document

Retention Protocols (Doc. 1221).

         40.      On October 5, 2018, the Equity Committee filed a Reservation of Rights and

Limited Objection to Debtors' Motion for an Order (A) Approving Asset Purchase Agreement;

(B) Authorizing Sale of the Transferred Assets Free and Clear of All Liens, Claims,

Encumbrances and Interests; (C) Authorizing the Assumption and Assignment of Certain

Executory Contracts and Leases in Connection Therewith; (D) Approving Settlement with The

PacBridge Parties; and (E) Granting Related Relief (Doc. 1225).




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         41.      On October 8, 2018, the Debtors filed a Notice of Cancellation of Auction and

Intent to Seek Approval of the Sale of the Transferred Assets to the Stalking Horse Purchaser

(Doc. 1226).

         42.      On October 17, 2018, the Debtors filed an Objection to Motion of the Official

Committee of Equity Security Holders to Establish Document Retention Protocols (Doc. 1230).

         43.      On October 19, 2018, the Court entered the Order (A) Approving asset purchase

agreement; (B) Authorizing sale of the transferred assets free and clear of all liens, claims,

encumbrances and interests; (C) authorizing the Assumption and Assignment of certain

executory contracts and leases in connection therewith; (D) Approving Settlement with the

Pacbridge parties; and (E) Granting Related Relief (Doc. 1232).

         44.      On October 30, 2018, the Court entered the Agreed Order Granting Motion of the

Official Committee of Equity Security Holders to Establish Document Retention Protocols (Doc.

1247).

                                       III.   APPLICATION

         45.      By this Application, Akerman is seeking full allowance of (a) compensation for

professional services rendered by Akerman, as counsel for the Equity Committee, during the

Fifth Interim Compensation Period, and (b) reimbursement of expenses incurred by Akerman in

connection with such services during the Fifth Interim Compensation Period.

         46.      In this Application, Akerman seeks approval of the amount of $283,361.50 for

legal services rendered on behalf of the Equity Committee during the Fifth Interim

Compensation Period and the amount of $16,958.05 for reimbursement of expenses incurred in

connection with the rendition of such services, for a total award of $300,319.55.




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         47.      Pursuant to the Interim Compensation Order and subject to its terms, Akerman,

together with all other retained professionals, is entitled upon submission of its monthly

statements to the U.S. Trustee to eighty percent (80%) of its fees sought in each of Akerman's

Fifth Interim Fee Statements and reimbursement of one hundred percent (100%) of Akerman's

expenses. As noted above, as of the date of this Application Akerman has received $47,148.35

towards the Fifth Interim Fee Statements.

         48.      The fees sought by this Application reflect an aggregate of 803.00 hours of

attorney and paraprofessional time spent and recorded in performing services for the Equity

Committee during the Fifth Interim Compensation Period, at a blended average hourly rate of

$352.87 for both professionals and paraprofessionals.

         49.      Akerman rendered to the Equity Committee all services for which compensation

is sought solely in connection with these cases in furtherance of the duties and functions of the

Equity Committee.

         50.      Akerman maintains computerized records of the time expended in the rendering

of the professional services required by the Equity Committee. These records are maintained in

the ordinary course of Akerman's business. For the convenience of the Court and parties in

interest, a billing summary for the Fifth Interim Compensation Period is attached as part of the

cover sheet, setting forth the name of each attorney and paraprofessional for whose work on this

case compensation is sought, each attorney's year of bar admission, the aggregate amount of time

expended by each such attorney or paraprofessional, the hourly billing rate for each such

attorney or paraprofessional at Akerman's current billing rates and an indication of the individual

amounts requested as part of the total amount of compensation requested. In addition, set forth

in the billing summary is additional information indicating whether each attorney is a partner or




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associate, the number of years each attorney has held such position, and each attorney's area of

concentration.        The compensation requested by Akerman is based on the customary

compensation charged by comparably skilled practitioners in cases other than cases under the

Bankruptcy Code.

         51.      Attached hereto as Composite Exhibit A are time entry records broken down in

tenths of an hour by project category, based on the U.S. Trustee Guidelines, setting forth a

detailed description of services performed by each attorney and paraprofessional on behalf of the

Equity Committee for the Fifth Interim Compensation Period.

         52.      Akerman also maintains computerized records of all expenses incurred in

connection with the performance of professional services. A summary of the amounts and

categories of expenses for which reimbursement is sought for the Fifth Interim Compensation

Period is attached hereto as Exhibit B.

                IV.    SUMMARY OF PROFESSIONAL SERVICES RENDERED

         53.      To provide an orderly summary of the services rendered on behalf of the Equity

Committee by Akerman, and in accordance with the U.S. Trustee Guidelines, Akerman has

established the following separate project billing categories in connection with this case:

         (a)      B110 – Case Administration
         (b)      B120 – Asset Analysis and Recovery
         (c)      B130 – Asset Disposition
         (d)      B140 – Relief from Stay /Adequate Protection Procedures
         (e)      B150 – Meetings of and Communications with Creditors
         (f)      B151 - Communications with Equity Holders and Equity Committee Members
         (g)      B160 – Fee/Employment Applications
         (h)      B170 – Fee/Employment Objections
         (i)      B180 – Avoidance Action Analysis
         (j)      B185 – Assumption/Rejection of Leases and Contracts
         (k)      B190 – Other Contested Matters (excluding assumption/rejection motions)
         (l)      B191 – Investigation and Pursuit of Securities and Other Litigation Claims
         (m)      B192 – Adversary Proceedings
         (n)      B195 – Non-Working Travel



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         (o)      B210 – Business Operations
         (p)      B220 – Employee Benefits/Pensions
         (q)      B230 – Financing/Cash Collections
         (r)      B240 – Tax Issues
         (s)      B250 – Real Estate
         (t)      B251 – Personal Property
         (u)      B260 – Board of Directors Matters
         (v)      B310 – Claims Administration and Objections
         (w)      B320 – Plan and Disclosure Statement (including Business Plan)
         (x)      B410 – General Bankruptcy Advice/Opinions
         (y)      B420 - Restructurings

         54.      The following summary is intended to highlight a number of the services rendered

by Akerman in the separate project billing categories where Akerman has expended a

considerable number of hours on behalf of the Equity Committee, and it is not meant to be a

detailed description of all of the work performed. Detailed descriptions of the day-to-day

services provided by Akerman during the Fifth Interim Compensation Period and the time

expended performing such services in each project billing category are fully set forth in

Composite Exhibit A hereto.

                  (a)    B110 – Case Administration

         55.      Akerman worked with its co-counsel, LGB, on behalf of the Equity Committee to

monitor the Debtors' bankruptcy case, including communication with the Debtors' professionals,

the Creditors' Committee, and other interested parties on numerous matters involving

administration of the estate, attendance at hearings on motions and matters, and communications

with the case manager and the Court's staff with regards to logistics, calendaring issues, and

other administrative details.

                  (b)    B130 – Asset Disposition

         56.      During the Fifth Interim Compensation Period, the Debtor filed the Sale Motion.




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         57.      On August 2, 2018, the Court entered an Order on Status Conference (Doc. 1147),

which scheduled a hearing on the Sale Motion for August 30, 2018.

         58.      On August 27, 2018, Akerman prepared and file a Response in Opposition (Doc.

1170) to the Sale Motion.

         59.      On September 11, 2018, the Court entered the Order on Hearing to Consider

Debtor's Sale Motion and Disclosure Statements Filed by the Equity Committee and the

Unsecured Creditors' Committee (Doc. 1199), which scheduled a hearing on the sale for October

18, 2018, at 10:00 a.m. (the "Sale Hearing").

         60.      The Court denied approval of the Equity Committee’s Disclosure Statement and

approved the Sale Motion.

         61.      On September 13, 2018, the Court entered the Order (A) Approving Competitive

Bidding and Sale Procedures; (B) Approving Form and Manner of Notices; (C) Approving Form

of Asset Purchase Agreement; (D) Approving Break-Up Fee and Expense Reimbursement; (E)

Scheduling Auction and Hearing to Consider Final Approval of Sale, Including Rejection or

Assumption and Assignment of Related Executory Contracts and Unexpired Leases and

Settlement with the PacBridge Parties; (F) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests; and (G) Granting Related Relief (the

“Bidding Procedures Order”) (Doc. 1201).

         62.      On September 19, 2018, the Debtors filed a Notice of Sale and Auction Hearing

(Doc. 1204).

         63.      In accordance with the Bidding Procedures Order, the deadline to submit bids was

October 5, 2018, at 4:00 p.m. Other than the bid submitted by Premier Acquisition Holdings




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LLC, a Delaware limited liability company (the "Stalking Horse Purchaser"), the Debtors did not

receive any other qualified bids prior to the deadline.

         64.       On October 8, 2018, the Debtors filed a Notice of Cancellation of Auction and

Intent to Seek Approval of the Sale of the Transferred Assets to the Stalking Horse Purchaser

(Doc. 1226).

         65.       On October 19, 2018, the Court entered the Order (A) Approving asset purchase

agreement; (B) Authorizing sale of the transferred assets free and clear of all liens, claims,

encumbrances and interests; (C) authorizing the Assumption and Assignment of certain

executory contracts and leases in connection therewith; (D) Approving Settlement with the

Pacbridge parties; and (E) Granting Related Relief (Doc. 1232).

             (c)   B151 - Communications with Equity Holders and Equity Committee
                   Members

         66.       During the Fifth Interim Compensation Period, Akerman received and responded

to numerous inquiries, both telephonic and electronic, regarding, inter alia, (a) information

pertaining to the filing of claims, (b) information relating to the Debtors' Plan, (c) information

related to the potential amount of distributions to unsecured creditors, (d) potential causes of

action that could benefit the Debtors' bankruptcy estates, creditors and equity holders, and (e)

general information regarding the Chapter 11 process.

         67.       Further, Akerman participated in numerous conferences with the Equity

Committee and other interested parties regarding the foregoing and other aspects of this Chapter

11 case.

                   (d)    B160 - Fee/Employment Applications

         68.       During the Fifth Interim Compensation Period, Akerman prepared and filed the

Fourth Application (Doc. 948).



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         69.      Akerman also prepared and filed the Third Application of Teneo Securities LLC

as Financial Advisor to the Equity Committee for Interim Allowance of Compensation for

Services Rendered During the Period from September 1, 2017 through and including December

31, 2017 (Doc. 950).

         70.      Akerman also prepared and submitted its invoices on a monthly basis in

accordance with the U.S. Trustee Guidelines and the Interim Compensation Order.

                  (e)    B191 – Investigation and Pursuit of Securities and Other Litigation
                         Claims

         71.      Akerman analyzed potential claims against pre-Petition Date officers and

directors and engaged in communications with counsel for certain pre-Petition Date officers and

directors as to the nature and extent of those claims, including some settlement discussions.

         72.      The potential claims against pre-Petition Date officers and directors and other

claims that may exist are relatively complex and investigation and analysis is ongoing.

                  (f)    B320 – Plan and Disclosure Statement

         73.       During the Fifth Interim Compensation Period, Akerman prepared and filed the

Equity Committee's Disclosure Statement (Doc. 1044) and Chapter 11 Plan of Reorganization

(Doc. 1045).

         74.      On June 29, 2018, the Official Committee of Unsecured Creditors (the "Creditors'

Committee") filed a Disclosure Statement (Doc. 1084) and Joint Chapter 11 Plan of

Reorganization (Doc. 1085), which Akerman analyzed.

         75.      On July 18, 2018, the Debtors filed an Objection (Doc. 1119) to the Equity

Committee's Disclosure Statement.

         76.      On August 29, 2018, Akerman prepared and filed an Amended Disclosure

Statement (Doc. 1179), Amended Chapter 11 Plan of Reorganization (Doc. 1180), and a Reply



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(Doc. 1183) to the Debtors' Objection to Entry of an Order Approving the Disclosure Statement

to Accompany Chapter 11 Plan of Reorganization Proposed by Equity Committee (Doc. 1183).

         77.      On September 11, 2018, the Court entered the Order on Hearing to Consider

Debtor's Sale Motion and Disclosure Statements filed by The Equity Committee and The

Unsecured Creditors' Committee (Doc. 1199).

         78.      On September 13, 2018, the Court entered the Order (a) Approving Competitive

Bidding and Sale Procedures; (b) Approving Form and Manner of Notices; (c) Approving Form

of Asset Purchase Agreement; (d) Approving Break-Up Fee and Expense Reimbursement; (e)

Scheduling Auction and Hearing to Consider Final Approval of Sale, Including Rejection or

Assumption and Assignment of Related Executory Contracts and Unexpired Leases and

Settlement with the PacBridge Parties; (f) Authorizing Sale of the Transferred Assets Free and

Clear of All Liens, Claims, Encumbrances, and Interests; and (g) Granting Related Relief (Doc.

1201).

         79.      On October 3, 2018, the Equity Committee filed a Motion to Establish Document

Retention Protocols (Doc. 1221) (the "Protocol Motion").

         80.      On October 17, 2018, the Debtors filed an Objection to Motion of the Official

Committee of Equity Security Holders to Establish Document Retention Protocols (Doc. 1230).

         81.      On October 30, 2018, the Court entered the Agreed Order Granting Motion of the

Official Committee of Equity Security Holders to Establish Document Retention Protocols (Doc.

1247).

         82.      Akerman attended the hearings on the Protocol Motion, Sale Motion and the

Disclosure Statements filed by the Equity Committee and the Creditors' Committee and argued

in favor of the Equity Committee's Plan and against the sale process.




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         83.      The professional fees rendered incurred by Akerman during the Fifth Interim

Compensation Period by project billing categories are as follows:

      Project Billing Category                                      Hours           Fees
      B100 – Administration                                            1.50          $847.50
      B110 – Case Administration                                      21.00        $9,430.00
      B120 – Asset Analysis and Recovery                              12.50        $5,463.50
      B130 – Asset Disposition                                       269.50       $89,120.50
      B140 – Relief from Stay/Adequate Protection Proceedings          1.60          $595.00
      B150 – Meetings of and Communications with Creditors              .80          $140.00
      B151 - Communications with Equity Holders and Equity
      Committee Members                                                  35.80    $13,621.00
      B160 – Fee/Employment Applications                                 33.80     $8,452.00
      B185 – Assumption/Rejection of Leases and Contracts                19.10     $7,077.50
      B190 – Other Contested Matters                                     58.50    $21,981.50
      B191 – Investigation and Pursuit of Securities and Other
      Litigation Claims                                                 128.80    $44,913.00
      B192 – Adversary Proceedings                                        4.00     $1,440.00
      B240 – Tax Issues                                                   5.50     $3,058.00
      B250 – Real Estate                                                   .30        $97.50
      B300 - Claims and Plan                                             23.60    $13,194.00
      B310 – Claims Administration and Objections                        11.90     $3,738.00
      B320 – Plan and Disclosure Statement                              174.50    $60,023.00
      B400 – Bankruptcy-related Advice                                     .30       $169.50
      Total                                                             803.00   $283,361.50

                                        V.     EXPENSES

         84.      Akerman has incurred a total of $16,958.05 in expenses in connection with

representing the Equity Committee during the Fifth Interim Compensation Period. Akerman

records all expenses incurred in connection with the performance of professional services.

         85.      In connection with the reimbursement of expenses, Akerman's policy is to charge

its clients in all areas of practice for expenses, other than fixed and routine overhead expenses,

incurred in connection with representing its clients. The expenses charged to Akerman's clients

include, among other things, mail and FedEx charges, special or hand delivery charges,

photocopying charges, computerized research and transcription costs.


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          86.     Akerman charges the Equity Committee for these expenses at rates consistent

with those charged to Akerman's other bankruptcy clients, which rates are equal to or less than

the rates charged by Akerman to its non-bankruptcy clients.

          87.     In providing or obtaining from third parties services which are reimbursable by

clients, Akerman does not include in such reimbursable amount any costs of investment,

equipment or capital outlay.

          88.     Throughout the Fifth Interim Compensation Period, Akerman has been keenly

aware of cost considerations and has tried to minimize the expenses charged to the Debtors'

estate.

                          VI.    ALLOWANCE OF COMPENSATION

          89.     The professional services rendered by Akerman have required a high degree of

professional competence and expertise to address, with skill and dispatch, the numerous issues

requiring evaluation and action by the Equity Committee. Akerman respectfully submits that the

services rendered to the Equity Committee were performed efficiently, effectively and

economically, and that the results obtained to-date have and will continue to benefit the equity

holders as well as and the Debtors' bankruptcy estates and interests of other stakeholders in these

Chapter 11 cases.

          90.     The allowance of interim compensation for services rendered and reimbursement

of expenses in bankruptcy cases is expressly provided for in Section 331 of the Bankruptcy

Code:

                 Any professional person . . . may apply to the court not more than once
                 every 120 days after an order for relief in a case under this title, or more
                 often if the court permits, for such compensation for services rendered . . .
                 as is provided under Section 330 of this Title.

11 U.S.C. § 331.



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         91.      With respect to the level of compensation, Section 330(a)(1)(A) of the

Bankruptcy Code provides, in pertinent part, that the Court may award to a professional person,

"reasonable compensation for actual, necessary services rendered." Section 330(a)(3)(A), in

turn, provides that:

                 In determining the amount of reasonable compensation to be
                 awarded, the court shall consider the nature, the extent, and the
                 value of such services, taking into account all relevant factors,
                 including –

                         (A)    the time spent on such services;

                         (B)    the rates charged for such services;

                         (C)    whether the services were necessary to the
                                administration of, or beneficial at the time at which
                                the service was rendered toward the completion of,
                                a case under this title;

                         (D)    whether the services were performed within a
                                reasonable amount of time commensurate with the
                                complexity, importance, and nature of the problem,
                                issue, or task addressed; and

                         (E)    whether the compensation is reasonable based on
                                the customary compensation charged by
                                comparably skilled practitioners in cases other than
                                cases under this title.

11 U.S.C. §330(a)(3)(A).

         92.      The congressional policy expressed above provides for adequate compensation in

order to continue to attract qualified and competent professionals to bankruptcy cases. In re

Hillsborough Holdings Corp., 127 F.3d 1398, 1403-04 (11th Cir. 1997) ("Congress determined,

it appears, that on average the gain to the estate of employing able, experienced, expert counsel

would outweigh the expense to the estate of doing so, and that unless the estate paid competitive




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[market] sums it could not retain such counsel on a regular basis.") (Citations and quotations

omitted).

         93.      A bankruptcy court may compensate a party that makes a "substantial

contribution" to a chapter 11 case by approving payment to that party by the debtor of the fees

and expenses incurred by that party. Section 503(b)(3)(D) of the Bankruptcy Code reflects a

policy of encouraging meaningful participation in chapter 11 by interested parties while "keeping

fees and administrative expenses to a minimum so as to preserve as much of the estate as

possible for the creditors." Ott v. United States, 419 U.S. 43, 53 (1974). Here, the Equity

Holders engaged counsel to promote the establishment of an equity committee that would

represent the interests of all equity holders. The Debtors have repeatedly established that there

exists substantial equity value over and above amounts needed to pay creditors in full. In

recognition that equity holders have substantial interests at risk in this case, the U. S. Trustee did

appoint an Equity Committee. Thus, the efforts of these Equity Holders led directly to the

establishment of the Equity Committee, a clear and substantial benefit in this case.

         94.      The total time spent by Akerman attorneys and paraprofessionals during the Fifth

Interim Compensation Period was 803.00 hours, which has a fair market value of $283,361.50.

As shown by this Application and supporting exhibits, Akerman's services were rendered

economically and without unnecessary duplication of efforts. In addition, the work involved,

and thus the time expended, was carefully assigned in consideration of the experience and

expertise required for each particular task.

                                           VIII. NOTICE

         95.      Notice of this Application has been given to the United States Trustee, counsel for

the Debtors, counsel for the Creditors' Committee, counsel for Lange Feng, Haiping Zou, and




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Jihie Zhang, and to those parties on the Debtors' Master Service List, in accordance with the

Order Granting Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002

Establishing Notice Procedures (Doc. 140). In light of the nature of the relief requested herein,

the Equity Committee requests that such notice be deemed adequate and sufficient.

                                      IX. CONCLUSION

         WHEREFORE, Akerman LLP respectfully requests the Court to enter an order,

substantially in the form attached hereto as Exhibit C, (a) allowing Akerman (i) interim

compensation for professional services rendered as co-counsel for the Equity Committee during

the Fifth Interim Compensation Period in the amount of $283,361.50, and (ii) reimbursement of

expenses incurred in connection with rendering such services in the aggregate amount of

$16,958.05, for (iii) a total award of $300,319.55; (b) authorizing and directing the Debtors to

pay Akerman $300,319.55; and (c) granting such further relief as is just.

Dated: December 7, 2018                        AKERMAN LLP
                                              By: /s/ Jacob A. Brown
                                              Jacob A. Brown
                                              Florida Bar No. 170038
                                              50 North Laura Street, Suite 3100
                                              Jacksonville, Florida 32202
                                              (904) 798-3700
                                              (904) 798-3730 (Facsimile)
                                              jacob.brown@akerman.com
                                               Attorneys for the Official Committee of Equity
                                               Security Holders of Premier Exhibitions, Inc.




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                                 CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 7, 2018, the foregoing was transmitted to the
Court for uploading to the Case Management/Electronic Case Files ("CM/ECF") System, which
will send a notice of electronic filing to all creditors and parties in interest who have consented to
receiving electronic notifications in this case. In accordance with the Court's Order Granting
Debtors' Motion for an Order Pursuant to 11 U.S.C. § 105(a) and Rule 2002 Establishing Notice
Procedures (Doc. 140), a copy of the foregoing was also furnished on December 7, 2018 by U.S.
mail, postage prepaid and properly addressed, to the Master Service List attached hereto.

                                                              /s/ Jacob A. Brown
                                                              Attorney




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                               MASTER SERVICE LIST
                              Case No. 3:16-bk-02230-PMG

A-1 Storage and Crane                    ABC Imaging
2482 197th Avenue                        14 East 38th Street
Manchester, IA 52057                     New York, NY 10017

A.N. Deringer, Inc.                      ATS, Inc.
PO Box 11349                             1900 W. Anaheim Street
Succursale Centre-Ville                  Long Beach, CA 90813
Montreal, QC H3C 5H1

Broadway Video                           CBS Outdoor/Outfront Media
30 Rockefeller Plaza                     185 US Highway 48
54th Floor                               Fairfield, NJ 07004
New York, NY 10112

Dentons Canada LLP                       Enterprise Rent-A-Car Canada
250 Howe Street, 20th Floor              709 Miner Avenue
Vancouver, BC V6C 3R8                    Scarborough, ON M1B 6B6

Expedia, Inc.                            George Young Company
10190 Covington Cross Drive              509 Heron Drive
Las Vegas, NV 89144                      Swedesboro, NJ 08085

Gowlings                                 Hoffen Global Ltd.
550 Burrard Street                       305 Crosstree Lane
Suite 2300, Bental 5                     Atlanta, GA 30328
Vancouver, BC V6C 2B5

Kirvin Doak Communications               MNP LLP
5230 W. Patrick Lane                     15303 - 31st Avenue
Las Vegas, NV 89118                      Suite 301
                                         Surrey, BC V3Z 6X2

Morris Visitor Publications              NASDAQ Stock Market, LLC
PO Box 1584                              805 King Farm Blvd.
Augusta, GA 30903                        Rockville, MD 20850

National Geographic Society              NYC Dept. of Finance
1145 - 17th Avenue NW                    PO Box 3646
Washington, DC 20036                     New York, NY 10008
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PacBridge Limited Partners                  Pallet Rack Surplus, Inc.
22/F Fung House                             1981 Old Covington Cross Road NE
19-20 Connaught Road                        Conyers, GA 30013
Central Hong Kong

Ramparts, Inc.                              Screen Actors Guild
d/b/a Luxor Hotel and Casino                1900 Broadway
3900 Las Vegas Blvd. South                  5th Floor
Las Vegas, NV 89119                         New York, NY 10023

Seaventures, Ltd.                           Sophrintendenza Archeologica
5603 Oxford Moor Blvd.                      di Napoli e Pompei
Windemere, FL 34786                         Piazza Museo 19
                                            Naples, Italy 80135

Syzygy3, Inc.                               Time Out New York
231 West 29th Street                        405 Park Avenue
Suite 606                                   New York, NY 10022
New York, NY 10001

TPL                                         TSX Operating Co.
3340 Peachtree Road                         70 West 40th Street
Suite 2140                                  9th Floor
Atlanta, GA 30326                           New York, NY 10018

Verifone, Inc.                              Samuel Weiser
300 S. Park Place Blvd.                     565 Willow Raod
Clearwater, FL 33759                        Winnetka, IL 60093

WNBC - NBC Universal Media                  United States Attorney’s Office
30 Rockefeller Center                       Middle District of Florida
New York, NY 10112                          300 N. Hogan Street, Suite 700
                                            Jacksonville, FL 32202

Jonathan B. Ross, Esq.                      Christine R. Etheridge, Esq.
Gowling WLG (Canada) LLP                    Bankruptcy Administration
550 Burrard Street, Suite 2300, Bentall 5   Wells Fargo Vendor Financial Services, LLC
Vancouver, BC V6C 2B5                       PO Box 13708
                                            Macon, GA 31208
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TSX Operating Co., LLC                   Dallian Hoffen Biotechnique Co., Ltd.
c/o James Sanna                          c/o Ezra B. Jones
70 W. 40th Street                        305 Crosstree Lane
New York, NY 10018                       Atlanta, GA 30328
Creditor Committee                       Creditor Committee

B.E. Capital Management Fund LP
Thomas Branziel
205 East 42nd Street , 14th Floor
New York, NY 10017
Creditor Committee
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                                      Composite Exhibit A

                                       (Fee Statements)




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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

Remittance Copy                                                        Invoice Date         February 09, 2018
                                                                       Invoice No.                   9318842


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through January 31, 2018 as summarized below:

         Services                                                $33,059.00

         Disbursements                                              $1,728.27
                    TOTAL THIS INVOICE                           $34,787.27



                    PREVIOUS BALANCE                                                      67,030.14
                    (Includes payments received through 02/09/18)
                    TOTAL AMOUNT DUE                                                   $101,817.41



  I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
  Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




               To ensure proper credit to the above account, please indicate invoice no. 9318842
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date         February 09, 2018
                                                                       Invoice No.                   9318842


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through January 31, 2018 as summarized below:

         Services                                                $33,059.00

         Disbursements                                              $1,728.27
                    TOTAL THIS INVOICE                           $34,787.27



                    PREVIOUS BALANCE                                                      67,030.14
                    (Includes payments received through 02/09/18)
                    TOTAL AMOUNT DUE                                                   $101,817.41




               To ensure proper credit to the above account, please indicate invoice no. 9318842
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of                January 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number              9318842



Task Code:      B110 CASE ADMINISTRATION
5-Jan-18        Communications with counsel for interested parties      JAB                0.30       120.00
                regarding rescheduling M. Little Examination.
9-Jan-18        Communications with P. Gurfein regarding upcoming       JAB                0.20        80.00
                hearing, case issues and strategy to resolve same.
11-Jan-18       Prepare for and participate in settlement conference    JAB                2.80     1,120.00
                with Debtor's and Creditor's committee counsel with
                pre and post strategy sessions with P. Gurfein.
12-Jan-18       Confer re: various case and confirmation issues.        SRW                0.50       220.00
18-Jan-18       Review email communication of committee                 JAB                1.20       480.00
                members, P. Gurfein, Debtor's counsel and Financial
                Advisors related to mediation and other case issues.
19-Jan-18       Post conference call analysis of pending case issues.   JAB                0.40       160.00
26-Jan-18       Email communication to P. Gurfein with                  JAB                0.40       160.00
                      .
31-Jan-18       Communications with P. Gurfein regarding strategy       JAB                0.70       280.00
                and proposed communications with Ad Hoc Equity
                Group and Debtor's Counsel.
31-Jan-18       Review correspondence from Gurfein; prepare             ELM                0.90       486.00
                correspondence to Gurfein re Schedule 13D.
                     Subtotal for Code B110 CASE ADMINISTRATION                            7.40     3,106.00

Task Code:      B120 ASSET ANALYSIS AND RECOVERY
19-Jan-18       Research related to                             .       MKF                1.00       285.00
26-Jan-18       Prepare brief memorandum to J. Brown and P.             MKF                0.40       114.00
                Gurfein regarding                           .
                       Subtotal for Code B120 ASSET ANALYSIS AND                           1.40       399.00
                                        RECOVERY

Task Code:      B130 ASSET DISPOSITION
4-Jan-18        Communications with P. Gurfein, Lincoln Advisors        JAB                0.80       320.00
                and Committee Members regarding Plan, Sale and
                related matters.
15-Jan-18       Review email communications with committee, P.          JAB                0.60       240.00
                Gurfein and Lincoln regarding various case issues
                and plan and sale status.
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of              January 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number            9318842


16-Jan-18       Prepare for and participate in conference call with P.   JAB              0.90       360.00
                Gurfein and Lincoln International regarding sale and
                plan options.
25-Jan-18       Communications with P. Gurfein, Debtor's counsel,        JAB              1.00       400.00
                Lincoln Advisors and Committee Members regarding
                mediation/sale related matters.
26-Jan-18       Communications with P. Gurfein and committee             JAB              0.70       280.00
                regarding mediation and sale/plan issues.
                       Subtotal for Code B130 ASSET DISPOSITION                           4.00     1,600.00

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
11-Jan-18       Review and comment on memos to committee with            JAB              0.40       160.00
                case updates.
18-Jan-18       Telephone call with P. Gurfein in preparation for        JAB              0.20        80.00
                committee call.
19-Jan-18       Prepare for and participate in conference call with      JAB              1.80       720.00
                Equity Committee regarding mediation, sale, plan
                and related matters.
22-Jan-18       Communication with P. Gurfein, Lincoln Advisors          JAB              0.80       320.00
                and Committee regarding mediation terms and
                conditions and related matters.
23-Jan-18       Review and comment on recent Committee                   JAB              0.10        40.00
                conference call minutes.
24-Jan-18       Prepare for and participate in conference call with      JAB              1.00       400.00
                counsel for Debtors and committee regarding
                mediation requirements and parameters.
                  Subtotal for Code B151 COMMUNICATIONS WITH                              4.30     1,720.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
12-Jan-18       Revise and finalize December invoices and prepare        JAB              0.50       200.00
                communications to circulate same.
12-Jan-18       Draft letter to M. Suarez forwarding December            JSM              0.20        35.00
                invoice.
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             INC.

0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number             9318842


30-Jan-18       Draft Fourth Interim Fee Application and proposed       JSM               2.50       437.50
                Order and calculate task codes per timekeeper and
                timekeeper totals for September through December.
31-Jan-18       Work on Fourth Interim Fee Applications.                JAB               0.80       320.00
31-Jan-18       Assistance with review of LGB's Fourth Interim Fee      JSM               0.20        35.00
                Application.
                       Subtotal for Code B160 FEE/EMPLOYMENT                              4.20     1,027.50
                                     APPLICATIONS

Task Code:      B185 ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
2-Jan-18        Assistance with NY Landlord Mediation Preparation       JSM               0.50        87.50
                and related matters.
3-Jan-18        Review and comment on memorandum to committee           JAB               0.30       120.00
                regarding NY landlord mediation.
3-Jan-18        Assistance with NY Landlord Mediation Preparation       JSM               2.00       350.00
                and related matters.
3-Jan-18        Review draft mediation statement, mediation related     JAB               2.50     1,000.00
                communications and related claims and otherwise
                prepare for January 6th mediation.
4-Jan-18        Continued Preparation for Mediation.                    JAB               1.80       720.00
5-Jan-18        Preparation for and participation in mediation of New   JAB              10.50     4,200.00
                York Landlord Claims.
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of               January 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number             9318842



                 Subtotal for Code B185 ASSUMPTION/REJECTION OF                           17.60     6,477.50
                               LEASES AND CONTRACTS

Task Code:      b190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
9-Jan-18        Telephone communications with attorney Busey             JAB               0.10        40.00
                regarding status of Apollo/Alta diligence.
                 Subtotal for Code b190 OTHER CONTESTED MATTERS                            0.10        40.00
                    (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
23-Jan-18       Review communications regarding mediation and            JAB               0.40       160.00
                Apollo/Alta offer among case professionals, financial
                advisors and committee.
25-Jan-18       Review and revise Joint Motion for Appointment of        MKF               0.60       171.00
                Mediator and related proposed Order.
25-Jan-18       Draft Joint Motion to Appoint Mediator and Schedule      JSM               1.50       262.50
                Mediation and proposed Order Granting Joint Motion
                to Appoint Mediator and Schedule Mediation and
                assistance with revisions to same.
                Subtotal for Code B190 OTHER CONTESTED MATTERS                             2.50       593.50
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
1-Jan-18        Draft deposition outline re Restatement of DK's          JDL               3.30     1,155.00
                financials
3-Jan-18        Communications with counsel for interested parties       JAB               0.60       240.00
                regarding scheduling/conducting M. Little deposition.
3-Jan-18        Revise outline for Mike Little Deposition (2.5)          JDL               8.40     2,940.00
                Review additional documents to determine whether
                they should be included in the M. Little Deposition
                (3.3) Prepare documents for M. Little deposition (2.3)
                Correspond with P. Gurfein re updating the Equity
                Committee about judgment in the Sellers Capital
                lawsuit (.3)
3-Jan-18        Review outline materials for Mike Little deposition.     BPM               0.50       282.50
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            INC.

0318769     PREMIER EXHIBITIONS, INC.                                   Invoice Number            9318842


4-Jan-18       Communications and analysis regarding Equity             JAB              0.60       240.00
               Holder filing requirements.
4-Jan-18       Revise M. Little outline for deposition                  JDL              2.80       980.00
5-Jan-18       Revise which documents will be used in the M. Little     JDL              0.70       245.00
               deposition
5-Jan-18       Correspondence re Mike Little deposition.                BPM              0.30       169.50
8-Jan-18       Draft Notice of Cancellation of 2004 Exam of             JSM              0.30        52.50
               Michael J. Little and coordinate electronic filing and
               service of same.
8-Jan-18       Revise outline and discuss strategy with B. Miller       JDL              1.90       665.00
8-Jan-18       Review key documents for Little deposition.              BPM              0.40       226.00
8-Jan-18       Revise Notice of Cancellation of M. Little 2004          JAB              0.10        40.00
               Examination.
8-Jan-18       Email communications with attorney Syed regarding        JAB              0.10        40.00
               certificate of service.
16-Jan-18      Review documents to be used in the M. Little             JDL              1.70       595.00
               examination and revise outline
18-Jan-18      Draft Notice of Rescheduled 2004 Exam of Michael         JSM              0.20        35.00
               J. Little.
18-Jan-18      Attention to Notice of Rescheduling M. Little 2004       JAB              0.10        40.00
               Examination.
19-Jan-18      Coordinate electronic filing and service of Notice of    JSM              0.20        35.00
               Rescheduled 2004 Exam of Michael J. Little.
24-Jan-18      Attention to preparing draft Motion to Appoint           JAB              0.60       240.00
               Mediator and Approve Mediation Parameters.
25-Jan-18      Revise and circulate draft Joint Motion to Appoint       JAB              1.40       560.00
               Mediator, et al and proposed order.
26-Jan-18      Assistance with mediation preparation.                   JSM              0.20        35.00
31-Jan-18      Prepare for M. Little deposition.                        BPM              0.50       282.50
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             INC.

0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number             9318842



                Subtotal for Code B191 INVESTIGATION AND PURSUIT                           24.90     9,098.00
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      B300 CLAIMS AND PLAN
3-Jan-18        Research issues related to                                 MKF              0.50       142.50
                                                                  .
                        Subtotal for Code B300 CLAIMS AND PLAN                              0.50       142.50

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

4-Jan-18        Communications with P. Gurfein regarding Motion to         JAB              0.40       160.00
                Extend Deadline to File Disclosure Statement and
                anticipated objections thereto.
5-Jan-18        Revise draft reservation of rights as to motion to         JAB              0.40       160.00
                extend deadline to file disclosure statement.
5-Jan-18        Assistance with finalizing Statement and Reservation       JSM              0.40        70.00
                of Rights and coordinate electronic filing and service
                of same.
5-Jan-18        Research and revise Statement and Reservation of           MKF              3.00       855.00
                Rights in Response to Debtors' Motion to Extend
                Time to File Disclosure Statement and Ad Hoc
                Equity Group's Objection to same (2.5).
10-Jan-18       Assistance with preparation for hearing on January         JSM              0.30        52.50
                11 on Debtor's motion to extend time to file
                disclosure statement.
11-Jan-18       Prepare for and participate in hearing on Motion to        JAB              1.30       520.00
                Extend deadline to file Disclosure Statement.
29-Jan-18       Research and analyze issues regarding                      JLD              1.50       585.00
29-Jan-18       Research and analysis regarding                            JAB              2.40       960.00
                     .
29-Jan-18       Confer with P. Gurfein and S. Wirth regarding plan         JAB              0.40       160.00
                confirmation issues.
29-Jan-18       Call with P. Gurfein and research related to               MKF              0.30        85.50
                             .
30-Jan-18       Analyze                               and conduct          EB               0.90       450.00
                research re: same.
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            INC.

0318769     PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9318842


30-Jan-18      Continued research and analysis regarding                               JAB                    1.50           600.00
                                      .
30-Jan-18      Communications with P. Gurfein and Committee                            JAB                    0.60           240.00
               members regarding mediation rescheduling and
               plan/confirmation issues.
30-Jan-18      Research and analyze i                                                  JLD                    3.50         1,365.00

31-Jan-18      Continued research regarding                                            JAB                    1.80           720.00
                    .
31-Jan-18      Research and analyze issues regarding                                   JLD                    4.80         1,872.00

                     Subtotal for Code B320 PLAN AND DISCLOSURE                                             23.50          8,855.00
                      STATEMENT (INCLUDING BUSINESS PLAN)

               Total Fees for Services Rendered..............................................................................$33,059.00



Date                                      Disbursements                                                                        Value

5-Jan-18     POSTAGE                                                                                       13.34
8-Jan-18     POSTAGE                                                                                       13.34
8-Jan-18     POSTAGE                                                                                        9.20
19-Jan-18    POSTAGE                                                                                       10.35
19-Jan-18    POSTAGE                                                                                       13.34
Total for POSTAGE                                                                                                               59.57

4-Jan-18     DUPLICATING-Miami                                                                           181.80
5-Jan-18     DUPLICATING                                                                                   43.60
8-Jan-18     DUPLICATING                                                                                   14.80
19-Jan-18    DUPLICATING                                                                                   29.20
Total for DUPLICATING                                                                                                         269.40

19-Jan-18    FEDERAL EXPRESS Airbill: 789318426564 per 1902 Invoice                                        46.06
             No: 606208932 Ship Dt: 01/11/18
Total for FEDERAL EXPRESS                                                                                                       46.06
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                  INC.

0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9318842




Date                                                   Disbursements                                                                                 Value

31-Jan-18            TRANSPORTATION - BRIAN P. MILLER: Airfare - Attend                                                     805.60
                     deposition of Michael Little. BM/2422
Total for TRANSPORTATION                                                                                                                            805.60

11-Jan-18            MEALS - JACOB A. BROWN: Lunch - Premier Exhibitions -                                                    34.82
                     Planning/Strategy lunch with P. Gurfein on 01/11/18 at Cafe
                     Nola with Peter Gurfein, Landau Gottfried & Berger LLP.
                     JB/1685
Total for MEALS                                                                                                                                       34.82

5-Jan-18             PARKING - JACOB A. BROWN: Parking - Premier                                                                6.00
                     Mediation.. JB/1685
Total for PARKING                                                                                                                                      6.00

5-Jan-18             OTHER TRAVEL EXPENSES - JACOB A. BROWN:                                                                215.82
                     Mileage - Premier Mediation.. JB/1685
Total for OTHER TRAVEL EXPENSES                                                                                                                     215.82

29-Jan-18            WESTLAW RESEARCH 012918 DICKS,JOHN L TAMPA                                                             291.00
Total for WESTLAW RESEARCH                                                                                                                          291.00

Total Disbursements .................................................................................................................................$1,728.27
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            INC.

0318769     PREMIER EXHIBITIONS, INC.                             Invoice Number             9318842



          Initial    Name                                Hours            Rate       Amount
          BPM        B.P. MILLER                           1.70        565.00           960.50
          EB         E. BERGER                             0.90        500.00           450.00
          ELM        E. L. MORENO                          0.90        540.00           486.00
          JAB        J. A. BROWN                          43.50        400.00       17,400.00
          JDL        J. D. LAMET                          18.80        350.00        6,580.00
          JLD        J. L. DICKS II                        9.80        390.00        3,822.00
          JSM        J. S. MEEHAN                          8.50        175.00        1,487.50
          MKF        M. K. FACKLER                         5.80        285.00        1,653.00
          SRW        S. R. WIRTH                           0.50        440.00           220.00
                                   Total                  90.40                    $33,059.00
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                                                                                                         Akerman LLP
                                                                                                 Post Office Box 4906
                                                                                                      Orlando, FL 32802
                                                                                                       Tel: 407.254.2305
                                                                                                      Fax: 407.254.3408

  Remittance Copy                                                         Invoice Date            March 13, 2018
                                                                          Invoice No.                   9329081


  EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
  591 REDWOOD HIGHWAY #2345
  MILL VALLEY, CA 94941

  Client Name:   EQUITY COMMITTEE OF PREMIER
                 EXHIBITIONS, INC.
  Matter Name:   PREMIER EXHIBITIONS, INC.
  Matter Number: 0318769



  For professional services rendered through February 28, 2018 as summarized below:

            Services                                                $42,189.50

            Disbursements                                              $5,609.48
                       TOTAL THIS INVOICE                           $47,798.98



                       PREVIOUS BALANCE                                                     101,817.41
                       (Includes payments received through 03/13/18)
                       TOTAL AMOUNT DUE                                                   $149,616.39




I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                  To ensure proper credit to the above account, please indicate invoice no. 9329081
                                Return remittance sheet with payment in US funds.
                                                Wired funds accepted:
                                          Akerman LLP Operating Account
                                           c/o SunTrust Bank, Atlanta, GA
                                              ABA Number: 061000104
                                        Account Number: 0215-252207533
                               Swift code SNTRUS3A (For International Wires Only)
                                                 IRS EIN XX-XXXXXXX
 akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date            March 13, 2018
                                                                       Invoice No.                   9329081


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through February 28, 2018 as summarized below:

         Services                                                $42,189.50

         Disbursements                                              $5,609.48
                    TOTAL THIS INVOICE                           $47,798.98



                    PREVIOUS BALANCE                                                     101,817.41
                    (Includes payments received through 03/13/18)
                    TOTAL AMOUNT DUE                                                   $149,616.39




               To ensure proper credit to the above account, please indicate invoice no. 9329081
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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             INC.

0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number             9329081



Task Code:      B100 ADMINISTRATION
19-Feb-18       Receive covenants and conditions and review same.       MDM               1.50       847.50
                        Subtotal for Code B100 ADMINISTRATION                             1.50       847.50

Task Code:      B110 CASE ADMINISTRATION
1-Feb-18        Review email communications among interested             JAB              1.20       480.00
                parties regarding Ad Hoc Committee diligence list
                and mediation update.
8-Feb-18        Review email communications regarding Net                JAB              0.20        80.00
                Operating Loss Status.
13-Feb-18       Post-conference call email communication among           JAB              0.20        80.00
                call attendees with case/communication updates.
17-Feb-18       Review and comment on revised proposed order             JAB              0.20        80.00
                appointing mediator.
17-Feb-18       Review communications among P. Gurfein, Lincoln          JAB              0.50       200.00
                Advisors & Committee regarding sale/plan issues.
17-Feb-18       Work on January fee statements and interim fee           JAB              0.40       160.00
                applications.
18-Feb-18       Review and comment on Mediation statement plan           JAB              2.00       800.00
                structure alternatives.
19-Feb-18       Communications with P. Gurfein and M. Mathews            JAB              0.80       320.00
                regarding maritime issues.
20-Feb-18       Review and analyze pleadings in and earlier             MDM               1.50       847.50
                decisions of Virginia District Court
22-Feb-18       Review materials regarding salvaged items.              MDM               2.40     1,356.00
25-Feb-18       Review Armada letter of intent and prepare               ELM              1.10       594.00
                correspondence outlining issues re same.
26-Feb-18       Communications with Committee Members and                ELM              0.30       162.00
                Attorneys Brown and Gurfein re letter of intent.
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                    Subtotal for Code B110 CASE ADMINISTRATION                          10.80     5,159.50

Task Code:      B130 ASSET DISPOSITION
13-Feb-18       Prepare for and participate in call with Equity         JAB              1.40       560.00
                Committee, Lincoln Advisors and P. Gurfein
                regarding sale and plan related issues and strategy.
19-Feb-18       Email to M. Mathews forwarding Motion to Sell           JSM              0.10        17.50
                Property, Objection filed by the Dept. of Justice,
                Supplemental Motion to Sell Property, and Order
                Denying Motion to Sell Without Prejudice.
                       Subtotal for Code B130 ASSET DISPOSITION                          1.50       577.50

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
8-Feb-18        Prepare for and participate in conference call with     JAB              1.60       640.00
                Equity Committee.
15-Feb-18       Assistance with mediation statement inserts (.5);       JAB              1.40       560.00
                communications regarding finalizing motion to
                appoint mediator (.2); review of January Fee
                Statements of Case Professionals (.3); review e-mail
                communications with P. Gurfein, Lincoln Advisors
                and Committee members (.4).
                  Subtotal for Code B151 COMMUNICATIONS WITH                             3.00     1,200.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
2-Feb-18        Draft Third Interim Fee Application for Teneo           JSM              1.50       262.50
                Securities LLC.
2-Feb-18        Telephone conference with case manager regarding        JSM              0.10        17.50
                status of entry of Order on Second Interim Fee
                Application of Teneo Securities LLC.
12-Feb-18       Revise January invoice.                                 JSM              0.10        17.50
12-Feb-18       Work on fee applications and January invoices.          JAB              0.60       240.00
13-Feb-18       Draft proposed Order Approving Teneo Securities         JSM              0.20        35.00
                LLC's Third Interim Fee Application.
13-Feb-18       Draft letter to M. Suarez forwarding Akerman's          JSM              0.20        35.00
                invoice for January.
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             INC.

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13-Feb-18       Review and revise draft Teneo third interim fee          JAB              0.40       160.00
                application.
14-Feb-18       Revise Third Fee Application for Teneo Securities        JSM              0.30        52.50
                and email same to Teneo.
14-Feb-18       Revise Akerman's Fourth Fee Application to               JSM              0.10        17.50
                reference Debtors' withdrawal of Plan.
14-Feb-18       Revise LGB's Fourth Fee Application to reference         JSM              0.10        17.50
                Debtors' withdrawal of Plan.
14-Feb-18       Revise letter to Miriam Suarez forwarding January        JSM              0.10        17.50
                invoice.
15-Feb-18       Finalize letters to M. Suarez forwarding Akerman         JSM              0.10        17.50
                and Teneo's invoices and email same.
16-Feb-18       Finalize interim fee applications for Akerman, LGB,      JSM              1.20       210.00
                and Teneo (.5); email applications to P. Gurfein, B.
                Williams, B. Murphy, and J. Dekoe (.1); revise Teneo
                application to include reference to entry of Order on
                second interim application (.1); coordinate electronic
                filing and service of interim applications (.5).
16-Feb-18       Draft Proof of Service of Order Allowing                 JSM              0.10        17.50
                Compensation of Teneo Securities LLC (Doc. 946)
                and coordinate electronic filing and service of same.
                       Subtotal for Code B160 FEE/EMPLOYMENT                              5.10     1,117.50
                                     APPLICATIONS

Task Code:      B185 ASSUMPTION/REJECTION OF LEASES AND CONTRACTS
12-Feb-18       Work on mediation statement.                             JAB              1.20       480.00
12-Feb-18       Communications with P. Gurfein and K. Fackler            JAB              0.30       120.00
                regarding mediation statement.
                 Subtotal for Code B185 ASSUMPTION/REJECTION OF                           1.50       600.00
                               LEASES AND CONTRACTS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
7-Feb-18        Review Mediator's letter and draft insert on scope of    JAB              0.60       240.00
                mediation.
20-Feb-18       Work on draft mediation statement                        JAB              1.00       400.00
21-Feb-18       Review and revise draft Mediation Statement.             JAB              2.50     1,000.00
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                  As of              February 28, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                 Invoice Number             9329081


22-Feb-18       Review e-mail correspondence among committee, P.        JAB              0.80       320.00
                Gurfein and Lincoln adversaries in preparation for
                mediation and related matters.
23-Feb-18       Review NMM e-mail proposal (.1); prepare for            JAB              0.90       360.00
                mediation with brief; telephone conference with P.
                Gurfein to coordinate approach and opening items
                (.8).
24-Feb-18       Initial review and analysis of Armada proposal with     JAB              1.50       600.00
                communications with committee professionals and
                financial advisors regarding same (1.0); e-mail
                correspondence with committee professionals
                regarding pre-mediation related issues (.5).
25-Feb-18       Mediation Preparation and Pre-Mediation                 JAB              4.50     1,800.00
                Conferences and Communications with Mediation
                Participants.
26-Feb-18       Mediation preparation and participation with pre and    JAB             12.50     5,000.00
                post-mediation conferences and communications with
                mediation participants and work on draft mediation
                term sheet.
27-Feb-18       Continued participation in mediation.                   JAB              4.50     1,800.00
28-Feb-18       Attention to post-mediation matters and                 JAB              2.30       920.00
                communications with P. Gurfein and committee
                members (.8); return travel from mediation (1.5).
                Subtotal for Code B190 OTHER CONTESTED MATTERS                          31.10    12,440.00
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
1-Feb-18        Assistance with preparation for 2004 examination of     JSM              0.10        17.50
                Michael Little.
1-Feb-18        Assistance with preparation for 2004 examination of     JSM              0.10        17.50
                Michael Little.
6-Feb-18        Discuss deposition of M. Little with B. Miller (.3)     JDL              0.50       175.00
                Strategize re upcoming steps in light of information
                learned from M. Little deposition (.2)
13-Feb-18       Communications with court reporter regarding            JSM              0.10        17.50
                delivery of transcript of deposition of Michael J.
                Little.
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0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number             9329081


14-Feb-18       Review deposition transcript of M. Little               JDL               2.40       840.00
14-Feb-18       Download Transcript of Deposition of Michael J.         JSM               0.30        52.50
                Little and exhibits and forward same to P. Gurfein.
15-Feb-18       Research re                                             JDL               1.10       385.00
19-Feb-18       Draft mediation statement insert on litigation claims   JDL               4.30     1,505.00
22-Feb-18       Revise Memorandum relating to D&O claims                JDL               4.80     1,680.00
                Subtotal for Code B191 INVESTIGATION AND PURSUIT                         13.70     4,690.00
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      B192 ADVERSARY PROCEEDINGS
20-Feb-18       Revise Meditation Statement section pertaining to       JDL               0.90       315.00
                potential litigation claims
21-Feb-18       Update Memorandum on Potential Litigaiton Claims        JDL               1.80       630.00
23-Feb-18       Compare terms of Pentwater loan to the loans offered    JDL               0.50       175.00
                by Brevet and Twin Haven
                  Subtotal for Code B192 ADVERSARY PROCEEDINGS                            3.20     1,120.00

Task Code:      B240 TAX ISSUES
25-Feb-18       Review Armada letter of intent.                         WFS               0.80       452.00
26-Feb-18       Research                              (1.0); discuss    WFS               1.60       904.00
                issues with working group (.6).
                              Subtotal for Code B240 TAX ISSUES                           2.40     1,356.00

Task Code:      B300 CLAIMS AND PLAN
1-Feb-18        Prepare for Mike Little deposition.                     BPM               7.00     3,955.00
2-Feb-18        Final preparation for and attendance at Little          BPM               7.80     4,407.00
                deposition.
4-Feb-18        Correspondence re report on Little deposition.          BPM               0.60       339.00
19-Feb-18       Revise mediation statement insert.                      BPM               0.50       282.50
20-Feb-18       Revise mediation statement insert.                      BPM               0.40       226.00
23-Feb-18       Revise mediation memo re claims.                        BPM               1.00       565.00
24-Feb-18       Review Armada agreement and correspondence re           BPM               0.50       282.50
                same.
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0318769      PREMIER EXHIBITIONS, INC.                                Invoice Number             9329081


26-Feb-18       Review and analyze documents; tax research; prepare    LFC              1.00       565.00
                documents.
                        Subtotal for Code B300 CLAIMS AND PLAN                         18.80    10,622.00

Task Code:      B310 CLAIMS ADMINISTRATION AND OBJECTIONS
28-Feb-18       Begin drafting Objection to Claim 29-1 of PacBridge    JSM              0.40        70.00
                Capital Partners.
                Subtotal for Code B310 CLAIMS ADMINISTRATION AND                        0.40        70.00
                                      OBJECTIONS

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

2-Feb-18        Analysis of caselaw related to 1129(a) plan issues.    MKF              0.30        85.50
9-Feb-18        Review email communications from Attorney              JAB              0.60       240.00
                Cavender regarding plan support agreement and
                assist with response to same.
12-Feb-18       Assistance with preparation of Mediation Statement.    MKF              1.50       427.50
16-Feb-18       Revise and forward information for mediation           MKF              0.30        85.50
                statement to P. Gurfein.
21-Feb-18       Assistance with finalizing Mediation Statement.        JSM              0.50        87.50
21-Feb-18       Review and revise draft Mediation Statement.           MKF              1.10       313.50
23-Feb-18       Prepare mediation binder and assist with mediation     JSM              1.80       315.00
                preparation.
26-Feb-18       Research related to                                    MKF              0.80       228.00
                                              .
26-Feb-18       Mediation Support Assistance.                          JSM              2.50       437.50
                     Subtotal for Code B320 PLAN AND DISCLOSURE                         9.40     2,220.00
                      STATEMENT (INCLUDING BUSINESS PLAN)

Task Code:      B400 BANKRUPTCY-RELATED ADVICE
18-Feb-18       Email with Jay Brown regarding experience with        MDM               0.30       169.50
                Admiralty and Maritime matters.
                    Subtotal for Code B400 BANKRUPTCY-RELATED                           0.30       169.50
                                         ADVICE
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            INC.

0318769     PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9329081


               Total Fees for Services Rendered..............................................................................$42,189.50



Date                                      Disbursements                                                                        Value

9-Feb-18     POSTAGE                                                                                        1.63
9-Feb-18     POSTAGE                                                                                        1.10
9-Feb-18     POSTAGE                                                                                        2.20
19-Feb-18    POSTAGE                                                                                       50.18
19-Feb-18    POSTAGE                                                                                        2.89
19-Feb-18    POSTAGE                                                                                       80.92
Total for POSTAGE                                                                                                             138.92

16-Feb-18    DUPLICATING                                                                                   15.40
16-Feb-18    DUPLICATING                                                                                 777.20
Total for DUPLICATING                                                                                                         792.60

9-Feb-18     FEDERAL EXPRESS Airbill: 789550279641 per 3982 Invoice                                        77.65
             No: 608355743 Ship Dt: 01/31/18
9-Feb-18     FEDERAL EXPRESS Airbill: 795421923563 per 3982 Invoice                                        32.25
             No: 608355743 Ship Dt: 02/02/18
2-Mar-18     FEDERAL EXPRESS Airbill: 789856006051 per 1902 Invoice                                        41.27
             No: 610607664 Ship Dt: 02/23/18
Total for FEDERAL EXPRESS                                                                                                     151.17

16-Feb-18    TRANSPORTATION - JACOB A. BROWN: Airfare - Travel                                           201.80
             to attend business meeting and mediation. JB/1685
25-Feb-18    TRANSPORTATION - JACOB A. BROWN: Airfare - Travel                                           403.60
             to Atlanta to participate in mediation. JB/1685
Total for TRANSPORTATION                                                                                                      605.40

2-Feb-18     HOTEL - BRIAN P. MILLER: Lodging - Attend deposition of                                     211.68
             Michael Little. BM/2422
13-Mar-18    HOTEL - JACOB A. BROWN: Lodging - Travel to attend                                          841.48
             business meeting and mediation. Hotel stay 02/25/18-02/28/18..
             JB/1685
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of             February 28, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                  Invoice Number            9329081




Date                                 Disbursements                                                  Value
Total for HOTEL                                                                                   1,053.16

1-Feb-18     MEALS - BRIAN P. MILLER: Lunch - Attend deposition of                    23.00
             Michael Little on 02/01/18 at Counter Burger. BM/2422
1-Feb-18     MEALS - BRIAN P. MILLER: Hotel - Dinner - Attend                         45.66
             deposition of Michael Little on 02/01/18. BM/2422
2-Feb-18     MEALS - BRIAN P. MILLER: Hotel - Breakfast - Attend                      25.20
             deposition of Michael Little on 02/02/18. BM/2422
25-Feb-18    MEALS - JACOB A. BROWN: Dinner - Travel to attend                       616.17
             business meeting and mediation on 02/25/18 at Sear - Atlanta
             Marriott Marquis with Andy Shapiro, Official Committee of
             Equity Security Holders; Jon Heller, Official Committee of
             Equity Security Holders; Brendan Murphy, Lincoln Partners
             Advisors LLC; Peter Gurfein, N/A. JB/1685
26-Feb-18    MEALS - JACOB A. BROWN: Dinner - Travel to attend                       616.76
             business meeting and mediation on 02/26/18 at Donetta with
             Andy Shapiro, N/A; Jon Heller, N/A; Peter Gurfein, N/A; Brent
             Williams, N/A; Brandan Murphy, N/A. JB/1685
13-Mar-18    MEALS - JACOB A. BROWN: Hotel - Meals Other - Travel to                  30.62
             attend business meeting and mediation on 03/13/18. JB/1685
Total for MEALS                                                                                   1,357.41

5-Feb-18     PARKING - BRIAN P. MILLER: Parking - Attend deposition                   42.50
             of Michael Little. BM/2422
28-Feb-18    PARKING - JACOB A. BROWN: Parking - Travel to attend                     60.00
             business meeting and mediation. JB/1685
Total for PARKING                                                                                  102.50

1-Feb-18     OTHER TRAVEL EXPENSES - BRIAN P. MILLER:                                 50.00
             Taxi/Car Service - Attend deposition of Michael Little.
             BM/2422
2-Feb-18     OTHER TRAVEL EXPENSES - BRIAN P. MILLER:                                 50.00
             Taxi/Car Service - Attend deposition of Michael Little.
             BM/2422
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0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9329081




Date                                                   Disbursements                                                                                 Value
25-Feb-18            OTHER TRAVEL EXPENSES - JACOB A. BROWN: Public                                                             6.00
                     Transit - Travel to attend business meeting and mediation.
                     JB/1685
26-Feb-18            OTHER TRAVEL EXPENSES - JACOB A. BROWN:                                                                  20.00
                     Taxi/Car Service - Travel to attend business meeting and
                     mediation. JB/1685
26-Feb-18            OTHER TRAVEL EXPENSES - JACOB A. BROWN:                                                                  25.35
                     Taxi/Car Service - Travel to attend business meeting and
                     mediation. JB/1685
28-Feb-18            OTHER TRAVEL EXPENSES - JACOB A. BROWN:                                                                  43.37
                     Taxi/Car Service - Travel to attend business meeting and
                     mediation. JB/1685
Total for OTHER TRAVEL EXPENSES                                                                                                                     194.72

15-Feb-18            COURT REPORTER - OLENDER REPORTING - Court                                                           1,213.60
                     Reporter - deposition of Michael J. Little and transcript 2/2/18.
                     JG/4667
Total for COURT REPORTER                                                                                                                         1,213.60

Total Disbursements .................................................................................................................................$5,609.48
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            INC.

0318769     PREMIER EXHIBITIONS, INC.                           Invoice Number             9329081



          Initial    Name                              Hours            Rate       Amount
          BPM        B.P. MILLER                        17.80        565.00       10,057.00
          ELM        E. L. MORENO                        1.40        540.00           756.00
          JAB        J. A. BROWN                        44.10        400.00       17,640.00
          JDL        J. D. LAMET                        16.30        350.00        5,705.00
          JSM        J. S. MEEHAN                       10.00        175.00        1,750.00
          LFC        L.F. CORDERO                        1.00        565.00           565.00
          MDM        M.D. MATHEWS                        5.70        565.00        3,220.50
          MKF        M. K. FACKLER                       4.00        285.00        1,140.00
          WFS        W. F. SULLIVAN                      2.40        565.00        1,356.00
                                Total                 102.70                     $42,189.50
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                                                                                                        Akerman LLP
                                                                                                Post Office Box 4906
                                                                                                     Orlando, FL 32802
                                                                                                      Tel: 407.254.2305
                                                                                                     Fax: 407.254.3408

 Remittance Copy                                                         Invoice Date                April 13, 2018
                                                                         Invoice No.                       9337940


 EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
 591 REDWOOD HIGHWAY #2345
 MILL VALLEY, CA 94941

 Client Name:   EQUITY COMMITTEE OF PREMIER
                EXHIBITIONS, INC.
 Matter Name:   PREMIER EXHIBITIONS, INC.
 Matter Number: 0318769



 For professional services rendered through March 31, 2018 as summarized below:

            Services                                               $16,636.00

            Disbursements                                              $357.00
                       TOTAL THIS INVOICE                          $16,993.00



                       PREVIOUS BALANCE                                                    116,640.25
                       (Includes payments received through 04/13/18)
                       TOTAL AMOUNT DUE                                                  $133,633.25

I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                 To ensure proper credit to the above account, please indicate invoice no. 9337940
                               Return remittance sheet with payment in US funds.
                                               Wired funds accepted:
                                         Akerman LLP Operating Account
                                          c/o SunTrust Bank, Atlanta, GA
                                             ABA Number: 061000104
                                       Account Number: 0215-252207533
                              Swift code SNTRUS3A (For International Wires Only)
                                                IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date                April 13, 2018
                                                                       Invoice No.                       9337940


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through March 31, 2018 as summarized below:

         Services                                                $16,636.00

         Disbursements                                               $357.00
                    TOTAL THIS INVOICE                           $16,993.00



                    PREVIOUS BALANCE                                                     116,640.25
                    (Includes payments received through 04/13/18)
                    TOTAL AMOUNT DUE                                                   $133,633.25




               To ensure proper credit to the above account, please indicate invoice no. 9337940
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number               9337940



Task Code:      B130 ASSET DISPOSITION
5-Mar-18        Communications with P. Gunfein and Lincoln                JAB              0.80         320.00
                Advisors regarding sale and plan alternatives (.4);
                draft e-mail communication outlining sale related
                discovery plan (.4).
7-Mar-18        Review and analyze e-mail communication among             JAB              0.60         240.00
                Committee, Lincoln Advisors and counsel for
                interested parties regarding sale related concerns and
                possible strategies.
7-Mar-18        Research and review of                                    MKF              2.20         627.00


                                             .
7-Mar-18        Assistance with preparation of discovery.                 JSM              0.40          70.00
9-Mar-18        Assistance with preparation of discovery.                 JSM              1.20         210.00
9-Mar-18        Prepare for and participate in conference call with       JAB              1.90         760.00
                committee members regarding sale related concerns
                and strategy (1.4); attention to preparation of
                discovery (.5).
9-Mar-18        Call with P. Gurfein regarding sale issues (.2);          MKF              1.10         313.50
                Committee call regarding sale (.9).
11-Mar-18       Initial review of PacBridge/Alta/Apollo proposal (.3);    JAB              2.30         920.00
                communications with committee members, P.
                Gurfein and Lincoln Advisors regarding PacBridge et
                al proposal (1.0); continued work on discovery
                related to sale concerns (1.0).
11-Mar-18       Prepare requests for documents and other information      MKF              2.00         570.00
                for discovery.
12-Mar-18       Revise discovery requsts for Debtors and other            MKF              1.50         427.50
                interested parties.
12-Mar-18       Continued work on discovery and analysis of related       JAB              2.60       1,040.00
                issues (1.5); analysis of sale/plan issues and strategy
                (.6); communications regarding D & O claim related
                matters (.5).
12-Mar-18       Assistance with revising discovery.                       JSM              0.80         140.00
13-Mar-18       Continued work on discovery (.8); analysis of             JAB              3.60       1,440.00
                pending offers and sale related issues (1.0); extensive
                communications among P. Gurfein and Lincoln
                Advisors regarding sale issues and strategy (1.8).
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0318769     PREMIER EXHIBITIONS, INC.                                 Invoice Number               9337940


13-Mar-18      Assistance with revising discovery and related         JSM              6.80       1,190.00
               research.
13-Mar-18      Call with P. Gurfein regarding discovery issues.       MKF              0.60         171.00
14-Mar-18      Continuing revising document requests and other        JSM              2.20         385.00
               discovery related documents.
14-Mar-18      Review recent offers/letter of intent and              JAB              1.20         480.00
               summary/analyses of same (0.6) Communications
               with Equity Committee Member, Lincoln Advisors
               and P. Gurfein regarding Sale related matters and
               strategy (0.6).
15-Mar-18      Research                       and convert memo        JDL              1.90         665.00
               into letter
15-Mar-18      Revise discovery.                                      MKF              1.30         370.50
15-Mar-18      Assistance with finalizing discovery.                  JSM              2.20         385.00
16-Mar-18      Draft Notices related to prospective discovery.        JSM              0.30          52.50
19-Mar-18      Review Loong offer and P. Gurfein correspondence       MKF              0.30          85.50
               related to same.
27-Mar-18      Communications with P. Gurfein and Lincoln             JAB              1.70         680.00
               Advisors regarding sale related matters (.5); revise
               letter on D&O claims and confer with P. Gurfein and
               B. Miller regarding finalizing same (.6); review
               liquidation analysis and auction proposal (.6).
28-Mar-18      Work on plan/sale related matters.                     JAB              0.40         160.00
28-Mar-18      Work on plan/sale related matters.                     JSM              1.20         210.00
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0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number                9337940



                       Subtotal for Code B130 ASSET DISPOSITION                          41.10      11,912.50

Task Code:      B140 RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
16-Mar-18       Review Motion for Relief from the Stay filed by          JSM              0.10          17.50
                George E. Eyde Orlando, LLC and Louis J. Eyde
                Orlando, LLC and calendar hearing for same.
                Subtotal for Code B140 RELIEF FROM STAY/ADEQUATE                          0.10          17.50
                              PROTECTION PROCEEDINGS

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
2-Mar-18        E-mail correspondence among committee members,           JAB              1.00         400.00
                Lincoln advisors and P. Gurfein regarding post-
                mediation, plan, sale and related matters (.8);
                telephone conference with Attorney J. Burnett
                regarding case status and issues (.2).
15-Mar-18       Review Memo to Committee with Case Update.               JAB              0.40         160.00
16-Mar-18       Call with Equity Committee and advisors regarding        MKF              1.70         484.50
                status update.
25-Mar-18       Review numerous e-mail communications among P.           JAB              1.50         600.00
                Gurfein, Lincoln Advisors, and Committee members
                regarding plan and sale related issues.
                  Subtotal for Code B151 COMMUNICATIONS WITH                              4.60       1,644.50
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
14-Mar-18       Draft letter to U.S. Trustee forwarding Akerman's        JSM              0.20          35.00
                invoice for February.
14-Mar-18       Review and comments on February Equity                   JAB              0.80         320.00
                Committee Professional Invoices and attention to
                submitting same to US Trustee (0.8).
15-Mar-18       Coordinate submission of proposed orders on fee          JSM              0.10          17.50
                applications for Akerman LLP, Landau Gottfried &
                Berger LLP, and Teneo Securities LLC.
29-Mar-18       Assistance with preparation of Application to retain     JSM              0.20          35.00
                Auctioneer.
29-Mar-18       Revise and circulate draft application to retain         JAB              0.50         200.00
                auctioneer (.5).
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0318769      PREMIER EXHIBITIONS, INC.                                 Invoice Number                9337940



                        Subtotal for Code B160 FEE/EMPLOYMENT                            1.80         607.50
                                      APPLICATIONS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
15-Mar-18       Research related to                                     MKF              0.60         171.00
                             .
16-Mar-18       Review numerous sale and sale process related e-        JAB              0.80         320.00
                mails and send e-mail to Committee Members in
                advance of conference call supplementing P. Gurfein
                agenda and memo.
16-Mar-18       Research related to                                     MKF              1.20         342.00
                                              .
29-Mar-18       Communications with P. Gurfein and Lincoln              JAB              0.30         120.00
                Advisors regarding case issues (.3).
                Subtotal for Code B190 OTHER CONTESTED MATTERS                           2.90         953.00
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
17-Mar-18       Revise memo re potential claims.                        BPM              0.40         226.00
18-Mar-18       Correspondence re potential claims.                     BPM              0.20         113.00
27-Mar-18       Assistance with preparation of letter regarding         JSM              0.30          52.50
                potential causes of action.
27-Mar-18       Revise memo re potential claims.                        BPM              0.30         169.50
28-Mar-18       Circulate D&O letter to potential contingency           JAB              0.20          80.00
                counsel (.2).
28-Mar-18       Assistance with finalizing letter to prospective        JSM              0.20          35.00
                contingency counsel.
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                  INC.
0318769           PREMIER EXHIBITIONS, INC.                                                             Invoice Number                            9337940



                          Subtotal for Code B191 INVESTIGATION AND PURSUIT                                                         1.60             676.00
                               OF SECURITIES AND OTHER LITIGATION

Task Code:              B240 TAX ISSUES
4-Mar-18                Review and respond to e-mail on Armada LOI/Tax                                   JAB                       0.30             120.00
                        issues.
                                          Subtotal for Code B240 TAX ISSUES                                                        0.30             120.00

Task Code:              B310 CLAIMS ADMINISTRATION AND OBJECTIONS
1-Mar-18                Revise objection to PacBridge claim (.3); prepare for                            JAB                       1.50             600.00
                        and participate in conference call with P. Gurfein and
                        B. Murphy regarding post-mediation options and
                        strategy (1.2).
1-Mar-18                Contain drafting Objection to Claim 29-1 of                                      JSM                       0.60             105.00
                        PacBridge Capital Partners.
                         Subtotal for Code B310 CLAIMS ADMINISTRATION AND                                                          2.10             705.00
                                               OBJECTIONS

                        Total Fees for Services Rendered..............................................................................$16,636.00



Date                                                   Disbursements                                                                                  Value

19-Mar-18            WESTLAW RESEARCH 031918 LAMET,JONATHAN D                                                                357.00
                     MIAMI
Total for WESTLAW RESEARCH                                                                                                                           357.00

Total Disbursements ....................................................................................................................................$357.00
                Case 3:16-bk-02230-PMG   Doc 1276   Filed 12/07/18   Page 61 of 141
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,            As of                 March 31, 2018
            INC.
0318769     PREMIER EXHIBITIONS, INC.                           Invoice Number              9337940



          Initial    Name                              Hours            Rate       Amount
          BPM        B.P. MILLER                         0.90        565.00           508.50
          JAB        J. A. BROWN                        22.40        400.00        8,960.00
          JDL        J. D. LAMET                         1.90        350.00           665.00
          JSM        J. S. MEEHAN                       16.80        175.00        2,940.00
          MKF        M. K. FACKLER                      12.50        285.00        3,562.50
                                Total                   54.50                    $16,636.00
         Case 3:16-bk-02230-PMG              Doc 1276        Filed 12/07/18        Page 62 of 141

                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

Remittance Copy                                                        Invoice Date                 May 10, 2018
                                                                       Invoice No.                      9347057


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through April 30, 2018 as summarized below:

          Services                                               $20,962.00

          Disbursements                                               $36.61
                     TOTAL THIS INVOICE                          $20,998.61



                     PREVIOUS BALANCE                                                    105,457.78
                     (Includes payments received through 05/10/18)
                     TOTAL AMOUNT DUE                                                  $126,456.39


   I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
   Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




               To ensure proper credit to the above account, please indicate invoice no. 9347057
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date                 May 10, 2018
                                                                       Invoice No.                      9347057


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



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                                              IRS EIN XX-XXXXXXX
akerman.com
              Case 3:16-bk-02230-PMG          Doc 1276      Filed 12/07/18     Page 64 of 141
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of                   April 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number               9347057



Task Code:      B110 CASE ADMINISTRATION
4-Apr-18        Communications with P. Gurfein regarding pending         JAB              0.30         120.00
                cases issues and strategy.
10-Apr-18       Review LOI and prepare correspondence to Brown           ELM              0.80         432.00
                and Gurfein re same.
23-Apr-18       Confer with P. Gurfein regarding case issues and         JAB              0.20           80.00
                strategy.
27-Apr-18       Confer with B. Williams regarding case status.           JAB              0.30         120.00
                     Subtotal for Code B110 CASE ADMINISTRATION                           1.60         752.00

Task Code:      B120 ASSET ANALYSIS AND RECOVERY
16-Apr-18       Assistance with drafting letter to Harris Winsberg re:   JSM              0.50           87.50
                demand that Debtors pursue objections to claims,
                avoidance actions, etc.
24-Apr-18       Assistance with finalizing letter to Harris Winsberg.    JSM              0.20           35.00
                      Subtotal for Code B120 ASSET ANALYSIS AND                           0.70         122.50
                                       RECOVERY

Task Code:      B130 ASSET DISPOSITION
2-Apr-18        Review e-mail correspondence among professionals         JAB              1.80         720.00
                for Debtor and Committee and financial advisors
                regarding latest offers and sale related matters,
                including LOI/offer review and analysis from
                potential purchasers.
4-Apr-18        Initial research regarding                               JAB              0.50         200.00
                        .
6-Apr-18        Review e-mail correspondence amount committee            JAB              0.60         240.00
                and estate professionals and financial advisors
                regarding various sale related matters
10-Apr-18       Post-conference call e-mail correspondence regarding     JAB              0.30         120.00
                sale and plan related matters.
12-Apr-18       Review e-mail correspondence among P. Gurfein,           JAB              0.50         200.00
                committee members and Lincoln advisors regarding
                latest term sheets and related matters.
18-Apr-18       Research regarding                                       MKF              1.60         456.00
              Case 3:16-bk-02230-PMG          Doc 1276        Filed 12/07/18    Page 65 of 141
Akerman LLP                                                                                              Page 4

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of                    April 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number                9347057


18-Apr-18       Review comments to term sheets with corresponding         JAB              0.80         320.00
                analysis of issues raised therein.
20-Apr-18       Research and analyze                                      JLD              0.20           78.00

23-Apr-18       Review latest term sheets.                                JAB              0.50         200.00
25-Apr-18       Research and analyze case law regarding                   JLD              1.70         663.00

26-Apr-18       Coordinate Ravel law research on                          JLD              0.10           39.00
27-Apr-18       Confer regarding results of research into                 JLD              0.30         117.00

27-Apr-18       Call with J. Dicks to confer regarding sale issues.       MKF              0.30           85.50
30-Apr-18       Review term sheets and send to counsel                    JDL              0.90         315.00
                       Subtotal for Code B130 ASSET DISPOSITION                           10.10        3,753.50

Task Code:      B140 RELIEF FROM STAY/ADEQUATE PROTECTION PROCEEDINGS
9-Apr-18        Prepare for and participate in hearing on Stay Motion     JAB              1.20         480.00
                regarding Orlando lease.
10-Apr-18       Review and comment on proposed order on Orlando           JAB              0.20           80.00
                landlord stay motion.
11-Apr-18       Review Order Scheduling Trial on Motion for Relief        JSM              0.10           17.50
                from Stay Re: 7220 International Drive, Orlando, FL
                32819 and calendar same.
                Subtotal for Code B140 RELIEF FROM STAY/ADEQUATE                           1.50         577.50
                              PROTECTION PROCEEDINGS

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
9-Apr-18        Preparation for conference call with Equity               JAB              0.60         240.00
                Committee.
10-Apr-18       Continued preparation for and participation in            JAB              1.80         720.00
                conference call with Equity Committee.
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of                    April 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number                9347057



                  Subtotal for Code B151 COMMUNICATIONS WITH                               2.40         960.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
2-Apr-18        Draft proposed Order Approving Application to             JSM              0.30           52.50
                Retain Guernsey's as Auctioneer.
9-Apr-18        Review and redact Akerman's invoice for March.            JSM              0.10           17.50
10-Apr-18       Revise Akerman March 2018 invoice.                        JAB              0.20           80.00
12-Apr-18       Attention to finalizing March invoice.                    JAB              0.20           80.00
13-Apr-18       Review professionals March billings.                      JAB              0.50         200.00
13-Apr-18       Assistance with finalizing invoice, draft letters to      JSM              0.50           87.50
                U.S. Trustee forwarding invoices for Akerman LLP
                and Lincoln Partners Advisors LLC, and email same.
21-Apr-18       Initial review and analysis of Guernsey's's               JAB              0.40         160.00
                declaration.
23-Apr-18       Assistance with revising Arlan Ettinger's Declaration     JSM              0.40           70.00
                in Support of Retention of Guernsey's Auction
                House.
23-Apr-18       Review and revise draft declaration of A. Ettinger for    JAB              0.80         320.00
                application to retain Guernsey's.
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of                   April 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number               9347057



                        Subtotal for Code B160 FEE/EMPLOYMENT                             3.40        1,067.50
                                      APPLICATIONS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
3-Apr-18        Communications with potential D&O claim                  JAB              1.50         600.00
                contingency counsel .5) B191.; Initial review of draft
                disclosure statement (.8) B320.; Communications
                with P. Gurfein regarding case issues and strategy
                (.2) B151.
                Subtotal for Code B190 OTHER CONTESTED MATTERS                            1.50         600.00
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
3-Apr-18        Analyze statute of limitations issues facing the         JDL              0.50         175.00
                Committee and correspond with P. Gurfein re same
3-Apr-18        Assistance with preparation of letter to prospective     JSM              0.20           35.00
                D&O contingency counsel.
5-Apr-18        Prepare for and participate in conference call with      JAB              1.80         720.00
                perspective D&O claim counsel and post-call follow
                up.
5-Apr-18        Assistance with gathering documents to send to           JSM              1.50         262.50
                potential special counsel and telephone conference
                with J. Lamet regarding same.
9-Apr-18        Review exhibits to Little deposition to determine        JDL              0.50         175.00
                whether they are confidential
9-Apr-18        Assistance with gathering documents to send to           JSM              0.50           87.50
                prospective contingency counsel.
10-Apr-18       Organize documents to go to prospective counsel.         JAB              0.30         120.00
11-Apr-18       Work on follow-up to potential D&O counsel.              JAB              0.80         320.00
12-Apr-18       WOrk on demand to Debtors to bring D&O claims.           JAB              0.80         320.00
13-Apr-18       Draft and send e-mail correspondence to prospective      JAB              1.20         480.00
                D&O counsel with extensive background.
13-Apr-18       Call with P. Gurfein and B. Miller to analyze next       JDL              1.10         385.00
                steps of Committees investigation
16-Apr-18       Draft memo to Committee re update of the                 JDL              1.60         560.00
                investigation
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of                    April 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number                9347057


18-Apr-18       Revise D&O memo updating claims (.4) Analyze             JDL              0.70         245.00
                contents of Demand Letter to be sent to Premier (.3)
18-Apr-18       Revise and circulate D&O/transfer claim                  JAB              1.50         600.00
                correspondence.
19-Apr-18       Communications regarding D&O claims and related          JAB              0.60         240.00
                matters.
20-Apr-18       Communications with potential D&O counsel                JAB              0.80         320.00
                regarding claim related matters.
21-Apr-18       E-mail correspondence response to prospective D&O        JAB              0.50         200.00
                counsel.
24-Apr-18       Continued work on D&O claim demand letter.               JAB              0.80         320.00
25-Apr-18       Continued work on D&O claim demand letter and            JAB              0.50         200.00
                attention to finalizing same.
27-Apr-18       Communications with prospective D&O counsel and          JAB              0.60         240.00
                attention to related matters.
27-Apr-18       Confer with potential contingency counsel and            BPM              0.50         282.50
                related follow-up.
30-Apr-18       Revise and circulate draft D&O claim demand.             JAB              0.80         320.00
                Subtotal for Code B191 INVESTIGATION AND PURSUIT                         18.10        6,607.50
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      B300 CLAIMS AND PLAN
5-Apr-18        Review correspondence re potential claims against        BPM              0.30         169.50
                directors.
7-Apr-18        Correspond with Gurfein re claims and research           BPM              0.70         395.50
                background re same.
13-Apr-18       Meet with Gurfein re claims and follow up.               BPM              1.40         791.00
26-Apr-18       Revise derivative demand letter.                         BPM              0.80         452.00
                        Subtotal for Code B300 CLAIMS AND PLAN                            3.20        1,808.00

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

4-Apr-18        Research                                                 JSM              0.80         140.00
5-Apr-18        Review draft plan and disclosure statement.              JAB              0.30         120.00
6-Apr-18        Continued review of plan and disclosure statement.       JAB              0.60         240.00
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076478            EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                               As of                             April 30, 2018
                  INC.
0318769           PREMIER EXHIBITIONS, INC.                                                              Invoice Number                            9347057


9-Apr-18                 Assistance with revising Plan and Disclosure                                     JSM                      0.50                87.50
                         Statement.
9-Apr-18                 Review and revise plan related filings.                                          JAB                      2.50           1,000.00
16-Apr-18               Research and analyze issues related to plan and                                  WFS                       2.50           1,412.50
                        disclosure documents.
17-Apr-18                Review and revise plan document and                                             WFS                       1.90           1,073.50
                         correspondence re: same.
18-Apr-18                Review e-mail correspondence among Lincoln                                       JAB                      0.80              320.00
                         Advisors, committee and P. Gurfein regarding plan
                         and sale issues.
19-Apr-18                Communications among Lincoln Advisors and P.                                     JAB                      0.50              200.00
                         Gurfein regarding liquidation analysis and related
                         issues.
20-Apr-18                Review e-mail correspondence among P. Gurfein and                                JAB                      0.30              120.00
                         Lincoln Advisors regarding liquidation analysis.
                                Subtotal for Code B320 PLAN AND DISCLOSURE                                                        10.70           4,713.50
                                 STATEMENT (INCLUDING BUSINESS PLAN)

                         Total Fees for Services Rendered..............................................................................$20,962.00



Date                                                   Disbursements                                                                                   Value

20-Apr-18            FEDERAL EXPRESS Airbill: 780514684083 per 3982 Invoice                                                     36.61
                     No: 615749198 Ship Dt: 04/13/18
Total for FEDERAL EXPRESS                                                                                                                               36.61

Total Disbursements ......................................................................................................................................$36.61
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,             As of                 April 30, 2018
            INC.
0318769     PREMIER EXHIBITIONS, INC.                            Invoice Number             9347057



          Initial    Name                               Hours            Rate       Amount
          BPM        B.P. MILLER                          3.70        565.00        2,090.50
          ELM        E. L. MORENO                         0.80        540.00           432.00
          JAB        J. A. BROWN                         29.20        400.00       11,680.00
          JDL        J. D. LAMET                          5.30        350.00        1,855.00
          JLD        J. L. DICKS II                       2.30        390.00           897.00
          JSM        J. S. MEEHAN                         5.60        175.00           980.00
          MKF        M. K. FACKLER                        1.90        285.00           541.50
          WFS        W. F. SULLIVAN                       4.40        565.00        2,486.00
                                  Total                  53.20                    $20,962.00
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

Remittance Copy                                                        Invoice Date                 June 13, 2018
                                                                       Invoice No.                       9353072


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through May 31, 2018 as summarized below:

         Services                                                $48,161.00

         Disbursements                                              $1,500.08
                    TOTAL THIS INVOICE                           $49,661.08



                    PREVIOUS BALANCE                                                      87,095.31
                    (Includes payments received through 06/13/18)
                    TOTAL AMOUNT DUE                                                   $136,756.39




               To ensure proper credit to the above account, please indicate invoice no. 9353072
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date                 June 13, 2018
                                                                       Invoice No.                       9353072


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through May 31, 2018 as summarized below:

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         Disbursements                                              $1,500.08
                    TOTAL THIS INVOICE                           $49,661.08



                    PREVIOUS BALANCE                                                      87,095.31
                    (Includes payments received through 06/13/18)
                    TOTAL AMOUNT DUE                                                   $136,756.39




               To ensure proper credit to the above account, please indicate invoice no. 9353072
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                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                     As of                    May 31, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number               9353072



Task Code:      B110 CASE ADMINISTRATION
24-May-18       Email correspondence with Counsel for Debtors and          JAB              0.20         80.00
                UCC regarding Avoidance Actions.
                     Subtotal for Code B110 CASE ADMINISTRATION                             0.20         80.00

Task Code:      B130 ASSET DISPOSITION
1-May-18        Communications with P. Gurfein and Lincoln                 JAB              0.30        120.00
                Advisors regarding sale related matters.
17-May-18       Communications with interested parties regarding           JAB              0.60        240.00
                sale and plan related matters.
30-May-18       Analysis of sale related issues and bases to objection     JAB              1.50        600.00
                to anticipated sale motion.
31-May-18       Attention to addressing sale related issues.               JAB              0.80        320.00
                       Subtotal for Code B130 ASSET DISPOSITION                             3.20       1,280.00

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
1-May-18        Email correspondence forwarding Motion to Appoint          JAB              0.20         80.00
                Trustee to Committee members.
10-May-18       Participate in Committee call to discuss sale, plan,       MKF              1.20        342.00
                and standing issues, among others.
13-May-18       Review email correspondence among P. Gurfein,              JAB              0.80        320.00
                Lincoln Advisors and Committee members regarding
                sale and plan related matters.
                  Subtotal for Code B151 COMMUNICATIONS WITH                                2.20        742.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
2-May-18        Review updated Guernsy's Declaration in support of         JAB              0.30        120.00
                application for retention.
2-May-18        Assistance with finalizing Declaration of Arlan            JSM              0.20         35.00
                Ettinger in Support of Retention of Gurnsey's
                Auction House.
7-May-18        Assistance with finalizing invoice.                        JSM              0.10         17.50
11-May-18       Assist in finalizing April invoice.                        JSM              0.20         35.00
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of                   May 31, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number              9353072


13-May-18       Communications regarding D&O counsel Retention          JAB              0.40        160.00
                and related matters.
14-May-18       Assistance with finalizing Emergency Application to     JSM              1.50        262.50
                Employ Agentis as Special Litigation Counsel,
                proposed Order, Certificate of Necessity of Request
                for Emergency Hearing, and Notice of Preliminary
                Hearing and coordinate electronic filing and service
                of same.
14-May-18       Revise and finalize Application to Retain B.            JAB              1.50        600.00
                Charbonneau and Agentis Firm as Special Counsel.
15-May-18       Draft letter to U.S. Trustee forwarding Akerman         JSM              0.10         17.50
                invoice.
15-May-18       Draft letter to U.S. Trustee forwarding Lincoln         JSM              0.10         17.50
                Partners Advisors LLC invoice.
22-May-18       Assistance with finalizing proposed Order Approving     JSM              0.10         17.50
                Application to Employ Agentis PLLC as Special
                Litigation Counsel.
23-May-18       Assistance with preparation for hearing on              JSM              0.20         35.00
                Emergency Application to Employ Agentis PLLC as
                Special Litigation Counsel.
25-May-18       Coordinate submission of proposed Order Approving       JSM              0.10         17.50
                Application to Employ Agentis PLLC as Special
                Litigation Counsel.
                       Subtotal for Code B160 FEE/EMPLOYMENT                             4.80       1,335.00
                                     APPLICATIONS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
1-May-18        Initial review of Euclid motion to appoint Chapter 11   JAB              0.60        240.00
                Trustee.
1-May-18        Assistance with review of Motion to Appoint Trustee.    JSM              0.10         17.50
15-May-18       Communications with P. Gurfein regarding response       JAB              0.20         80.00
                to Motion to Appoint Chapter 11 Trustee.
21-May-18       Review and Comment on draft response to Motion to       JAB              0.30        120.00
                Appoint Ch. 11 Trustee.
24-May-18       Analysis of Bases to Support and Challenge Pending      JAB              1.00        400.00
                Motion to Appoint Trustee.
              Case 3:16-bk-02230-PMG          Doc 1276     Filed 12/07/18     Page 75 of 141
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of                   May 31, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number              9353072



                Subtotal for Code B190 OTHER CONTESTED MATTERS                           2.20        857.50
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
1-May-18        Communications with P. Gurfein and prospective          JAB              0.80        320.00
                D&O claim counsel regarding pursuit of claims and
                related matters.
1-May-18        Research and prepare Motion to Confer Derivative        MKF              3.70       1,054.50
                Standing on Equity Committee to Prosecute D&O
                and other Estate Claims.
1-May-18        Attention to preparing motion for standing to pursue    JAB              1.50        600.00
                claims.
2-May-18        Review and revise draft Motion for Standing for         JAB              1.80        720.00
                email correspondence to Pursue Claims.
2-May-18        Communications with prospective D&O Claim               JAB              0.60        240.00
                Contingency Counsel.
2-May-18        Continue drafting Motion to Confer Derivative           MKF              5.00       1,425.00
                Standing on Equity Committee to Pursue D&O
                Claims and Other Estate Claims (3.7); research and
                update authorities for same (.8); prepare proposed
                Order granting motion (.5).
2-May-18        Revise standing motion and correspondence re same.      BPM              0.50        282.50
2-May-18        Review statute of limitations issue for use Motion to   JDL              0.50        175.00
                Confer Derivative Standing
4-May-18        Communications with Attorneys Chubak and Gurfein        JAB              0.30        120.00
                regarding D&O claim related matters.
7-May-18        Revise Emergency Motion to Confer Derivative            MKF              2.50        712.50
                Standing on Equity Committee to Prosecute Certain
                Claims to incorporate comments from P. Gurfein and
                B. Miller, and additional research.
7-May-18        Review and revise Motion for Standing to Bring          JAB              1.00        400.00
                Claims.
8-May-18        Attention to Finalizing Motion for Standing.            JAB              0.80        320.00
9-May-18        Correspondence with P. Gurfein regarding revisions      MKF              0.50        142.50
                to Motion to Confer Derivative Standing and Debtors'
                response to demand letter regarding same.
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0318769     PREMIER EXHIBITIONS, INC.                                  Invoice Number              9353072


10-May-18      Review Debtors' Response and Authorities with           MKF              2.20        627.00
               respect to standing demand letter (.5); revise Motion
               to Confer Derivative Standing and two Requests for
               Emergency Hearing (1.2); discuss issues related to
               same with P. Gurfein and B. Charbonneau (.5).
10-May-18      Assistance with finalizing Emergency Motion to          JSM              0.50         87.50
               Confer Derivative Standing of Equity Committee and
               prepare Certification of Necessity of Request for
               Emergency Hearing.
11-May-18      Finalize Emergency Motion for Derivative Standing       MKF              1.20        342.00
               to Pursue D&O Claims (.6); revise Application to
               Employ Special Counsel to pursue same (.3); confer
               with P. Gurfein regarding same (.3)
11-May-18      Assistance with finalizing Emergency Motion to          JSM              0.80        140.00
               Confer Derivative Standing of Equity Committee and
               coordinate electronic filing and service of same.
12-May-18      Correspondence re director claims.                      BPM              0.30        169.50
14-May-18      Assistance with preparation for hearing on              JSM              0.50         87.50
               Emergency Motion of the Official Committee of
               Equity Security Holders for Entry of an Order
               Granting Derivative Standing and Authority to
               Prosecute and Settle Certain Claims on Behalf of the
               Debtors' Estates.
14-May-18      Telephone conference with Debtor's Counsel              JAB              0.20         80.00
               regarding Hearing on Derivative Standing Motion
               and related matters.
14-May-18      Attention to scheduling hearing on Derivative           JAB              0.50        200.00
               Standing Motion and Special Counsel Retention
               Application.
14-May-18      Communications with B. Charbonneau, P. Gurfein          JAB              0.50        200.00
               and committee members regarding Derivative
               Standing Motion and related matters.
15-May-18      Preparation and Participate in call with Attorneys      JAB              0.70        280.00
               Chubak and Heekin regarding issues with Derivative
               Standing Motion.
15-May-18      Communications with P. Gurfein and B.                   JAB              0.50        200.00
               Charbonneau regarding preparation for hearing on
               Derivative Standing Motion.
15-May-18      Preparation for hearing on Derivative Standing          JAB              0.80        320.00
               Motion.
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0318769     PREMIER EXHIBITIONS, INC.                                 Invoice Number              9353072


15-May-18      Review Creditors' Committee's comments to              MKF              0.40        114.00
               Application to Employ B. Charbonneau and evaluate
               retention issues.
15-May-18      Analyze breach of fiduciary duty claims against        JDL              0.80        280.00
               officers and directors
16-May-18      Assistance with preparation for hearing on             JSM              0.50         87.50
               Emergency Motion for Entry of an Order Granting
               Derivative Standing.
16-May-18      Preparation for hearing in Motion for Derivative       JAB              1.50        600.00
               Standing and Application to Employ Special
               Counsel.
17-May-18      Draft Notice of Rescheduled Preliminary Hearing and    JSM              0.30         52.50
               coordinate electronic filing and service of same.
17-May-18      Communications with counsel and Judge Glenn's          JAB              0.50        200.00
               Courtroom Administration regarding Rescheduled
               hearing on Derivative Standing Motion and attention
               to noticing same.
17-May-18      Continued preparation for hearing on Derivative        JAB              0.80        320.00
               Standing motion.
18-May-18      Continued preparation for hearing on Motion for        JAB              1.00        400.00
               Derivative Standing.
21-May-18      Assistance with preparation for hearing on             MKF              2.40        684.00
               Emergency Motion to Confer Derivative Standing on
               Equity Committee (2.0); review Response of
               Unsecured Creditors Committee to same (.4).
21-May-18      Communications with P. Gurfein, B. Miller & B.         JAB              0.60        240.00
               Charbonneau regarding Derivative Standing Motion
               and related matters.
21-May-18      Correspond with co-counsel re strategy for standing    BPM              0.60        339.00
               motion.
21-May-18      Initial review and analysis of UCC & Debtor            JAB              1.00        400.00
               Objections to Derivative Standing Motion.
22-May-18      Extensive preparation for hearing on Derivative        JAB              3.80       1,520.00
               Standing Motion and corresponding Application for
               Retention.
22-May-18      Extensive communications with counsel for Debtors      JAB              1.20        480.00
               and unsecured creditors committee regarding possible
               agreed orders on Derivative Standing Motion and
               corresponding Application for Retention.
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                                 Invoice Number               9353072


22-May-18      Revise and circulate proposed orders on Derivative      JAB              0.40        160.00
               Standing Motion and corresponding Application for
               Retention.
22-May-18      Assistance with preparation for hearing on Motion to    JSM              1.60        280.00
               Confer Derivative Standing and finalizing proposed
               Order granting same.
22-May-18      Assistance with review of Objections to the             JSM              0.10         17.50
               Derivative Standing Motion filed by the Debtors and
               the Official Committee of Unsecured Creditors.
22-May-18      Correspondence re motion for derivative standing and    BPM              0.70        395.50
               related strategy.
23-May-18      Draft Notice of Filing Draft Complaint and              JSM              0.30         52.50
               coordinate electronic filing and service of same.
23-May-18      Assistance with revising Complaint.                     JSM              0.50         87.50
23-May-18      Continued Preparation for and participation in          JAB              5.50       2,200.00
               hearing on Motion for Derivative Standing and
               corresponding Application for retention.
23-May-18      Post-hearing communications with Attorneys              JAB              0.40        160.00
               Charbonneau and Gurfein regarding strategy moving
               forward.
23-May-18      Post-hearing revision and circulation of proposed       JAB              0.60        240.00
               orders.
23-May-18      Assistance with preparation for hearing on              JSM              0.80        140.00
               Emergency Motion for Entry of an Order Granting
               Derivative Standing and Authority to Prosecute and
               Settle Certain Claims.
23-May-18      Continue preparing summary chart of attorneys' fees     JSM              1.20        210.00
               and expenses in connection with hearing on
               Emergency Motion for Entry of an Order Granting
               Derivative Standing and Authority to Prosecute and
               Settle Certain Claims.
23-May-18      Assistance with preparation for hearing on Equity       MKF              4.40       1,254.00
               Committee's Emergency Motion for Derivative
               Standing to Pursue D&O and Other Claims and
               Application to Employ Agentis law firm as Special
               Counsel to Equity Committee (2.0); attend hearings
               (1.8); revise proposed orders granting Motion and
               approving Application per rulings at hearing (.6).
24-May-18      Assistance with finalizing of proposed Order            JSM              0.60        105.00
               Granting Derivative Standing.
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24-May-18       Extensive communications and revisions regarding        JAB              2.20        880.00
                terms of proposed order granting Derivative Standing
                motion.
25-May-18       Review order granting Derivative Standing and           JAB              0.40        160.00
                confer with P. Gurfein and B. Charbonneau regarding
                same.
25-May-18       Review docket for entry of Order Granting               JSM              0.10         17.50
                Derivative Standing.
29-May-18       Draft Proof of Service of (i) Order Granting            JSM              0.20         35.00
                Emergency Motion of the Official Committee of
                Equity Security Holders for Entry of an Order
                Granting Derivative Standing and Authority to
                Prosecute and Settle Certain Claims on Behalf of the
                Debtors' Estates (Doc. 1036) and (ii) Final Order
                Approving Application for Approval of Employment
                of Robert P. Charbonneau, Esq. and the Law Firm of
                Agentis PLLC as Special Litigation Counsel for the
                Official Committee of Equity Security Holders Nunc
                Pro Tunc to May 2, 2018 (Doc. 1038) and coordinate
                electronic filing and service of same.
31-May-18       Review draft complaint (.8) Confer with contingency     JDL              1.40        490.00
                counsel re complaint (.6)
31-May-18       Revise draft Committee complaint.                       BPM              0.80        452.00
                Subtotal for Code B191 INVESTIGATION AND PURSUIT                        38.60     12,962.50
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      b191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
21-May-18       Continued preparation for hearing on Derivative         JAB              1.80        720.00
                Standing Motion.
                Subtotal for Code b191 INVESTIGATION AND PURSUIT                         1.80        720.00
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      B240 TAX ISSUES
16-May-18       Review documents and correspondence re: same.           WFS              1.40        791.00
21-May-18       Review revised documents; discussions with working      WFS              0.90        508.50
                group.
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0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number               9353072



                             Subtotal for Code B240 TAX ISSUES                            2.30       1,299.50

Task Code:      B300 CLAIMS AND PLAN
10-May-18       Correspond with Gurfein re claim analysis.               BPM              0.30        169.50
                        Subtotal for Code B300 CLAIMS AND PLAN                            0.30        169.50

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

14-May-18       Review latest Draft Committee Plan and Disclosure        JAB              1.50        600.00
                Statement.
15-May-18       Continued review and comment on draft Committee          JAB              2.50       1,000.00
                Plan and Disclosure Statement.
16-May-18       Continued review and comment on draft Committee          JAB              2.50       1,000.00
                Plan and Disclosure Statement.
16-May-18       Communications with P. Gurfein to go over plan           JAB              0.80        320.00
                issues and terms.
16-May-18       Initial review of executed term sheet.                   JAB              0.50        200.00
16-May-18       Assistance with finalizing Plan and Disclosure           JSM              0.80        140.00
                Statement.
17-May-18       Research regarding statute of limitations on             MKF              0.90        256.50
                preference claims (.3); research related to plan
                proponent cramdown issues (.6).
17-May-18       Assistance with finalizing Plan and Disclosure           JSM              1.20        210.00
                Statement.
17-May-18       Continued work on Committee plan and disclosure          JAB              1.50        600.00
                statement.
17-May-18       Review and revise Plan and Disclosure issues with        WFS              2.90       1,638.50
                various correspondence re: same.
17-May-18       Review Plan of Reorganization and Disclosure             ELM              2.20       1,188.00
                Statement and prepare correspondence re same.
18-May-18       Continued work in Committee Plan to Disclosure           JAB              1.20        480.00
                Statement.
21-May-18       Continued work on Plan and Plan related items.           JAB              1.50        600.00
22-May-18       Continued work on Committee Plan.                        JAB              0.80        320.00
22-May-18       Assistance with revising Plan and Disclosure             JSM              1.40        245.00
                Statement.
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                                   Invoice Number              9353072


23-May-18      Confer regarding equity committee plan and related       SRW              0.60        264.00
               matters
25-May-18      Begin to review/revise draft equity committee plan,      SRW              1.40        616.00
               DS and related documents.
25-May-18      Continued work on committee plan and Disclosure          JAB              1.50        600.00
               Statement.
25-May-18      Communications with P. Gurfein regarding plan and        JAB              0.30        120.00
               case strategy.
29-May-18      Continued work on plan, disclosure statement and         JAB              2.50       1,000.00
               related filings.
29-May-18      Revise proposed Notice of District Court regarding       MKF              2.50        712.50
               Equity Committee's Plan and Disclosure Statement
               and request for status conference.
29-May-18      Assistance with revising Disclosure Statement and        JSM              2.00        350.00
               Plan.
30-May-18      Revise Notice to Eastern District of Virginia (.4);      MKF              1.90        541.50
               revise provisions related to retention of jurisdiction
               under proposed Plan (.7); review NOAA's sale
               objection (.2); revise proposed Disclosure Statement
               (.6).
30-May-18      Assistance with finalizing Plan and Disclosure           JSM              3.20        560.00
               Statement.
30-May-18      Continued revisions to Committee Plan, Disclosure        JAB              3.00       1,200.00
               Statement and related filings.
30-May-18      Continue to review/edit chapter 11 plan and confer       SRW              0.70        308.00
               re: same.
30-May-18      Continue review/edit disclosure statement and confer     SRW              0.70        308.00
               re: same.
30-May-18      Continue to review/analyze plan exhibits.                SRW              0.40        176.00
31-May-18      Conference call to go over final revisions to            JAB              1.40        560.00
               Committee Plan, Disclosure Statement and related
               filings.
31-May-18      Revise draft Disclosure Statement and Chapter 11         MKF              2.70        769.50
               Plan (1.2); revise Notice to District Court regarding
               same (.2); call with J. Brown and P. Gurfein t discuss
               changes to same (1.3).
31-May-18      Assistance with finalizing Disclosure Statement and      JSM              4.20        735.00
               Plan of Reorganization.
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9353072



                      Subtotal for Code B320 PLAN AND DISCLOSURE                                             28.50        11,398.00
                       STATEMENT (INCLUDING BUSINESS PLAN)

Task Code:      b320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

29-May-18       Review/edit chapter 11 plan (1.10); review/edit                        SRW                     4.00         1,760.00
                disclosure statement (1.10); review/analyze plan
                exhibits (.80); review auctioneer retention documents
                (.60); communications re: case update and review of
                Plan and DS (.40)
                      Subtotal for Code b320 PLAN AND DISCLOSURE                                               4.00         1,760.00
                       STATEMENT (INCLUDING BUSINESS PLAN)

                Total Fees for Services Rendered..............................................................................$48,161.00



Date                                       Disbursements                                                                        Value

11-May-18     POSTAGE                                                                                       29.40
11-May-18     POSTAGE                                                                                       11.88
11-May-18     POSTAGE                                                                                        2.69
11-May-18     POSTAGE                                                                                        3.98
15-May-18     POSTAGE                                                                                       19.72
15-May-18     POSTAGE                                                                                       11.16
17-May-18     POSTAGE                                                                                       13.63
17-May-18     POSTAGE                                                                                        9.20
23-May-18     POSTAGE                                                                                       19.72
23-May-18     POSTAGE                                                                                       11.16
29-May-18     POSTAGE                                                                                       13.16
29-May-18     POSTAGE                                                                                        2.30
29-May-18     POSTAGE                                                                                        3.45
29-May-18     POSTAGE                                                                                        3.45
29-May-18     POSTAGE                                                                                        0.47
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                  INC.
0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9353072




Date                                                   Disbursements                                                                                 Value
Total for POSTAGE                                                                                                                                   155.37

11-May-18            DUPLICATING                                                                                            144.20
14-May-18            DUPLICATING                                                                                              86.80
17-May-18            DUPLICATING                                                                                              29.20
23-May-18            DUPLICATING                                                                                            101.20
29-May-18            DUPLICATING                                                                                              29.20
Total for DUPLICATING                                                                                                                               390.60

2-Mar-18             FEDERAL EXPRESS - FEDERAL EXPRESS                                                                        22.61
                     CORPORATION FE - Fedex package + handling fee during
                     out of town business trip 2/28/18. JB/1685
Total for FEDERAL EXPRESS                                                                                                                             22.61

7-May-18             WESTLAW RESEARCH 050718 FACKLER,MARY K                                                                   89.25
                     JACKSONVILLE
14-May-18            WESTLAW RESEARCH 051418 FACKLER,MARY K                                                                   89.25
                     JACKSONVILLE
21-May-18            WESTLAW RESEARCH 052118 FACKLER,MARY K                                                                 357.00
                     JACKSONVILLE
Total for WESTLAW RESEARCH                                                                                                                          535.50

26-Apr-18            LIBRARY RESEARCH CHARGES-Ravel Law                                                                     396.00
Total for MISCELLANEOUS LIBRARY CHARGES                                                                                                             396.00

Total Disbursements .................................................................................................................................$1,500.08
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                             Invoice Number             9353072



          Initial    Name                                Hours            Rate       Amount
          BPM        B.P. MILLER                           3.20        565.00        1,808.00
          ELM        E. L. MORENO                          2.20        540.00        1,188.00
          JAB        J. A. BROWN                          61.90        400.00       24,760.00
          JDL        J. D. LAMET                           2.70        350.00           945.00
          JSM        J. S. MEEHAN                         23.50        175.00        4,112.50
          MKF        M. K. FACKLER                        31.50        285.00        8,977.50
          SRW        S. R. WIRTH                           7.80        440.00        3,432.00
          WFS        W. F. SULLIVAN                        5.20        565.00        2,938.00
                                   Total                138.00                     $48,161.00
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                                                                                                       Akerman LLP
                                                                                               Post Office Box 4906
                                                                                                    Orlando, FL 32802
                                                                                                     Tel: 407.254.2305
                                                                                                    Fax: 407.254.3408

Remittance Copy                                                         Invoice Date                 July 13, 2018
                                                                        Invoice No.                       9363581


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through June 30, 2018 as summarized below:

          Services                                                $31,724.50

          Disbursements                                              $1,764.84
                     TOTAL THIS INVOICE                           $33,489.34



                     PREVIOUS BALANCE                                                     123,090.59
                     (Includes payments received through 07/13/18)
                     TOTAL AMOUNT DUE                                                   $156,579.93



 I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
 Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                To ensure proper credit to the above account, please indicate invoice no. 9363581
                              Return remittance sheet with payment in US funds.
                                              Wired funds accepted:
                                        Akerman LLP Operating Account
                                         c/o SunTrust Bank, Atlanta, GA
                                            ABA Number: 061000104
                                      Account Number: 0215-252207533
                             Swift code SNTRUS3A (For International Wires Only)
                                               IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date                 July 13, 2018
                                                                       Invoice No.                       9363581


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through June 30, 2018 as summarized below:

         Services                                                $31,724.50

         Disbursements                                              $1,764.84
                    TOTAL THIS INVOICE                           $33,489.34



                    PREVIOUS BALANCE                                                     123,090.59
                    (Includes payments received through 07/13/18)
                    TOTAL AMOUNT DUE                                                   $156,579.93




               To ensure proper credit to the above account, please indicate invoice no. 9363581
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                 Invoice Number               9363581



Task Code:      B120 ASSET ANALYSIS AND RECOVERY
5-Jun-18        Research related to                                     MKF              1.50         427.50

5-Jun-18        Review of key ED Virginia action pleadings and          CAL              2.80       1,498.00
                corresponding analysis of takings and jurisdictional
                issues.
5-Jun-18        Attention to research/analysis of                       SRW              1.20         528.00


6-Jun-18        Continue to research issues re:                         SRW              1.40         616.00


6-Jun-18        Outline procedural issues with taking claim.            CAL              0.50         267.50
7-Jun-18        Review key decisions and orders on ownership and        CAL              3.00       1,605.00
                US admissions and legal positions as to same.
                      Subtotal for Code B120 ASSET ANALYSIS AND                         10.40       4,942.00
                                       RECOVERY

Task Code:      B130 ASSET DISPOSITION
6-Jun-18        Assistance with revising Subpoenas.                     JSM              0.30          52.50
6-Jun-18        Revise Subpoenas to Apollo and Alta.                    MKF              0.40         114.00
7-Jun-18        Assistance with sale-related matters.                   JSM              0.50          87.50
7-Jun-18        Assistance with finalizing Subpoenas.                   JSM              0.50          87.50
7-Jun-18        Revise subpoena to GlassRatner in connection with       MKF              0.30          85.50
                Plan and sale issues.
8-Jun-18        Attention to finalizing subpoenas related to sale       JAB              1.00         400.00
                issues.
13-Jun-18       Revise subpoenas to sale process participants.          MKF              0.50         142.50
18-Jun-18       Review and analyze Debtors' Motion to Sell and          MKF              0.70         199.50
                Exhibits thereto.
18-Jun-18       Initial review and analysis of Debtor's sale motion.    JAB              2.50       1,000.00
18-Jun-18       Communications with interested parties regarding        JAB              0.40         160.00
                sale motion and related matters.
18-Jun-18       Coordinate obtaining formation documents for            JSM              0.30          52.50
                Premier Acquisition Holdings LLC.
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                                   Invoice Number              9363581


19-Jun-18      Attention to finalizing subpoenas related to sale        JAB              0.30         120.00
               motion.
20-Jun-18      Communications with P. Gurfein, S. Grossman, and         JAB              0.80         320.00
               H. Winsberg regarding case issues, subpoena
               acceptance, and related matters.
20-Jun-18      Prepare Motion and proposed Order shortening             MKF              1.80         513.00
               response time to subpoenas to sale-related parties
               (.8); revise subpoenas to same (1.0).
20-Jun-18      Assistance with finalizing Subpoenas to Produce          JSM              2.40         420.00
               Documents.
21-Jun-18      Attention to finalizing subpoenas and claim              JAB              0.50         200.00
               objection.
22-Jun-18      Call with P. Gurfein regarding revisions to              MKF              1.60         456.00
               Subpoenas for sale-related discovery (.5); revise
               subpoenas and motion to shorten response time for
               subpoenaed parties, and e-mail same to subpoenaed
               parties (1.1).
22-Jun-18      Call with P. Gurfein regarding revisions to              JSM              3.10         542.50
               Subpoenas for sale-related discovery (.5); assistance
               with revising Subpoenas and document requests
               (2.2); finalize Notice of Issuance of Subpoenas and
               coordinate electronic filing and service of same (.2);
               coor dinate service of Subpoenas with process servers
               (.2).
25-Jun-18      Analysis of sale motion and related issues and           JAB              1.20         480.00
               potential objections.
25-Jun-18      Review Returns of Service of Subpoenas to Produce        JSM              0.10          17.50
               Documents on Alta and Apollo.
26-Jun-18      Draft Notice of Issuance of Subpoena to Premier          JSM              0.20          35.00
               Exhibitions, Inc.
26-Jun-18      Prepare for and participate in conference call with      JAB              0.80         320.00
               Debtor and Buyer counsel regarding discovery issues.
26-Jun-18      Post-conference call analysis and attention to           JAB              0.40         160.00
               narrowing discovery requests.
26-Jun-18      Calls with P. Gurfein regarding sale-related discovery   MKF              0.40         114.00
               and other issues.
27-Jun-18      Coordinate electronic filing and service of Notice of    JSM              0.20          35.00
               Issuance of Subpoena to Produce Documents to
               Premier Exhibitions, Inc.
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27-Jun-18       Review and comment on modified subpoena                  JAB               0.50         200.00
                document request and strategize regarding same.
27-Jun-18       Work on plan and sale related matters.                   JAB               1.00         400.00
28-Jun-18       Prepare for and participate in conference call with P.   JAB               0.80         320.00
                Gurfein and LincolnAdvisors regarding sale and plan
                related matters.
28-Jun-18       Communications with attorney Brooks and Gurfein          JAB               1.00         400.00
                regarding discovery related matters.
29-Jun-18       Continued extensive communications with counsel          JAB               1.50         600.00
                for debtors and P. Gurfein regarding discovery
                related issues and possible resolution of same.
                       Subtotal for Code B130 ASSET DISPOSITION                           26.00       8,034.50

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
7-Jun-18        Post-hearing communications with committee               JAB               0.50         200.00
                members regarding case issues and strategy.
19-Jun-18       Communications with P. Gurfein, committee                JAB               0.50         200.00
                members and Lincoln advisors regarding case issues.
28-Jun-18       Analysis of sale and plan related issues and prepare     JAB               0.50         200.00
                for conference call with equity committee.
29-Jun-18       Prepare for and participate in conference call with      JAB               1.10         440.00
                equity committee, Lincoln advisors, and P. Gurfein.
                  Subtotal for Code B151 COMMUNICATIONS WITH                               2.60       1,040.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
10-Jun-18       Draft letters to Miriam Suarez forwarding invoices       JSM               0.30          52.50
                for Akerman LLP and Lincoln Partners Advisors
                LLC.
11-Jun-18       Work on May invoice.                                     JAB               0.30         120.00
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                        Subtotal for Code B160 FEE/EMPLOYMENT                             0.60         172.50
                                      APPLICATIONS

Task Code:      b160 FEE/EMPLOYMENT APPLICATIONS
18-Jun-18       Review May professional fee statements.                  JAB              0.50         200.00
                        Subtotal for Code b160 FEE/EMPLOYMENT                             0.50         200.00
                                      APPLICATIONS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
1-Jun-18        Assistance with finalizing Limited Opposition to         JSM              0.50          87.50
                Motion for Appointment of Chapter 11 Trustee and
                coordinate electronic filing of same.
4-Jun-18        Review objections to Motion to Appoint Chapter 11        JAB              0.70         280.00
                trustee and attention to hearing preparations.
5-Jun-18        Communications with P. Gurfein regarding hearing         JAB              0.40         160.00
                on Trustee Motion preparation and strategy.
6-Jun-18        Continued preparation for Motion to Appoint Trustee      JAB              1.50         600.00
                with review of argument and filed objections.
7-Jun-18        Continue preparation for and participation in Hearing    JAB              2.80       1,120.00
                on Motion to Appoint Ch 11 Trustee.
7-Jun-18        Attend hearing on Motion for Appointment of              MKF              2.50         712.50
                Chapter 11 Trustee.
7-Jun-18        Assistance with preparation for and during hearing on    JSM              1.60         280.00
                Motion to Appoint Trustee.
11-Jun-18       Communications with P. Gurfein regarding case            JAB              0.30         120.00
                issues, upcoming hearings and related matters.
12-Jun-18       Extensive communications with Debtor's Counsel           JAB              1.00         400.00
                and P. Gurfein regarding data room access and
                related matters.
15-Jun-18       Prepare for and participate in conference call with P.   JAB              1.60         640.00
                Gurfein, Lincoln Advisors, and Equity Committee.
18-Jun-18       Communications with court reporter regarding             JSM              0.10          17.50
                transcript of June 7th hearing.
29-Jun-18       Review order denying motion to appoint chapter 11        JAB              0.20          80.00
                trustee.
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                Subtotal for Code B190 OTHER CONTESTED MATTERS                           13.20       4,497.50
                   (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B191 INVESTIGATION AND PURSUIT OF SECURITIES AND OTHER
                LITIGATION
6-Jun-18        Assistance with preparation for hearing on Motion       JSM               1.50         262.50
                for Order Granting Derivative Standing.
24-Jun-18       Review and analyze recent communications among          JAB               0.80         320.00
                committee members and Lincoln advisors.
25-Jun-18       Communications with P. Gurfein regarding case           JAB               0.20          80.00
                issues and strategy.
26-Jun-18       Review committee communications and comment on          JAB               0.40         160.00
                same.
                Subtotal for Code B191 INVESTIGATION AND PURSUIT                          2.90         822.50
                     OF SECURITIES AND OTHER LITIGATION

Task Code:      B192 ADVERSARY PROCEEDINGS
8-Jun-18        Communications with interested parties regarding        JAB               0.80         320.00
                Adversary Proceeding Claims and related matters.
                  Subtotal for Code B192 ADVERSARY PROCEEDINGS                            0.80         320.00

Task Code:      B250 REAL ESTATE
11-Jun-18       Communications with attorney Blanks regarding           JAB               0.20          80.00
                Orlando Lease and upcoming hearings.
18-Jun-18       Review Joint Motion to Approve Compromise of            JSM               0.10          17.50
                Controversy or Settlement Agreement between
                Premier Exhibition Management and Eyde and
                calendar objection deadlines.
                           Subtotal for Code B250 REAL ESTATE                             0.30          97.50

Task Code:      B310 CLAIMS ADMINISTRATION AND OBJECTIONS
18-Jun-18       Assistance with finalizing Objection to Claim 29-1 of   JSM               0.20          35.00
                PacBridge Capital Partners.
18-Jun-18       Review proposed Objection to Claim No. 29-1.            MKF               0.30          85.50
27-Jun-18       Draft Notice of Preliminary Hearing on Objection to     JSM               0.20          35.00
                Claim 29-1 of PacBridge Capital Partners (HK) Ltd.
                and coordinate electronic filing and service of same.
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0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number              9363581



                Subtotal for Code B310 CLAIMS ADMINISTRATION AND                         0.70         155.50
                                      OBJECTIONS

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

1-Jun-18        Assistance with revisions to Disclosure Statement,      MKF              1.50         427.50
                Chapter 11 Plan, and Notice to District Court
                regarding filing of same.
1-Jun-18        Assistance with finalizing Plan and Disclosure          JSM              0.80         140.00
                Statement and coordinate electronic filing of same.
1-Jun-18        Continued work on Committee Plan, Disclosure            JAB              0.80         320.00
                Statement and related filings.
1-Jun-18        Extensive communications with P. Gurfein,               JAB              1.50         600.00
                committee, and other interested parties regarding
                finalizing committee plan and related matters.
1-Jun-18        Review equity committee disclosure statement and        JMN              0.50         175.00
                limited procedural notice to district court
4-Jun-18        Attention to plan and disclosure related matters.       JAB              0.50         200.00
5-Jun-18        Communications and work on plan related matters.        JAB              0.30         120.00
5-Jun-18        Review email re: planned term sheet filings in E.D.     JMN              0.30         105.00
                Va.
6-Jun-18        Prepare notices of appearance for Akerman team to       JMN              0.30         105.00
                enter E.D. Va. action
6-Jun-18        Continued work on plan related matters.                 JAB              0.80         320.00
6-Jun-18        Assistance with preparation for hearing on Motion       MKF              1.50         427.50
                for Appointment of Chapter 11 Trustee (1.3); review
                Debtors' Response to Motion (.2).
7-Jun-18        Communications with P. Gurfein and attorney Isbel       JAB              0.40         160.00
                regarding possible plan financing options and related
                matters.
7-Jun-18        Communications with P. Gurfein regarding plan           JAB              0.60         240.00
                related matters and strategize regarding same.
8-Jun-18        Review B. Wainger draft language for periodic repeat    JAB              0.50         200.00
                and draft response to same.
13-Jun-18       Research re                                             ELM              1.90       1,026.00
                and confer with OTC and P. Gurfein re same.
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9363581


14-Jun-18      Confer with OTC, FINRA and others re potential                         ELM                     1.80           972.00
               trading of interests in a liquidating trust.
15-Jun-18      Confer for client re inquiry regarding trading of                      ELM                     4.90         2,646.00
               liquidating trust interests on the OTC (0.7) Research
               re
                                                            (4.2).
15-Jun-18      Communications with Attorney Isbell regarding                           JAB                    0.10             40.00
               possible term sheet.
15-Jun-18      Attention to plan and sale related issues.                              JAB                    0.60           240.00
18-Jun-18      Prepare and participate in call with Gurfein and                       ELM                     1.60           864.00
               financial advisores re backstop related issues and
               potential trading of interests in liquidating trusts.
19-Jun-18      Research related to                                                    MKF                     2.50           712.50
                                                        .
21-Jun-18      Begin preparing summary of                                             MKF                     1.00           285.00
               research.
21-Jun-18      Draft Proof of Service of Proof of Service of Order                     JSM                    0.40             70.00
               and Notice for Hearing on Disclosure Statement,
               review Order Limiting Notice to confirm service
               requirements, and download matrices for all cases.
25-Jun-18      Finish research related to                   and prepare               MKF                     2.20           627.00
               summary of same.
25-Jun-18      Assistance with mailing Order and Notice for                            JSM                    0.90           157.50
               Hearing on Disclosure Statement to all parties on all
               matrices and master mailing list (.8); coordinate
               electronic filling of Proof of Service (.1).
29-Jun-18      Review Order Denying Motion for Appointment of                         MKF                     0.50           142.50
               Chapter 11 Trustee (.1); review Plan and Disclosure
               Statement filed by Official Committee of Unsecured
               Creditors (.4).
29-Jun-18      Initial review of UCC plan.                                             JAB                    0.30           120.00
                     Subtotal for Code B320 PLAN AND DISCLOSURE                                             29.00        11,442.50
                      STATEMENT (INCLUDING BUSINESS PLAN)

               Total Fees for Services Rendered..............................................................................$31,724.50
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Date                            Disbursements                                              Value

4-Jun-18     POSTAGE                                                       13.63
4-Jun-18     POSTAGE                                                         9.20
25-Jun-18    POSTAGE                                                       47.27
25-Jun-18    POSTAGE                                                       27.66
25-Jun-18    POSTAGE                                                      119.60
25-Jun-18    POSTAGE                                                       93.06
25-Jun-18    POSTAGE                                                       38.54
25-Jun-18    POSTAGE                                                       19.27
25-Jun-18    POSTAGE                                                       55.93
25-Jun-18    POSTAGE                                                       13.63
25-Jun-18    POSTAGE                                                         9.20
25-Jun-18    POSTAGE                                                       10.84
27-Jun-18    POSTAGE                                                         0.47
27-Jun-18    POSTAGE                                                         1.15
27-Jun-18    POSTAGE                                                       13.63
27-Jun-18    POSTAGE                                                         6.90
27-Jun-18    POSTAGE                                                         2.30
27-Jun-18    POSTAGE                                                         3.56
Total for POSTAGE                                                                         485.84

6-Jun-18     DUPLICATING - COLOR                                           76.00
Total for DUPLICATING - COLOR                                                              76.00

30-Jun-18    PACER PUBLIC RECORDS SYSTEM                                     3.00
Total for PACER PUBLIC RECORDS SYSTEM                                                        3.00

1-Jun-18     DUPLICATING                                                   29.20
6-Jun-18     DUPLICATING                                                   54.60
22-Jun-18    DUPLICATING                                                   36.20
22-Jun-18    DUPLICATING                                                  215.80
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0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9363581




Date                                                   Disbursements                                                                                 Value
22-Jun-18            DUPLICATING                                                                                            243.60
25-Jun-18            DUPLICATING                                                                                                0.40
27-Jun-18            DUPLICATING                                                                                              58.00
Total for DUPLICATING                                                                                                                               637.80

15-Jun-18            FEDERAL EXPRESS Airbill: 781317627250 per 1902 Invoice                                                   59.20
                     No: 621482970 Ship Dt: 06/07/18
Total for FEDERAL EXPRESS                                                                                                                             59.20

25-Jun-18            SERVICE OF PROCESS - BRANDYWINE PROCESS                                                                108.00
                     SERVERS LTD - RMS Titanic- Alta Fundamental Advisors-
                     Apollo Global Management LLC-Service of Process.
                     Inv#8947. JM/1902
Total for SERVICE OF PROCESS                                                                                                                        108.00

1-Jun-18             COURT REPORTER - STATEWIDE REPORTING SERVICE                                                           100.00
                     - RMS Titanic, Inc./Appearance Fee-5/23/2018. Inv#3429.
                     JM/1902
13-Jun-18            COURT REPORTER - STATEWIDE REPORTING SERVICE                                                           100.00
                     - RMS Titanic- Appearance Fee-Hon. Paul M. Glenn-6/7/2018.
                     Inv#3432. JM/1902
18-Jun-18            COURT REPORTER - STATEWIDE REPORTING SERVICE                                                           195.00
                     - Transcript Copy-Hearing Before Hon. Paul M. Glenn-
                     6/7/2018. Inv#3434. JM/1902
Total for COURT REPORTER                                                                                                                            395.00

Total Disbursements .................................................................................................................................$1,764.84
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0318769     PREMIER EXHIBITIONS, INC.                             Invoice Number             9363581



          Initial    Name                                Hours            Rate       Amount
          CAL        C. A. LAQUIDARA                       6.30        535.00        3,370.50
          ELM        E. L. MORENO                         10.20        540.00        5,508.00
          JAB        J. A. BROWN                          33.40        400.00       13,360.00
          JMN        J. M. NEARY                           1.10        350.00           385.00
          JSM        J. S. MEEHAN                         14.20        175.00        2,485.00
          MKF        M. K. FACKLER                        19.20        285.00        5,472.00
          SRW        S. R. WIRTH                           2.60        440.00        1,144.00
                                   Total                  87.00                    $31,724.50
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

Remittance Copy                                                         Invoice Date          August 14, 2018
                                                                        Invoice No.                  9374166


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through July 31, 2018 as summarized below:

          Services                                               $23,863.00

          Disbursements                                              $3,374.81
                     TOTAL THIS INVOICE                          $27,237.81



                     PREVIOUS BALANCE                                                    156,579.93
                     (Includes payments received through 08/14/18)
                     TOTAL AMOUNT DUE                                                  $183,817.74



 I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
 Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




               To ensure proper credit to the above account, please indicate invoice no. 9374166
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date           August 14, 2018
                                                                       Invoice No.                   9374166


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through July 31, 2018 as summarized below:

         Services                                                $23,863.00

         Disbursements                                              $3,374.81
                    TOTAL THIS INVOICE                           $27,237.81



                    PREVIOUS BALANCE                                                     156,579.93
                    (Includes payments received through 08/14/18)
                    TOTAL AMOUNT DUE                                                   $183,817.74




               To ensure proper credit to the above account, please indicate invoice no. 9374166
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number              9374166



Task Code:      B110 CASE ADMINISTRATION
9-Jul-18        Communications with attorney Burnett regarding            JAB              0.30        120.00
                case issues/status and possible outcomes.
13-Jul-18       Review Count Order on UCC/NMM motion for                  JAB              0.10          40.00
                status conference.
17-Jul-18       Preparation for conference call with attorneys Burnett    JAB              0.30        120.00
                and Edwards.
                    Subtotal for Code B110 CASE ADMINISTRATION                             0.70        280.00

Task Code:      B130 ASSET DISPOSITION
1-Jul-18        Review and analyze emails among committee,                JAB              0.80        320.00
                Lincoln Advisors and P. Gurfein regarding sale and
                plan related issues.
1-Jul-18        Analysis/strategize to address discovery related          JAB              0.40        160.00
                matters.
1-Jul-18        Work on response to M. Brooks on                          JAB              0.50        200.00
                discovery/subpoena issues.
2-Jul-18        Research related to issues with auction and sale          MKF              4.00       1,140.00
                process for objection to Debtors' sale motion.
2-Jul-18        Continued communications with counsel for                 JAB              1.20        480.00
                subpoenaed parties regarding narrowing and
                resolving discovery requests.
3-Jul-18        Continue researching and prepare summary of issues        MKF              6.50       1,852.50
                related to proposed sale procedures, including but not
                limited to credit bids, break-up fees, and other
                proposed protections (4.0); research related to certain
                SEC issues in connection with sale process ( 1.5);
                research related to insider voting issues (1.0).
3-Jul-18        Extensive communications regarding discovery              JAB              1.40        560.00
                issues with attorneys Brooks, Grossman, and Gurfein.
3-Jul-18        Attention to sale objection research and related          JAB              0.80        320.00
                matters.
5-Jul-18        Continued communications regarding discovery              JAB              1.80        720.00
                issues and subpoenas with attorneys for debtor and
                other subpoena recipients.
5-Jul-18        Work on sale motion objection.                            JAB              0.40        160.00
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            INC.
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6-Jul-18       Continued communications with counsel for debtors        JAB              1.20        480.00
               and Apollo/Alta regarding discovery related matters.
7-Jul-18       Initial review of U.C.C. motion for status conf. et al   JAB              1.20        480.00
               and review/analyze possible limited response thereto.
7-Jul-18       Continued email correspondence with attorney             JAB              0.20          80.00
               Feldsher regarding discovery issues.
7-Jul-18       Continued analysis of possible bid procedure             JAB              0.50        200.00
               objections.
9-Jul-18       Continued communications with counsel for debtors        JAB              0.50        200.00
               and prospective purchaser regarding
               subpoena/discovery related compromise.
9-Jul-18       Review and revise draft limited joinder in UCC status    JAB              0.50        200.00
               conference motion.
10-Jul-18      Research and summarize authorities related to certain    MKF              3.50        997.50
               bid procedure issues and objections to same.
10-Jul-18      Communications with P. Gurfein and committee             JAB              0.50        200.00
               members regarding sale and plan related issues.
10-Jul-18      Continued work and attention to discovery related        JAB              0.50        200.00
               matters.
11-Jul-18      Continued communications with counsel for debtor,        JAB              1.40        560.00
               Glass Ratner and prospective purchaser regarding
               possible interim discovery agreement.
11-Jul-18      Continued attention to sale hearing preparation and      JAB              0.80        320.00
               objection to sale motion.
11-Jul-18      Review and analyze summaries of approved bid             MKF              1.80        513.00
               procedures in various circuits in connection with
               analysis of Debtors' proposed bid and sale
               procedures.
12-Jul-18      Continued communications regarding discovery             JAB              0.50        200.00
               related matters.
13-Jul-18      Communications with P. Gurfein, Lincoln Advisors         JAB              0.40        160.00
               and committee members regarding entry of order on
               status conference motion and related matters.
16-Jul-18      Review objections to subpoenas.                          JAB              0.50        200.00
17-Jul-18      Review debtor's motion for reconsideration and work      JAB              2.20        880.00
               on response to same.
17-Jul-18      Review Debtor's initial production of documents.         JAB              0.30        120.00
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number               9374166


17-Jul-18       Assistance with drafting Response in Opposition to       JSM               1.20        210.00
                Debtors' Motion for Reconsideration.
18-Jul-18       Revise and finalize response in opposition to debtor's   JAB               0.80        320.00
                motion for reconsideration.
19-Jul-18       Assistance with review of documents produced by          JSM               1.20        210.00
                Debtors and Daoping.
20-Jul-18       Communications with committee members, Lincoln           JAB               1.50        600.00
                advisors, and P. Gurfein regarding various sale and
                plan related issues and finances of debtor.
21-Jul-18       Review/analyze second batch of document                  JAB               0.80        320.00
                production from debtors.
21-Jul-18       Review/Analyze PacBridge, et al subpoena                 JAB               0.50        200.00
                objections.
21-Jul-18       Review and comment on draft list of objections to bid    JAB               0.50        200.00
                procedures.
22-Jul-18       Analysis of bid procedures in sale motion and work       JAB               0.60        240.00
                on objections.
24-Jul-18       Conference call with attorneys Guso and Rich             JAB               0.30        120.00
                regarding Glass Ratner subpoena.
                       Subtotal for Code B130 ASSET DISPOSITION                           41.70     14,323.00

Task Code:      B150 MEETINGS OF AND COMMUNICATION WITH CREDITORS
9-Jul-18        Telephone conference with David Ono, attorney for        JSM               0.80        140.00
                Fox Entertainment Group, review debtor's schedules
                and amended schedules to confirm how Fox
                Entertainment Group was scheduled, and email to J.
                Brown regarding same.
                        Subtotal for Code B150 MEETINGS OF AND                             0.80        140.00
                         COMMUNICATION WITH CREDITORS

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
23-Jul-18       Prepare for and participate in conference call with      JAB               1.50        600.00
                equity committee, financial advisors and P. Gurfein.
25-Jul-18       Post-hearing communications and strategizing with P.     JAB               0.40        160.00
                Gurfein and committee.
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                  Subtotal for Code B151 COMMUNICATIONS WITH                              1.90        760.00
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
6-Jul-18        Prepare summary of time and fees by task category.       JSM              2.20        385.00
9-Jul-18        Review Sixth Interim Fee Application filed by            JSM              0.30          52.50
                Nelson Mullins and revise summary chart.
12-Jul-18       Attention to finalizing June invoice.                    JAB              0.30        120.00
13-Jul-18       Draft letter to U.S. Trustee forwarding Akerman's        JSM              0.30          52.50
                invoice for June 2018, redact invoice, and coordinate
                service of same.
16-Jul-18       Draft letter to U.S. Trustee forwarding June 2018        JSM              0.20          35.00
                invoice for Lincoln Partners Advisors LLC and email
                same.
16-Jul-18       Review and analyze estate professionals' June 2018       JAB              0.50        200.00
                invoices.
                        Subtotal for Code B160 FEE/EMPLOYMENT                             3.80        845.00
                                      APPLICATIONS

Task Code:      B310 CLAIMS ADMINISTRATION AND OBJECTIONS
4-Jul-18        Email correspondence with attorney Edwards               JAB              0.30        120.00
                regarding landlord claim treatment.
23-Jul-18       Initial review and analysis of response to PacBridge     JAB              0.30        120.00
                claim objection.
23-Jul-18       Assistance with preparation for hearing on Objection     JSM              0.60        105.00
                to Claim 29-1 of PacBridge and Status Conference.
24-Jul-18       Assistance with preparation for hearing on Objection     JSM              0.60        105.00
                to Claim 29-1 of PacBridge and Status Conference.
24-Jul-18       Research related to Rule 3007, service under the         MKF              3.50        997.50
                Hague convention, and jurisdiction following filing
                proof of claim, and prepare summary of same.
24-Jul-18       Preparation for status conference.                       JAB              0.50        200.00
24-Jul-18       Attention to addressing PacBridge claim objection        JAB              0.40        160.00
                and outline strategy for same.
25-Jul-18       Preparation for and participation in status conference   JAB              2.50       1,000.00
                and hearing on claim objections.
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                Subtotal for Code B310 CLAIMS ADMINISTRATION AND                          8.70       2,807.50
                                      OBJECTIONS

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

2-Jul-18        Communications regarding plan and sale related           JAB              0.80        320.00
                matters and assist with outlining certain sale related
                objections.
2-Jul-18        Assistance with revising Exit Term Sheet.                JSM              0.20          35.00
2-Jul-18        Analysis of possible exist financing term sheet and      JAB              0.50        200.00
                outline possible revisions.
3-Jul-18        Review and respond to email related to:                  JMN              0.20          70.00
                notice/procedures for EDVA filing
4-Jul-18        Email correspondence with financial advisors             JAB              0.20          80.00
                regarding landlord plan treatment.
9-Jul-18        Review Equity Committee's proposed joinder to            MKF              0.20          57.00
                Protocol Motion.
9-Jul-18        Communications with attorney Isbell, P. Gurfein to       JAB              0.40        160.00
                Lincoln Advisor regarding prospective term sheet.
9-Jul-18        Revise draft term sheet for exist financing and          JAB              0.80        320.00
                circulate same.
9-Jul-18        Assistance with finalizing Limited Joinder in            JSM              0.30          52.50
                Creditors Committee Protocol Motion.
9-Jul-18        Assistance with revising Exit Term Sheet.                JSM              0.20          35.00
10-Jul-18       Assistance with finalizing Limited Joinder in            JSM              0.30          52.50
                Creditors Committee Protocol Motion and coordinate
                electronic filing and service of same.
10-Jul-18       Draft Certificate of Service of Plan and Disclosure      JSM              0.80        140.00
                Statement, meet with Ricoh regarding duplication of
                Plan and Disclosure Statement, coordinate mail out,
                and coordinate electronic filing of Certificate of
                Service.
12-Jul-18       Review and respond to emails from J. Brown re:           JMN              0.20          70.00
                entry of appearance in ED Va action
17-Jul-18       Communications with attorney Isbell regarding            JAB              0.20          80.00
                finalizing exit financing term sheet.
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9374166


18-Jul-18      Assistance with finalizing Response in Opposition to                    JSM                    1.40           245.00
               Debtors' Motion for Reconsideration of Order
               Granting Motion for Entry of Order Scheduling a
               Status Conference, assemble exhibits to same, and
               coordinate electronic filing and service of same.
18-Jul-18      Initial review of various objections to disclosure                      JAB                    0.50           200.00
               statement.
18-Jul-18      Prepare for and participate in conference call with                     JAB                    1.20           480.00
               attorneys Burnett, Edwards and Gurfein regarding
               plan/sale related issues with follow up to call.
20-Jul-18      Review Order Granting Plaintiff's Ex Parte Motion to                    JSM                    0.10             17.50
               Stay and Schedule Status Conference and calendar
               same.
20-Jul-18      Work on exit financing.                                                 JAB                    0.30           120.00
23-Jul-18      Revise draft list of objections to bid procedures.                      JAB                    0.80           320.00
23-Jul-18      Attention to communication regarding finalizing exit                    JAB                    0.80           320.00
               financing term sheet.
24-Jul-18      Communications with attorney Burnett regarding                          JAB                    0.40           160.00
               plan/sale related matters.
24-Jul-18      Attention to finalizing and circulating exit financing                  JAB                    0.20             80.00
               term sheet.
24-Jul-18      Assistance with finalizing Exit Term Sheet.                             JSM                    0.50             87.50
25-Jul-18      Attention to post-Status Conference matters.                            JSM                    0.50             87.50
25-Jul-18      Prepare for and attend status conference/hearing on                    MKF                     2.80           798.00
               Disclosure Statements, sale process, claims'
               objections, and related issues.
25-Jul-18      Email correspondence to attorneys Brooks and                            JAB                    0.30           120.00
               Windberg with term sheet and Guennsy's material.
                     Subtotal for Code B320 PLAN AND DISCLOSURE                                             15.10          4,707.50
                      STATEMENT (INCLUDING BUSINESS PLAN)

               Total Fees for Services Rendered..............................................................................$23,863.00
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            INC.
0318769     PREMIER EXHIBITIONS, INC.                               Invoice Number              9374166




Date                               Disbursements                                                   Value

10-Jul-18    POSTAGE                                                            163.02
10-Jul-18    POSTAGE                                                             22.50
10-Jul-18    POSTAGE                                                                 8.85
10-Jul-18    POSTAGE                                                                 8.85
11-Jul-18    POSTAGE                                                             13.63
11-Jul-18    POSTAGE                                                                 6.90
11-Jul-18    POSTAGE                                                                 2.30
19-Jul-18    POSTAGE                                                             30.00
19-Jul-18    POSTAGE                                                                 8.85
19-Jul-18    POSTAGE                                                             69.16
19-Jul-18    POSTAGE                                                                 8.85
Total for POSTAGE                                                                                 342.91

10-Jul-18    DUPLICATING                                                         43.60
10-Jul-18    DUPLICATING                                                             0.60
10-Jul-18    DUPLICATING - RICOH USA INC - Prints without assembly              674.10
             on 7/10/18 - 6,300 quantity. Inv#L1918070006. JM/1902
18-Jul-18    DUPLICATING                                                             0.40
19-Jul-18    DUPLICATING                                                        633.00
Total for DUPLICATING                                                                           1,351.70

16-Jul-18    SERVICE OF PROCESS - PROCESS SERVICES INC -                         41.95
             Service fee and printing fee. Inv#MJD2018005707. JB/1685
Total for SERVICE OF PROCESS                                                                       41.95

29-Jul-18    COURT REPORTER - STATEWIDE REPORTING SERVICE                       100.00
             - Hearing before Judge Glenn on 7/25/18. Appearance Fee.
             Inv#3437. JB/1685
30-Jul-18    COURT REPORTER - STATEWIDE REPORTING SERVICE                       225.00
             - Hearing before Judge Glenn on 7/25/2018. Inv#3440. JB/1685
Total for COURT REPORTER                                                                          325.00
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                  INC.
0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9374166




Date                                                   Disbursements                                                                                 Value

2-Jul-18             WESTLAW RESEARCH 070218 FACKLER,MARY K                                                                 420.75
                     JACKSONVILLE
9-Jul-18             WESTLAW RESEARCH 070918 FACKLER,MARY K                                                                 267.75
                     JACKSONVILLE
16-Jul-18            WESTLAW RESEARCH 071618 FACKLER,MARY K                                                                 624.75
                     JACKSONVILLE
Total for WESTLAW RESEARCH                                                                                                                       1,313.25

Total Disbursements .................................................................................................................................$3,374.81
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0318769     PREMIER EXHIBITIONS, INC.                         Invoice Number              9374166



          Initial   Name                             Hours            Rate       Amount
          JAB       J. A. BROWN                       38.30        400.00       15,320.00
          JMN       J. M. NEARY                        0.40        350.00            140.00
          JSM       J. S. MEEHAN                      11.70        175.00        2,047.50
          MKF       M. K. FACKLER                     22.30        285.00        6,355.50
                              Total                   72.70                    $23,863.00
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                                                                                                       Akerman LLP
                                                                                               Post Office Box 4906
                                                                                                    Orlando, FL 32802
                                                                                                     Tel: 407.254.2305
                                                                                                    Fax: 407.254.3408

 Remittance Copy                                                         Invoice Date       September 11, 2018
                                                                         Invoice No.                  9386534


 EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
 591 REDWOOD HIGHWAY #2345
 MILL VALLEY, CA 94941

 Client Name:   EQUITY COMMITTEE OF PREMIER
                EXHIBITIONS, INC.
 Matter Name:   PREMIER EXHIBITIONS, INC.
 Matter Number: 0318769



 For professional services rendered through August 31, 2018 as summarized below:

           Services                                               $48,314.00

           Disbursements                                              $1,607.30
                      TOTAL THIS INVOICE                          $49,921.30



                      PREVIOUS BALANCE                                                    183,817.74
                      (Includes payments received through 09/11/18)
                      TOTAL AMOUNT DUE                                                  $233,739.04



I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                To ensure proper credit to the above account, please indicate invoice no. 9386534
                              Return remittance sheet with payment in US funds.
                                              Wired funds accepted:
                                        Akerman LLP Operating Account
                                         c/o SunTrust Bank, Atlanta, GA
                                            ABA Number: 061000104
                                      Account Number: 0215-252207533
                             Swift code SNTRUS3A (For International Wires Only)
                                               IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date        September 11, 2018
                                                                       Invoice No.                   9386534


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through August 31, 2018 as summarized below:

         Services                                                $48,314.00

         Disbursements                                              $1,607.30
                    TOTAL THIS INVOICE                           $49,921.30



                    PREVIOUS BALANCE                                                     183,817.74
                    (Includes payments received through 09/11/18)
                    TOTAL AMOUNT DUE                                                   $233,739.04




               To ensure proper credit to the above account, please indicate invoice no. 9386534
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                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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             INC.

0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number            9386534



Task Code:      B110 CASE ADMINISTRATION
23-Aug-18       Draft Pro Hac Vice Motion for Jon Dalberg and            JSM              0.30       52.50
                prepare Special Attorney Certification form for
                District Court.
                    Subtotal for Code B110 CASE ADMINISTRATION                            0.30       52.50

Task Code:      B130 ASSET DISPOSITION
1-Aug-18        Review emails and related correspondence re: entry       JMN              0.70      245.00
                of appearance and latest filings in case pending in
                E.D. Va. - Norfolk Division
1-Aug-18        Email to court reporter regarding corrections to         JSM              0.10       17.50
                transcript of July 25 status conference.
2-Aug-18        Review emails and corresponding attachments re:          JMN              0.60      210.00
                proceedings in E.D. Va., as well as recent status
                conference and scheduling order issued in
                Bankruptcy case pending in Florida
3-Aug-18        Review emails re: proceedings in E.D. Va., upcoming      JMN              0.30      105.00
                status conference, and appearance in E.D. Va.
6-Aug-18        Review and respond to emails from P. Gurfein re:         JMN              0.20       70.00
                appearance in Norfolk, VA
6-Aug-18        Review and revise notice of appearance and draft pro     JMN              0.40      140.00
                hac application for P. Gurfein
7-Aug-18        Assist with preparation of pro hac applications for K.   JMN              0.20       70.00
                Fackler and J. Brown
7-Aug-18        Revise pro hac application for P. Gurfein re:            JMN              0.20       70.00
                comments received from P. Gurfein
7-Aug-18        Finalize and file notice of appearance and pro hac       JMN              0.20       70.00
                application for P. Gurfein
7-Aug-18        Review and revise pro hac vice application.              MKF              0.40      114.00
7-Aug-18        Assistance with preparation for status conference in     JSM              0.20       35.00
                the Eastern District of Virginia case.
8-Aug-18        Attention to sale motion objection and related           JAB              0.80      320.00
                matters.
8-Aug-18        Communications with attorneys Burnett and Edwards        JAB              0.60      240.00
                regarding upcoming status conference and related
                matters with follow up thereto.
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8-Aug-18       Prepare for and participate in conference call with     JAB             1.00      400.00
               counsel for Glass Ratner regarding discovery related
               matters with post-call follow up.
8-Aug-18       Review orders from Judge Smith re: entry of            JMN              0.20       70.00
               appearance and cancellation of status hearing
8-Aug-18       Research                                               JMN              2.00      700.00
9-Aug-18       Research                                               JMN              2.50      875.00
9-Aug-18       Communications with P. Gurfein regarding                JAB             0.40      160.00
               preparations for August 30th hearing and related
               matters.
9-Aug-18       Attention to filings/orders in ED Virginia Action.      JAB             0.40      160.00
10-Aug-18      Research                                               JMN              3.00    1,050.00

13-Aug-18      Assist J. Neary with Motion to Intervene in Virginia   MKF              0.50      142.50
               proceeding.
13-Aug-18      Review and comment on search terms related to           JAB             0.10       40.00
               Glass Ratner production.
13-Aug-18      Review and respond to emails re: motion to intervene   JMN              0.20       70.00
               in ED Va. matter
13-Aug-18      Draft motion to intervene in Case No. 93-cv-902        JMN              2.00      700.00
               pending in the U.S. District Court for the Eastern
               District of Virginia, Norfolk Division
14-Aug-18      Draft memorandum in support of motion to intervene     JMN              2.50      875.00
               in Case No. 93-cv-902 pending in the U.S. District
               Court for the Eastern District of Virginia, Norfolk
               Division
14-Aug-18      Telephone and email communications with attorney        JAB             0.60      240.00
               Gurfein regarding Glass Ratner discovery, possible
               plan sponsorship, and related matters.
14-Aug-18      Work on sale motion and bid procedures objections.      JAB             0.60      240.00
15-Aug-18      Revise Glass Ratner Subpoena/Deposition Topics.         JAB             0.60      240.00
15-Aug-18      Review and comment on draft Motion to intervene in     MKF              2.00      570.00
               proceeding in Eastern District of Virginia (.5);
               research
               (1.5).
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15-Aug-18      Finalize first draft of motion to intervene, as well as   JMN              2.00      700.00
               corresponding memorandum of law and supporting
               exhibits
15-Aug-18      Review comments to draft of motion to intervene           JMN              0.30      105.00
15-Aug-18      Work on motion to intervene in ED Va. action.             JAB              0.30      120.00
15-Aug-18      Review client's draft Memorandum in Support of            JCB              2.40      648.00
               Motion to Intervene and identify authorities and case
               filings cited and download authorities and case filings
15-Aug-18      Draft Notice of Deposition of Corporate                   JSM              0.80      140.00
               Representative of GlassRatner, prepare Subpoena to
               Testify at a Deposition in a Bankruptcy Case, and
               draft Exhibit A to Subpoena - Topics for Rule
               30(b)(6) Deposition.
15-Aug-18      Review pleadings regarding motion to intervene            JGG              0.20      108.00
16-Aug-18      Review and provide feedback regarding Draft               JGG              0.20      108.00
               Memorandum in Support of Motion to Intervene
16-Aug-18      Assistance with revising Motion to Intervene and          JSM              0.30       52.50
               Memorandum in Support of Motion to Intervene.
16-Aug-18      Continued revision to motion to intervene.                JAB              0.50      200.00
16-Aug-18      Review and revise motion to intervene and                 JMN              1.00      350.00
               corresponding memorandum in support pursuant to
               comments received from P. Gurfein and J. Brown
16-Aug-18      Research                                            in    MKF              1.50      427.50
               connection with objections to sale.
17-Aug-18      Finalize and file motion to intervene, corresponding      JMN              0.30      105.00
               memorandum of law in support and exhibits in Case
               No. 93-cv-902 pending in the U.S. District Court for
               the Eastern District of Virginia
17-Aug-18      Review motion to intervene filed by the National          JMN              1.50      525.00
               Maritime Museum
17-Aug-18      Follow up with attorney Rich regarding document           JAB              0.20       80.00
               production.
17-Aug-18      Communications with P. Gurfein regarding case             JAB              0.30      120.00
               status and strategy.
17-Aug-18      Revise 11 U.S.C. 363(M) argument for objection to         JAB              0.80      320.00
               sale motion.
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17-Aug-18      Communications with attorney Blanks regarding case       JAB              0.20       80.00
               issues.
20-Aug-18      Extensive work on equity committee's objection to        JAB              4.50    1,800.00
               sale motion.
20-Aug-18      Initial review of national maritime museum motion to     JAB              0.20       80.00
               intervene in ED Va. Action.
20-Aug-18      Assistance with drafting Response to Debtors'            JSM              0.60      105.00
               Motion for Entry of Order Approving Bidding and
               Sale Procedures.
20-Aug-18      Review and respond to emails from P. Gurfein re:         JMN              0.30      105.00
               upcoming status hearing in Norfolk, VA
21-Aug-18      Prepare for and participate in hearing before Chief      JMN              6.80    2,380.00
               Judge Smith in the U.S. District Court for the Eastern
               District of Virginia - Norfolk Division in Case No.
               93-cv-902
21-Aug-18      Prepare for and participate in meeting with the          JMN              2.70      945.00
               National Maritime Museum re: course of action in
               ED Va action before Chief Judge Smith
21-Aug-18      Conference regarding Status Conference with Judge        JGG              0.20      108.00
               Smith and review related docket entry received from
               Court
21-Aug-18      Continued extensive work on objection to sale            JAB              3.80    1,520.00
               motion.
21-Aug-18      Communications with attorneys Rich and Gurfein           JAB              0.30      120.00
               regarding Glass Ratner discovery and upcoming
               deposition.
21-Aug-18      Edit and revise Response in Opposition to Bidding        MKF              3.00      855.00
               Procedures Motion.
22-Aug-18      Revise Objection to Debtors' Bid Procedures Motion.      MKF              2.00      570.00
22-Aug-18      Continued work on sale motion and bid procedure          JAB              3.00    1,200.00
               objection.
22-Aug-18      Review docket entry received from court regarding        JGG              0.20      108.00
               further hearing set for September 18, 2018, to address
               the Motions to Intervene, the status of the bankruptcy
               proceeding, and other matters
22-Aug-18      Review order from 8/21/18 hearing                        JMN              0.20       70.00
             Case 3:16-bk-02230-PMG         Doc 1276     Filed 12/07/18    Page 114 of 141
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of              August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                  Invoice Number            9386534


22-Aug-18      Communications coordinating august 29 pre-hearing       JAB              0.30      120.00
               dinner meeting among A. Ettinger, P. Gurfein, J.
               Burnett, A. Edwards and B. Williams.
22-Aug-18      Assistance with revising Response in Opposition to      JSM              0.80      140.00
               Debtors' Motion for Entry of Order Approving Sale
               Procedures.
23-Aug-18      Communications with P. Gurfein and counsel for          JAB              0.40      160.00
               Glass Ratner regarding discovery/deposition related
               matters.
23-Aug-18      Assistance with preparation for deposition of           JSM              0.50       87.50
               GlassRatner.
23-Aug-18      Assistance with finalizing Response in Opposition to    JSM              1.20      210.00
               Debtors' Motion for Entry of an Order Approving
               Competitive Bidding and Sale Procedures.
23-Aug-18      Review of transcript of proceedings held on 8-21-       JGG              0.10       54.00
               2018, before Chief Judge Rebecca Beach Smith
23-Aug-18      Continued work on objection to sale motion.             JAB              1.00      400.00
23-Aug-18      Review/research issues related to bidding procedures.   JAB              0.60      240.00
23-Aug-18      Preparation for hearing on motion to intervene (ED      JAB              0.50      200.00
               VA).
23-Aug-18      Review and analyze email correspondence among P.        JAB              0.50      200.00
               Gurfein, committee members and Lincoln advisors.
23-Aug-18      Research                                                MKF              3.00      855.00

                                 .
24-Aug-18      Research related to                                     MKF              3.00      855.00
                                                             .
24-Aug-18      Assistance with revising Response in Opposition to      JSM              0.50       87.50
               Debtors' Motion for Entry of Order Approving
               Competitive Bidding and Sale Procedures.
26-Aug-18      Continued revision of objection to sale motion.         JAB              1.80      720.00
26-Aug-18      Review creditor committee objection to bid              JAB              0.50      200.00
               procedures and sale motion.
27-Aug-18      Research and revise Objection to Sale Procedures        MKF              4.20    1,197.00
               Motion.
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Akerman LLP                                                                                      Page 8

076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                  As of              August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                 Invoice Number            9386534


27-Aug-18      Assistance with finalizing Response in Opposition to   JSM              2.50      437.50
               Debtor's Motion for Entry of an Order Approving
               Competitive Bidding and Sale Procedures and
               coordinate electronic filing and service of same.
27-Aug-18      Continued revisions to sale motion objection.           JAB             1.20      480.00
27-Aug-18      Review H. Siegal objection to sale motion.              JAB             0.30      120.00
27-Aug-18      Communications with attorney Burnett regarding          JAB             0.20       80.00
               case issues.
27-Aug-18      Review letter to Judge Smith re: expeditions to the    JMN              0.20       70.00
               Titanic
28-Aug-18      Review periodic report filed by RMST with ED Va        JMN              0.20       70.00
28-Aug-18      Review and analyze recent case filings and other        JAB             2.00      800.00
               preparation for august 30th hearing.
29-Aug-18      Communications with P. Gurfein and C. Laquidara         JAB             0.80      320.00
               regarding ED VA motion to intervene and related
               hearing preparations.
29-Aug-18      Attention to finalizing equity committee filings.       JAB             0.40      160.00
29-Aug-18      Review recent filings of stalking hense and UCC and     JAB             2.00      800.00
               other preparations for August 30 hearings.
29-Aug-18      Confer with P. Gurfein, A. Ettinger, B. Williams and    JAB             1.00      400.00
               attorney Burnett and Edwards regarding case issues.
29-Aug-18      Assistance with preparation for hearing on Debtors'    JSM              1.50      262.50
               Motion for Entry of an Order Approving Competitive
               Bidding and Sale Procedures.
29-Aug-18      Prepare pro hac vice application for C. Laquidara.     JSM              0.30       52.50
29-Aug-18      Review and annotate Motion to Intervene and            CAL              1.30      695.50
               Memorandum of law with anticipated judicial
               questions and confer re: bankruptcy issues as they
               affect the Motion.
30-Aug-18      Assistance with preparation for hearing on Motion      JSM              5.00      875.00
               for Approval of Competitive Bidding and Sale
               Procedures, attend hearing, and attention to post-
               hearing matters.
30-Aug-18      Finalize pro hac vice application for C. Laquidara.    JSM              0.10       17.50
30-Aug-18      Extensive preparation for and participation in          JAB             8.50    3,400.00
               hearings to approved bid procedures and committees'
               disclosure statements.
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Akerman LLP                                                                                            Page 9

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of                 August 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number               9386534


30-Aug-18       Post-hearing analysis of options for Equity              JAB                0.80       320.00
                Committee .
31-Aug-18       Review NOAA and RMST oppositions to motion to            JMN                1.00       350.00
                intervene in ED Va action
                       Subtotal for Code B130 ASSET DISPOSITION                           112.30    37,830.50

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
6-Aug-18        Prepare for and participate in conference call with      JAB                1.70       680.00
                committee, Lincoln advisors and P. Gurfein
8-Aug-18        Review email correspondence with committee               JAB                0.80       320.00
                regarding possible plan sponsor/partners and status of
                district court action.
9-Aug-18        Review/Analyze email correspondence among                JAB                0.60       240.00
                committee members, P. Gurfein and Lincoln
                advisors.
21-Aug-18       Revise and circulate response to objections to equity    JAB                0.80       320.00
                committee disclosure statement.
22-Aug-18       Participate in telephone conference with P. Gurfein      JSM                0.50        87.50
                and J. Dalberg.
30-Aug-18       Post-hearing email memo to Equity Committee with         JAB                0.30       120.00
                Brief Update.
                  Subtotal for Code B151 COMMUNICATIONS WITH                                4.70     1,767.50
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
6-Aug-18        Revise July 2018 invoice.                                JSM                0.20        35.00
7-Aug-18        Review July 2018 invoice and revise task codes.          JSM                0.20        35.00
10-Aug-18       Assistance with finalizing July 2018 invoice.            JSM                0.20        35.00
10-Aug-18       Revise July 2018 invoice.                                JAB                0.30       120.00
13-Aug-18       Attention to finalizing July 2018 Fee statement.         JAB                0.10        40.00
13-Aug-18       Draft letters to U.S. Trustee forwarding invoices for    JSM                0.30        52.50
                Akerman LLP and Lincoln Partners Advisors LLC.
15-Aug-18       Finalize letters to U.S. Trustee forwarding Akerman      JSM                0.30        52.50
                and Lincoln July 2018 invoices and email same.
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Akerman LLP                                                                                         Page 10

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                     As of              August 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number            9386534


15-Aug-18       Preliminary review of estate professional July 2018       JAB              0.30      120.00
                fee statements.
                        Subtotal for Code B160 FEE/EMPLOYMENT                              1.90      490.00
                                      APPLICATIONS

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

2-Aug-18        Correspondence with P. Gurfein regarding Order on         MKF              0.50      142.50
                Status Conference and setting Disclosure Statement
                hearing, and prepare Notice of same hearing.
2-Aug-18        Assistance with finalizing Notice of Preliminary          JSM              0.50       87.50
                Hearing on Disclosure Statement to Accompany
                Chapter 11 Plan of Reorganization Proposed by the
                Official Committee of Equity Security Holders of
                Premier Exhibits, Inc., coordinate electronic filing of
                same, and coordinate service of same on Master
                Service List.
20-Aug-18       Revise draft Reply to Objection to Disclosure             MKF              1.30      370.50
                Statement.
20-Aug-18       Work on response to debtor's objection to disclosure      JAB              0.40      160.00
                statement.
20-Aug-18       Assistance with drafting Reply to Debtors'                JSM              0.50       87.50
                Opposition to Disclosure Statement.
21-Aug-18       Assistance with drafting Reply to Debtors'                JSM              1.20      210.00
                Opposition to Disclosure Statement.
21-Aug-18       EditTo Objection to Equity Committee's Disclosure         MKF              1.50      427.50
                Statement.
22-Aug-18       Work on amended plan and disclosure statement.            JAB              1.00      400.00
22-Aug-18       Assistance with revising Reply to Debtors'                JSM              1.20      210.00
                Opposition to Disclosure Statement and First
                Amended Disclosure Statement.
23-Aug-18       Analysis regarding plan structure and possible            JAB              0.80      320.00
                amendments with comments on same.
27-Aug-18       Revision and comment on latest drafts of amended          JAB              1.50      600.00
                disclosure statement and plan.
27-Aug-18       Extensive communications regarding finalizing             JAB              0.80      320.00
                equity committee filings.
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of               August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                   Invoice Number             9386534


27-Aug-18      Assistance with finalizing Amended Disclosure            JSM               2.50      437.50
               Statement and Amended Plan and draft Notices of
               Filing Redlines of Disclosure Statement and Plan.
28-Aug-18      Assistance with finalizing Amended Disclosure            JSM               2.40      420.00
               Statement, Amended Plan of Reorganization, and
               Reply to Debtors' Objection to Entry of an Order
               Approving the Disclosure Statement to Accompany
               Chapter 11 Plan of Reorganization Proposed by
               Equity Committee.
28-Aug-18      Revise Reply to Objection to Disclosure Statement        MKF               1.80      513.00
               (1.3); assistance with finalizing Amended Disclosure
               Statement and Amended Chapter 11 Plan (.5).
28-Aug-18      Continued extensive communications regarding             JAB               1.80      720.00
               finalizing amended disclosure statement and plan and
               attention to same.
29-Aug-18      Review proposed ballot.                                  JAB               0.20       80.00
29-Aug-18      Review proposed disclosure statement order.              JAB               0.20       80.00
29-Aug-18      Communications with attorney Isbell regarding exit       JAB               0.30      120.00
               financing.
29-Aug-18      Review Creditors Committee's Amended Plan and            MKF               2.00      570.00
               Disclosure Statement (.5); prepare Notice of Filing
               Declaration of A. Ettinger in Support of Equity
               Committee Plan (.4); assistance with revised
               liquidation analysis and other hearing preparation
               (1.1).
29-Aug-18      Assistance with preparation of ballots.                  JSM               0.20       35.00
29-Aug-18      Assistance with finalizing Amended Disclosure            JSM               2.50      437.50
               Statement, Amended Plan, Notices of Filing
               Redlines, Reply to Debtors' Objection to Entry of an
               Order Approving Disclosure Statement, and Notice
               of Filing Supplemental Exhibit in Support of
               Amended Disclosure Statement and coordinate
               electronic filing of same.
30-Aug-18      Prepare draft ballots for disclosure statement hearing   MKF               5.00    1,425.00
               and provide other assistance preparing for hearing
               (1.0); attend hearing (4.0).
                    Subtotal for Code B320 PLAN AND DISCLOSURE                           30.10    8,173.50
                     STATEMENT (INCLUDING BUSINESS PLAN)
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                  As of                        August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                                 Invoice Number                        9386534


               Total Fees for Services Rendered..............................................................................$48,314.00



Date                                      Disbursements                                                                        Value

2-Aug-18     POSTAGE                                                                                       13.63
2-Aug-18     POSTAGE                                                                                        9.20
15-Aug-18    POSTAGE                                                                                       13.16
15-Aug-18    POSTAGE                                                                                        9.20
28-Aug-18    POSTAGE                                                                                       25.81
28-Aug-18    POSTAGE                                                                                       14.39
28-Aug-18    POSTAGE                                                                                        3.12
28-Aug-18    POSTAGE                                                                                        0.47
29-Aug-18    POSTAGE                                                                                       19.72
29-Aug-18    POSTAGE                                                                                       11.16
Total for POSTAGE                                                                                                             119.86

13-Aug-18    DUPLICATING                                                                                    4.40
13-Aug-18    DUPLICATING                                                                                    6.60
15-Aug-18    DUPLICATING                                                                                    0.40
17-Aug-18    DUPLICATING                                                                                   46.20
20-Aug-18    DUPLICATING                                                                                   52.00
20-Aug-18    DUPLICATING                                                                                   45.00
20-Aug-18    DUPLICATING                                                                                   46.00
23-Aug-18    DUPLICATING                                                                                    9.00
27-Aug-18    DUPLICATING                                                                                 187.60
27-Aug-18    DUPLICATING                                                                                    0.40
27-Aug-18    DUPLICATING                                                                                    1.20
29-Aug-18    DUPLICATING                                                                                    0.40
29-Aug-18    DUPLICATING                                                                                 100.80
30-Aug-18    DUPLICATING                                                                                    4.00
Total for DUPLICATING                                                                                                         504.00
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                  As of                   August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                                 Invoice Number                 9386534




Date                                Disbursements                                                      Value

3-Aug-18     FEDERAL EXPRESS Airbill: 781999841038 per 1902 Invoice                65.77
             No: 626512958 Ship Dt: 07/25/18
3-Aug-18     FEDERAL EXPRESS Airbill: 782000565515 per 1902 Invoice                58.92
             No: 626512958 Ship Dt: 07/25/18
24-Aug-18    FEDERAL EXPRESS Airbill: 782358308046 per 3487 Invoice                14.37
             No: 628687233 Ship Dt: 08/17/18
Total for FEDERAL EXPRESS                                                                             139.06

8-Aug-18     COURT SERVICES - BANK OF AMERICA - Filing three Pro                   75.00
             Hac Vice Motions with the USDC E. VA Norfolk Div. for John
             Neary, The parties filing for, Jocob Brown (JAX) Katherine
             Fackler (JAX) Peter Gufein- Landau Gottfried & Berger (co-
             counel) on 08/07/18. NR/6036
Total for COURT SERVICES                                                                                75.00

29-Aug-18    MEALS - JACOB A. BROWN: Dinner - Peter Gurfein, Landau               408.12
             Gottfried & Berger; Arlan Ettinger, Guernsey's Auction; Brent
             Williams, Lincoln International; Jason Burnett, Gray Robinson;
             Ashlea Edwards, Gray Robinson, and Katie Fackler, Akerman.
Total for MEALS                                                                                       408.12

22-Aug-18    PARKING - JOHN M. NEARY: Parking - Attend Status                          6.00
             Conference Hearing - parking at USDC E.VA - Norfolk, VA.
             JN/4562
Total for PARKING                                                                                        6.00

22-Aug-18    OTHER TRAVEL EXPENSES - JOHN M. NEARY: Mileage -                     212.01
             Attend Status Conference Hearing. JN/4562
Total for OTHER TRAVEL EXPENSES                                                                       212.01

23-Aug-18    COURT REPORTER - JODY STEWART - Order transcript re.                  54.00
             2:93cv902, R.M.S.T. v. The Wrecked and Abandoned... Status
             Hearing held 08-21-2018. JN/4562
Total for COURT REPORTER                                                                                54.00
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                  INC.

0318769           PREMIER EXHIBITIONS, INC.                                                            Invoice Number                            9386534




Date                                                   Disbursements                                                                                 Value

27-Aug-18            WESTLAW RESEARCH 082718 FACKLER,MARY K                                                                   89.25
                     JACKSONVILLE
Total for WESTLAW RESEARCH                                                                                                                            89.25

Total Disbursements .................................................................................................................................$1,607.30
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076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,           As of              August 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                          Invoice Number              9386534



          Initial   Name                              Hours            Rate       Amount
          CAL       C. A. LAQUIDARA                     1.30        535.00            695.50
          JAB       J. A. BROWN                        53.90        400.00       21,560.00
          JCB       J. BERNAL                           2.40        270.00            648.00
          JGG       J. G. GILMORE                       0.90        540.00            486.00
          JMN       J. M. NEARY                        31.70        350.00       11,095.00
          JSM       J. S. MEEHAN                       27.40        175.00        4,795.00
          MKF       M. K. FACKLER                      31.70        285.00        9,034.50
                                Total                 149.30                    $48,314.00
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                                                                                                       Akerman LLP
                                                                                               Post Office Box 4906
                                                                                                    Orlando, FL 32802
                                                                                                     Tel: 407.254.2305
                                                                                                    Fax: 407.254.3408

Remittance Copy                                                          Invoice Date         October 09, 2018
                                                                         Invoice No.                  9396618


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through September 30, 2018 as summarized below:

           Services                                                   $8,826.50

           Disbursements                                               $753.37
                      TOTAL THIS INVOICE                              $9,579.87



                      PREVIOUS BALANCE                                                    233,739.04
                      (Includes payments received through 10/09/18)
                      TOTAL AMOUNT DUE                                                  $243,318.91




I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                To ensure proper credit to the above account, please indicate invoice no. 9396618
                              Return remittance sheet with payment in US funds.
                                              Wired funds accepted:
                                        Akerman LLP Operating Account
                                         c/o SunTrust Bank, Atlanta, GA
                                            ABA Number: 061000104
                                      Account Number: 0215-252207533
                             Swift code SNTRUS3A (For International Wires Only)
                                               IRS EIN XX-XXXXXXX
akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date          October 09, 2018
                                                                       Invoice No.                   9396618


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



For professional services rendered through September 30, 2018 as summarized below:

         Services                                                   $8,826.50

         Disbursements                                               $753.37
                    TOTAL THIS INVOICE                              $9,579.87



                    PREVIOUS BALANCE                                                     233,739.04
                    (Includes payments received through 10/09/18)
                    TOTAL AMOUNT DUE                                                   $243,318.91




               To ensure proper credit to the above account, please indicate invoice no. 9396618
                             Return remittance sheet with payment in US funds.
                                             Wired funds accepted:
                                       Akerman LLP Operating Account
                                        c/o SunTrust Bank, Atlanta, GA
                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                   As of            September 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                  Invoice Number             9396618



Task Code:      B130 ASSET DISPOSITION
3-Sep-18        Review and respond to emails from P. Gurfein, C.        JMN              0.20        70.00
                Laquidara and J. Brown re: oral argument on motion
                to intervene
4-Sep-18        Review and respond to emails re: reply in further       JMN              0.40       140.00
                support of motion to intervene
4-Sep-18        Review and analyze email from Mr. Gurfein and           JGG              0.30       162.00
                others regarding docket activity and disposition of
                motion to intervene
4-Sep-18        Review Responses to Motion to Intervene in              MKF              1.00       285.00
                Admiralty case and begin preparing draft replies.
4-Sep-18        Communications regarding motion to intervene and        JAB              0.30       120.00
                analyze strategy related to same.
5-Sep-18        Review and respond to emails re: motion to intervene    JMN              0.30       105.00
5-Sep-18        Review draft reply in further support of motion to      JMN              0.20        70.00
                intervene
6-Sep-18        Assistance with revising Reply of Equity Committee      JSM              0.40        70.00
                to Motions to Intervene.
6-Sep-18        Review and respond to emails re: motion to withdraw     JMN              0.50       175.00
                motion to intervene
6-Sep-18        Review edits to reply in further support of motion to   JMN              0.30       105.00
                intervene
6-Sep-18        Review status report filed by RMST                      JMN              0.30       105.00
6-Sep-18        Review and revise motion to withdraw motion to          JMN              0.30       105.00
                intervene
6-Sep-18        Review Museum reply in further support of its           JMN              0.50       175.00
                motion to intervene in ED Va action
6-Sep-18        Revise Reply to Responses to Motions to Intervene       MKF              1.20       342.00
                and redraft into Notice of Withdrawal of Motion to
                Intervene without prejudice.
6-Sep-18        Review and revise notice of withdrawal of motion to     JAB              0.80       320.00
                intervene with communications regarding same.
11-Sep-18       Review Court's Order Approving Sale and Denying         MKF              0.20        57.00
                Approval of Plan and Disclosure Statement.
11-Sep-18       Review order granting sale motion and analyze           JAB              0.80       320.00
                options related thereto.
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             INC.
0318769      PREMIER EXHIBITIONS, INC.                                 Invoice Number             9396618


12-Sep-18       Outline post-sale order options.                        JAB              0.50      200.00
12-Sep-18       Review draft memo for circulation to committee         MKF               0.50      142.50
                regarding sale and disclosure statement order (.5)
13-Sep-18       Review, summarize and circulate debtor's notice of      JAB              1.50      600.00
                proposed order to committee.
13-Sep-18       Communications regarding sale related matters with      JAB              0.80      320.00
                committee members and P. Gurfein.
13-Sep-18       Review purchase agreement                              JMN               0.30      105.00
14-Sep-18       Communications with committee regarding publicity       JAB              1.50      600.00
                related matters and review and comment on same.
14-Sep-18       Assistance with revising and finalizing sale           JSM               1.20      210.00
                publication information.
18-Sep-18       Review summary of status hearing held on 9/187         JMN               0.20       70.00
                before Chief Judge Smith in E.D. Va. - Norfolk
18-Sep-18       Communications with committee, P. Gurfein and           JAB              0.40      160.00
                advisors regarding publicizing sale.
18-Sep-18       Telephone conference with attorney Charbonneau          JAB              0.40      160.00
                regarding upcoming status conference.
26-Sep-18       Communications with P. Gurfein and Lincoln              JAB              0.60      240.00
                Advisors regarding sale efforts and tax structure
                question.
26-Sep-18       Communications with P. Gurfein regarding sale           JAB              0.40      160.00
                related deadlines and filings.
27-Sep-18       Analysis of bases to oppose sale motion and proposed    JAB              1.20      480.00
                sale order.
27-Sep-18       Review proposed order attached to sale motion and      JSM               0.10       17.50
                email same to P. Gurfein.
                       Subtotal for Code B130 ASSET DISPOSITION                         17.60    6,191.00

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
4-Sep-18        Communications with P. Gurfein regarding case           JAB              0.20       80.00
                status and open issues.
5-Sep-18        Prepare for and participate in conference call with     JAB              1.50      600.00
                equity committee.
11-Sep-18       Communications with co-counsel and committee            JAB              0.50      200.00
                regarding order and scheduling conference call.
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Akerman LLP                                                                                                                     Page 5

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                   As of                  September 30, 2018
             INC.
0318769      PREMIER EXHIBITIONS, INC.                                                  Invoice Number                        9396618


12-Sep-18       Prepare for and participate in conference call with                     JAB                    2.00            800.00
                equity committee regarding same.
12-Sep-18       Call with Committee regarding same (1.3)                                MKF                    1.30            370.50
                  Subtotal for Code B151 COMMUNICATIONS WITH                                                   5.50          2,050.50
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
13-Sep-18       Draft letters to the U.S. Trustee forwarding Akerman                    JSM                    0.30              52.50
                and Lincoln invoices.
                         Subtotal for Code B160 FEE/EMPLOYMENT                                                 0.30              52.50
                                       APPLICATIONS

Task Code:      B320 PLAN AND DISCLOSURE STATEMENT (INCLUDING BUSINESS PLAN)

4-Sep-18        Revise and finalize notice of Errata for amended                        JAB                    0.50            200.00
                disclosure statement.
4-Sep-18        Review and revise Notice of Errata in connection                        MKF                    0.50            142.50
                with Amended Plan and Disclosure Statement.
5-Sep-18        Communications with P. Gurfein and J. Dahlberg                          JAB                    0.30            120.00
                regarding plan and intervention related issues.
12-Sep-18       Review September 11, 2018 order from Judge Glenn                        JMN                    0.20              70.00
                re: Equity Committee disclosure statement
                      Subtotal for Code B320 PLAN AND DISCLOSURE                                               1.50            532.50
                       STATEMENT (INCLUDING BUSINESS PLAN)

                Total Fees for Services Rendered................................................................................$8,826.50



Date                                       Disbursements                                                                         Value

5-Sep-18      POSTAGE                                                                                       14.57
5-Sep-18      POSTAGE                                                                                         9.20
Total for POSTAGE                                                                                                                 23.77

31-Aug-18     PACER PUBLIC RECORDS SYSTEM                                                                   30.30
31-Aug-18     PACER PUBLIC RECORDS SYSTEM                                                                     8.90
                     Case 3:16-bk-02230-PMG                      Doc 1276           Filed 12/07/18            Page 128 of 141
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076478            EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                              As of                     September 30, 2018
                  INC.
0318769           PREMIER EXHIBITIONS, INC.                                                             Invoice Number                            9396618




Date                                                   Disbursements                                                                                  Value
Total for PACER PUBLIC RECORDS SYSTEM                                                                                                                  39.20

4-Sep-18             DUPLICATING                                                                                               28.80
4-Sep-18             DUPLICATING                                                                                               29.40
Total for DUPLICATING                                                                                                                                  58.20

7-Sep-18             FEDERAL EXPRESS Airbill: 782557119529 per 1902 Invoice                                                    67.06
                     No: 630028835 Ship Dt: 08/30/18
7-Sep-18             FEDERAL EXPRESS Airbill: 782557120452 per 1902 Invoice                                                    77.64
                     No: 630028835 Ship Dt: 08/30/18
Total for FEDERAL EXPRESS                                                                                                                            144.70

7-Sep-18             COURT REPORTER - STATEWIDE REPORTING SERVICE                                                            387.50
                     - Copy of transcript from hearing on 8/30/18. Inv#3448.
                     JM/1902
10-Sep-18            COURT REPORTER - STATEWIDE REPORTING SERVICE                                                            100.00
                     - appearance fee for hearing on 8/30/18.. JM/1902
Total for COURT REPORTER                                                                                                                             487.50

Total Disbursements ....................................................................................................................................$753.37
              Case 3:16-bk-02230-PMG   Doc 1276   Filed 12/07/18   Page 129 of 141
Akerman LLP                                                                                   Page 7

076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,          As of            September 30, 2018
            INC.
0318769     PREMIER EXHIBITIONS, INC.                         Invoice Number              9396618



          Initial   Name                             Hours            Rate       Amount
          JAB       J. A. BROWN                       14.20        400.00        5,680.00
          JGG       J. G. GILMORE                      0.30        540.00            162.00
          JMN       J. M. NEARY                        3.70        350.00        1,295.00
          JSM       J. S. MEEHAN                       2.00        175.00            350.00
          MKF       M. K. FACKLER                      4.70        285.00        1,339.50
                              Total                   24.90                     $8,826.50
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                                                                                                          Akerman LLP
                                                                                                  Post Office Box 4906
                                                                                                       Orlando, FL 32802
                                                                                                        Tel: 407.254.2305
                                                                                                       Fax: 407.254.3408

    Remittance Copy                                                         Invoice Date       November 08, 2018
                                                                            Invoice No.                 9401475


    EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
    591 REDWOOD HIGHWAY #2345
    MILL VALLEY, CA 94941

    Client Name:   EQUITY COMMITTEE OF PREMIER
                   EXHIBITIONS, INC.
    Matter Name:   PREMIER EXHIBITIONS, INC.
    Matter Number: 0318769



    For professional services rendered through October 31, 2018 as summarized below:

              Services                                                   $9,626.00

              Disbursements                                               $226.29
                         TOTAL THIS INVOICE                              $9,852.29



                         PREVIOUS BALANCE                                                    243,318.91
                         (Includes payments received through 11/08/18)
                         TOTAL AMOUNT DUE                                                  $253,171.20



I hereby certify that I am in compliance with the terms of the Order Establishing Procedures to Permit
Monthly Payment of Interim Fee Applications of Chapter 11 Professionals.




                   To ensure proper credit to the above account, please indicate invoice no. 9401475
                                 Return remittance sheet with payment in US funds.
                                                 Wired funds accepted:
                                           Akerman LLP Operating Account
                                            c/o SunTrust Bank, Atlanta, GA
                                               ABA Number: 061000104
                                         Account Number: 0215-252207533
                                Swift code SNTRUS3A (For International Wires Only)
                                                  IRS EIN XX-XXXXXXX
   akerman.com
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                                                                                                      Akerman LLP
                                                                                              Post Office Box 4906
                                                                                                   Orlando, FL 32802
                                                                                                    Tel: 407.254.2305
                                                                                                   Fax: 407.254.3408

                                                                       Invoice Date        November 08, 2018
                                                                       Invoice No.                  9401475


EQUITY COMMITTEE OF PREMIER EXHIBITIONS, INC.
591 REDWOOD HIGHWAY #2345
MILL VALLEY, CA 94941

Client Name:   EQUITY COMMITTEE OF PREMIER
               EXHIBITIONS, INC.
Matter Name:   PREMIER EXHIBITIONS, INC.
Matter Number: 0318769



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                                           ABA Number: 061000104
                                     Account Number: 0215-252207533
                            Swift code SNTRUS3A (For International Wires Only)
                                              IRS EIN XX-XXXXXXX
akerman.com
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Akerman LLP                                                                                          Page 3

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                    As of              October 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                   Invoice Number            9401475



Task Code:      B130 ASSET DISPOSITION
2-Oct-18        Review and revise Motion to Establish Procedures         MKF              0.40       114.00
                for Document Retention in connection with potential
                asset sale.
2-Oct-18        Assistance with drafting Motion to Establish             JSM              0.50        87.50
                Document Retention Procedures.
3-Oct-18        Assistance with finalizing Motion to Establish           JSM              0.40        70.00
                Document Retention Protocols and coordinate
                electronic filing and service of same.
3-Oct-18        Work on objection to sale motion.                         JAB             0.30       120.00
3-Oct-18        Email correspondence with committee, P. Gurfein           JAB             0.30       120.00
                and financial advisors regarding auction sale related
                issues.
4-Oct-18        Revise Limited Sale Objection.                           MKF              0.50       142.50
4-Oct-18        Draft Notice of Preliminary Hearing on Motion of the     JSM              0.30        52.50
                Official Committee of Equity Security Holders to
                Establish Document Retention Protocols (Doc. 1221)
                and coordinate electronic filing and service of same.
4-Oct-18        Assistance with revising Reservation of Rights and       JSM              0.30        52.50
                Limited Objection to Motion for an Order Approving
                Asset Purchase Agreement.
5-Oct-18        Research good faith issues and revise Limited            MKF              0.90       256.50
                Objection to Sale Motion.
5-Oct-18        Review and comment on opposition to sale motion.          JAB             0.40       160.00
5-Oct-18        Assistance with finalizing Reservation of Rights and     JSM              0.60       105.00
                Limited Objection to Sale Motion and coordinate
                electronic filing and service of same.
16-Oct-18       Attention to sale hearing preparation.                    JAB             0.30       120.00
17-Oct-18       Research burden of proof and necessary evidence          MKF              1.00       285.00
                under 363(m) and prepare to address that issue at
                final sale hearing.
18-Oct-18       Attend and assist with final sale hearing.               MKF              2.00       570.00
18-Oct-18       Prepare for and attend sale motion hearing.               JAB             2.80     1,120.00
18-Oct-18       Assistance with preparation for Sale Hearing and         JSM              0.50        87.50
                Preliminary Hearing on Motion to Establish
                Document Retention Protocols.
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Akerman LLP                                                                                            Page 4

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                     As of               October 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                    Invoice Number             9401475


19-Oct-18       Email correspondence with P. Gurfein and financial         JAB              0.30       120.00
                advisors regarding post-sale hearing related matters.
22-Oct-18       Assistance with review of Agreement Regarding             JSM               0.20        35.00
                Confidentiality and Privilege.
                       Subtotal for Code B130 ASSET DISPOSITION                            12.00     3,618.00

Task Code:      B151 COMMUNICATIONS WITH EQUITY HOLDERS AND EQUITY COMMITTEE
                MEMB
2-Oct-18        Prepare for and participate in conference call with        JAB              1.20       480.00
                equity committee.
10-Oct-18       Communications with attorney Burnett and P.                JAB              0.60       240.00
                Gurfein regarding case status and D&O claim related
                issues.
11-Oct-18       Communications with B. Clark, D. Blanks, P.                JAB              1.00       400.00
                Gurfein, financial advisors and committee regarding
                sale hearing related matters.
16-Oct-18       Call with Equity Committee and its professionals.         MKF               0.90       256.50
16-Oct-18       Communications with attorneys Blanks and Gurfein           JAB              0.30       120.00
                regarding hearing/proffer option and related matters.
16-Oct-18       Prepare for and participate in equity committee            JAB              0.60       240.00
                conference call.
                  Subtotal for Code B151 COMMUNICATIONS WITH                                4.60     1,736.50
                EQUITY HOLDERS AND EQUITY COMMITTEE MEMB

Task Code:      B160 FEE/EMPLOYMENT APPLICATIONS
8-Oct-18        Begin drafting Fifth Interim Fee Application.             JSM               2.50       437.50
9-Oct-18        Draft letter to U.S. Trustee forwarding Akerman           JSM               0.20        35.00
                invoice.
9-Oct-18        Continue drafting Fifth Interim Fee Application for       JSM               2.20       385.00
                Akerman LLP.
9-Oct-18        Research related to issues raised in Equity               MKF               2.20       627.00
                Committee's final fee application.
15-Oct-18       Finalize letter to U.S. Trustee forwarding Akerman        JSM               0.30        52.50
                invoice, draft letter to U.S. Trustee forwarding
                Lincoln invoice, and email same.
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Akerman LLP                                                                                                                     Page 5

076478       EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                   As of                      October 31, 2018
             INC.

0318769      PREMIER EXHIBITIONS, INC.                                                  Invoice Number                        9401475



                         Subtotal for Code B160 FEE/EMPLOYMENT                                                 7.40          1,537.00
                                       APPLICATIONS

Task Code:      B190 OTHER CONTESTED MATTERS (EXCLUDING ASSUMPTION/REJECTION
                MOTI
2-Oct-18        Review motion to establish document retention                           JAB                    0.30            120.00
                protocol and attention to finalizing same.
9-Oct-18        Attention to finalizing September invoice and                           JAB                    0.50            200.00
                preparation of fee applications.
17-Oct-18       Preparation for/communications regarding 10-18 sale                     JAB                    2.00            800.00
                hearing and hearing on document protocol.
18-Oct-18       Extensive post-hearing communications on form of                        JAB                    1.00            400.00
                proposed order, hearing outcome, and related matters.
22-Oct-18       Review and comment on correspondence to debtor's                        JAB                    0.50            200.00
                counsel regarding termination of confidentiality
                agreement and cleansing document.
30-Oct-18       Communications with attorneys Gurfein, Blanks and                       JAB                    0.70            280.00
                committee members regarding recent ED VA Action
                hearing and sale/closing related matters.
                 Subtotal for Code B190 OTHER CONTESTED MATTERS                                                5.00          2,000.00
                    (EXCLUDING ASSUMPTION/REJECTION MOTI

Task Code:      B240 TAX ISSUES
17-Oct-18       Review and discuss NOL issues with Bankruptcy                           WFS                    0.50            282.50
                counsel and board member.
                                Subtotal for Code B240 TAX ISSUES                                              0.50            282.50

Task Code:      B300 CLAIMS AND PLAN
25-Oct-18       Correspond with counsel re D&O Insurance and                            BPM                    0.40            226.00
                research same.
31-Oct-18       Correspond with litigation counsel re background                        BPM                    0.40            226.00
                information.
                          Subtotal for Code B300 CLAIMS AND PLAN                                               0.80            452.00

                Total Fees for Services Rendered................................................................................$9,626.00
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Akerman LLP                                                                                                                                          Page 6

076478            EQUITY COMMITTEE OF PREMIER EXHIBITIONS,                                              As of                         October 31, 2018
                  INC.

0318769           PREMIER EXHIBITIONS, INC.                                                             Invoice Number                            9401475




Date                                                   Disbursements                                                                                  Value

3-Oct-18             POSTAGE                                                                                                     6.90
3-Oct-18             POSTAGE                                                                                                     2.30
3-Oct-18             POSTAGE                                                                                                   13.63
4-Oct-18             POSTAGE                                                                                                   13.63
4-Oct-18             POSTAGE                                                                                                     9.20
5-Oct-18             POSTAGE                                                                                                   13.63
5-Oct-18             POSTAGE                                                                                                     8.05
5-Oct-18             POSTAGE                                                                                                     1.15
Total for POSTAGE                                                                                                                                      68.49

30-Sep-18            PACER PUBLIC RECORDS SYSTEM                                                                               20.60
30-Sep-18            PACER PUBLIC RECORDS SYSTEM                                                                               17.20
Total for PACER PUBLIC RECORDS SYSTEM                                                                                                                  37.80

23-Oct-18            COURT REPORTER - STATEWIDE REPORTING SERVICE                                                            120.00
                     - Hearing before the Honorable Paul M. Glenn held on
                     10/18/2018 - 10am at the USC Rm 4A Jax Fl. Inv#3464.
                     JM/1902
Total for COURT REPORTER                                                                                                                             120.00

Total Disbursements ....................................................................................................................................$226.29
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Akerman LLP                                                                                    Page 7

076478      EQUITY COMMITTEE OF PREMIER EXHIBITIONS,           As of             October 31, 2018
            INC.

0318769     PREMIER EXHIBITIONS, INC.                          Invoice Number              9401475



          Initial   Name                              Hours            Rate       Amount
          BPM       B.P. MILLER                         0.80        565.00            452.00
          JAB       J. A. BROWN                        13.10        400.00        5,240.00
          JSM       J. S. MEEHAN                        8.00        175.00        1,400.00
          MKF       M. K. FACKLER                       7.90        285.00        2,251.50
          WFS       W. F. SULLIVAN                      0.50        565.00            282.50
                              Total                    30.30                     $9,626.00
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                                     Exhibit B
                                    (Expenses)




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                               Summary of Disbursements
                                      Akerman LLP
                           Fifth Interim Compensation Period
                          (January 1, 2018 – October 31, 2018)

                    Disbursements                             Amount
                    Postage                                  $1,394.73
                    Duplicating (black and white)            $4,004.30
                    Duplicating (color)                         $76.00
                    Court Services                              $75.00
                    Court Reporter                           $2,595.10
                    Westlaw                                  $2,586.00
                    Library Research                           $396.00
                    FedEx                                      $599.41
                    Service of Process                         $149.95
                    Transportation                           $1,411.00
                    Hotel                                    $1,053.16
                    Meals                                    $1,800.35
                    Parking                                    $114.50
                    Other Travel Expenses                      $622.55
                    (mileage/taxi/public transportation)
                    PACER Public Records System                 $80.00
                    Total Disbursements                     $16,958.05




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         Case 3:16-bk-02230-PMG   Doc 1276   Filed 12/07/18   Page 139 of 141



                                      Exhibit C
                                  (Proposed Order)




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                               UNITED STATES BANKRUPTCY COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                    JACKSONVILLE DIVISION
                                       www.flmb.uscourts.gov

In re:
                                                                     Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                    Chapter 11
      Debtors. 1
________________________________/                                   (Jointly Administered)

                           ORDER ALLOWING COMPENSATION AND
                       REIMBURSEMENT OF EXPENSES OF AKERMAN LLP

           THIS CASE came before the Court on the Fifth Application (the "Application")2 (Doc.

_____) of Akerman LLP ("Akerman"), Counsel for the Committee of Equity Security Holders of

Premier Exhibitions, Inc., for Interim Allowance of Compensation for Services Rendered and for

Reimbursement of Expenses Incurred During Period from January 1, 2018 through and including

October 31, 2018. The Court having reviewed the Application and there being no objection after

proper notice to interested parties pursuant to Local Bankruptcy Rule 2002-4 on December 7,

2018, it is

           ORDERED:

           1.       The Application is approved.

           2.       Akerman LLP is allowed compensation of $283,361.50 for professional services

rendered and $16,958.05 for the reimbursement of expenses incurred during the period from

January 1, 2018 through October 31, 2018.

1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.

2
    Defined terms from the Application are incorporated herein.


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         3.     The Debtors are authorized and directed to pay Akerman all fees and expenses

allowed by this Order and not previously paid.

         4.     All interim fees and expenses allowed by this Order are subject to review by

parties in interest and this Court. No determination is made at this time as to reasonableness of

the fees and on any pending objections to the Application. Fees and expenses awarded pursuant

to this Order may be subject to disgorgement.

         5.     This Order is without prejudice to the rights of Akerman upon further application

to this Court to seek further allowance and payment of additional compensation and

reimbursement of expenses, including any such amounts incurred during this interim

compensation period for which approval has not previously been sought and denied.

         Dated: _________________, 20_____, at Jacksonville, Florida.




                                             ______________________________
                                             Paul M. Glenn
                                             United States Bankruptcy Judge



Attorney Jacob A. Brown is directed to serve a copy of this order on interested parties who are
non-CM/ECF users and file a proof of service within 3 days of entry of the order.




                                                 2
47120486;1
